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            EXHIBIT 25
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    Safety Evaluation and Risk Assessment of the Herbicide   and                                                                                 1
            and Its Active Ingredient, Gyp h at , for Humans
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             P.O. Box 80176,     3508 TD Utrecht Yalelaan 2, _ he; ,, ether1ands. and Canto, Health Sciences nterna ional,
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                                                       Received December 6, 1999



                                                                          tive parameters in two multigeneration reproduction
  Reviews on the safety of glyphosate and Roundup                         studies with glyphosate. Likewise there were no ad-
herbicide that have been conducted by several regu-                       verse    effects   in    reproductive        tissues     from     animals
latory agencies and scientific institutions worldwide                     treated with glyphosate, AMPA, or POF+A in chronic
have concluded that there is no indication of any hu-                     and/or    subcbronic        studies.     Results       from     standard
man health concern. Nevertheless, questions regard-                       studies with these materials also failed to show any
ing their safety are periodically raised. This review                     effects indicative of endocrine modulation. Therefore,
was undertaken to produce a current and comprehen-                        it is concluded that the use of Roundup herbicide does
sive safety evaluation and risk assessment for hu-                        not result in adverse effects on development, repro-
mans. It includes assessments ofglyphosate, its major                     duction, or endocrine systems in humans and other
breakdown product [aminomethylphosphonic acid                             mammals.      For       purposes    of risk      assessment,         no-ob-
(AMPA)], its Roundup formulations, and the predomi-                       served-adverse-effect levels (NOAE+L.s) were identified
nant     surfactant   [polyethoxylated   tallow  amine                    for all subchronic, chronic, developmental, and repro-
(POF+A)] used in Roundup formulations worldwide.                          duction studies with glyphosate, AMPA, and POEA.
The studies evaluated in this review included those                       Margins-of-exposure for chronic risk were calculated
performed for regulatory purposes as well as pub-                         for each compound by dividing the lowest applicable
lished research reports. The oral absorption ofglypho-                    NOAEL by worst-case estimates of chronic exposure.
sate and AMPA is low, and both materials are elimi-                       Acute risks were assessed by comparison of oral L,DS0
nated essentially unmetabolized. Dermal penetration                       values to estimated maximum acute human exposure.
studies with Roundup showed very low absorption.                          It was concluded that, under present and expected
Experimental evidence has shown that neither                              conditions of use, Roundup herbicide does not pose a
glyphosate nor AMPA bioaccumulates in any animal                          health risk to humans.           C 2000 Academic Press
tissue. No significant toxicity occurred in acute, subs                     Key )fords: glyphosate; Roundup; herbicide; human
chronic, and chronic studies. Direct ocular exposure                      exposure; risk assessment.
to the concentrated Roundup formulation can result
in transient irritation, while normal spray dilutions
cause, at most, only minimal effects. The genotoxicity                                              INTRODUCTION
data for glyphosate and Roundup were assessed using
a weight-of-evidence approach and standard evalua-                         History of Glyphosate and General Weed Control Properties
tion criteria. There was no convincing evidence for
                                                                            The herbicidal properties of glyphosate were discov-
direct DNA damage in vitro or in vivo, and it was
concluded that Roundup and its components do not
                                                                          ered by Monsanto Corrlpany scientists in 1970. Glypho-
pose a risk for the production of heritable/somatic                       sate (Fig. 1) is a nonselective herbicide that inhibits
mutations in humans. Multiple lifetime feeding stud-                      plant growth through interference with the production
ies have failed to demonstrate any tumorigenic poten-                     of essential aromatic amino acids by inhibition of the
tial for glyphosate. Accordingly, it was concluded that                   enzyme enolpyruvylshikirnate phosphate synthase.
glyphosate is non carcinogenic. Glyphosate, AMPA,                         which is responsible for the biosynthesis of chorisrnate.
and POFA were not teratogenic or developmentally                          an intermediate in phenylalanine, tyrosine, and tryp-
toxic. There were no effects on fertility or reproduc-                    tophan biosynthesis (Fig. 2). This pathway for biosyn-
                                                                          thesis of aromatic amino acids is not shared by rnem-
    Roundup is a registered trademark of Monsanto.
                                                                          bers of the animal kingdom, making blockage of this
    To whom correspondence should be addressed. Fax: (905) 542-           pathway an effective inhibitor ofarnino acid biosynthe-
2900. E-mail: imunrotrx°antox.com.                                        sis exclusive to plants. Glyphosate expresses its herbi-

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                                                                                                                          MONGLY00581970
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                         HO-C-CH2-N-CH2 -P-OH                           CH3      -O-C-CHZ-N-CHZ -P-OH
                                                                         I       +
                                                                   H3C-C-NH3
                                         H          OH                                             H             OH

                            Glyphosate Free Acid                                      C6H17N2O5P
                              CASRN 1071-83-6
                                                                   deprotonated acid of glyphosate isopropylamine salt
                                                                               CASRN 38641-94-0



                                                                                             major route for biodegradation

                                     glyphosate acclimated soils
                                                                                       1     in soils not previously exposed
                                                                                             to glyphosate.

                                                                                                       0
                                                      C-P ]vase                                        1
                                                                                   H -N-CHZ -P-011
                                     0
                                     I                                                  I
                               HO-C-CHZ-N- CH3                                         H               OH
                                                I
                                               H
                                                                                   Aminomethylphosphonic acid
                                                                                   (AMPA) CASRN 1066-51-9
                                 Sarcosine (N-methylglycine)




                                                                                             I
                                     CASRN 107-97-1

                                                                                                           C-P lyase


                                                                                        CH3NH2
                                                                                        Methylamine


                                                                                                    Dehydrogenase



                                                                                            H2CO
                                                                                            Formaldehyde

  FIG. 1. A simplified pathway for degradation of glyphosate in the terrestrial environment. (Adapted from R. Wiersema, M. Burns, and
D. Hershberger (Ellis et al., 1999).)



cidal action most effectively through direct contact                    prior to planting and in no-till soil conservation pro-
with foliage and subsequent translocation throughout                    grams. The use of glyphosate in agriculture continues
the plant . Entry via the root system is negligible in                  to expand particularly in applications involving plant
terrestrial plants. For example, glyphosate applica-                    varieties that are genetically modified to tolerate
tions will eliminate weeds around fruit trees in an                     glyphosate treatment (Roundup-Ready3). Today, a va-
orchard without harming the trees , provided that the                   riety of glyphosate-based formulations such as
leaves of the tree are not exposed. Glyphosate is pre-                  Roundup are registered in more than 100 countries
dominantly degraded in the environment by microor-                      and are available under different brand names. Al-
ganislns and through some limited metabolism in                         though patents for this product held by Monsanto Comm
plants (Fig . 1); glyphosate ultimately breaks down to                  party have expired in many countries, Monsanto con-
innocuous natural substances such as carbon dioxide                     tInues to be the major commercial supplier of
and phosphonic acid.                                                    glyphosate and its formulations, worldwide.
  Roundup herbicide , which contains glyphosate as
the active ingredient, was first introduced in 1914 for                                                    Purpose and Scope
nonselective weed control (Franz el al., 199- ). During
the past 2 5 years of commercial use . growers, agricul-                    Glyphosate and Roundup herbicide have been exten-
tural researchers , and commercial applicators, work-                    sively investigated for the potential to produce adverse
ing in conjunction with Monsanto Company, have ex-                       health effects in humans. Government regulatory
panded the uses ofRoundup . These uses have largely                      agencies in several countries, international organiza-
focused on inhibiting the growth of unwanted annual                      tions, and other scientific institutions and experts have
and perennial weeds, as well as woody brush and trees                    reviewed the available scientific data and indepen-
in agricultural , industrial, forestry , and residential                 dently judged the safety of glyphosate and Roundup.
weed control settings. Glyphosate-based products have
been increasingly used by farmers in field preparation                        Roundup-Ready is a registered trademark of Monsanto.




                                                                                                                               MONGLY00581971
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                                                            GLYPHOSATE                                                                             119

                                                                                                      O
                                                                                                      11        COO-
                               O                          H2C =C-COO-                                _V O Q\ C/
                                       HO OH                                                           I  CH2,
                               it        I 1  p0               O
                           -O -P-O- CH2-C-C-C                                                         ®    1   CH2
                                                            O-P= O                                       OHCH CKH
                                I        I I  `H
                               0-       H H                                                                           OH
                                                                                                            HO H
                                 Erythrose 4-phosphate                                           3-Dehydroxyarabino-
                                                                Phosphoenol-                     heptulosonate-7-phosphate
                                                                pyruvate

                                                                                                          HO.,   ,COO




                                                              COO                          COO
                                    COO




                                                                                                  OH
                                                                                           OH
                                                                                     5-Dehydroshikimate
                                                            Shikimate




                                      1
                                     COO
                                                            Anthranilate        .. Tryptophan


                                             CHZ                                     Phenylalanine
                                             11
                                           O-C              Prephenate
                                              I
                                     OH       COO-
                                                                                      Tyrosine

                                   Chorismate

  FIG. 2. Mechanism of action for glyphosate in plants. Glyphosate inhibits synthesis of essential aromatic amino acids by competitive
inhibition ofthe enzyme enolpyruvylshikimate phosphate synthase (EPSPS).



Conclusions from three major health organizations                        by special interest groups. This review will focus on
[Health Canada, United States Environmental Protec-                      technical glyphosate acid; its major breakdown product
tion Agency (U.S. EPA), and World Health Organiza-                       aminomethylphosphonic acid (AMPA);t its Roundup
tion (WHO)] are publicly available (Health and Wel-                      formulations; and the polyethoxylated tallow airline
fare Canada, 1986, 1992; U.S. EPA. 1993, 1997a,                          surfactant (POE:A), which is the predominant surfac-
 1998a: WHO, 1994a). Those reviews, which have ap-                       taut used in Roundup formulations worldwide. The
plied internationally accepted methods, principles, and                  review will evaluate data relating to toxicity based on
procedures in toxicology, have discovered no grounds to                  exposure to Roundup and its components. The sources
suggest concern for human health. Data on Roundup                        of information used in this review include studies con-
and glyphosate are constantly reevaluated by regula-                     ducted by Monsanto and published research reports
tory agencies in a science based process for many rea-                   dealing with glyphosate, l IPA, POEA and Roundup.
sons including its volume of production and new uses.                    The scientific studies conducted by Monsanto were per-
Nevertheless, questions regarding its safety are peri-
odically raised.                                                            ' Abbreviations used: S-OhdG, £I-hydroxylguanine, AMPA, amin-
                                                                         omethylphosphonic acid; AUC, area under the curve; GLP, Good
   The purpose of this review is to critically assess the                Laboratory Practices; IPA, isopropylarnin           . MCL, maximum contam-
current information pertaining to the safety of glvpho-                  inant level; MNPCE, micronucleated PCE; MOE, margin of expo-
sate and Roundup and to produce a comprehensive                          sure; MOS. margin ofsafety; MRL, maximum residue levels; NCEs.
safety evaluation and risk assessment for humans.                        normochromatic erythrocytes; NOAFL, no-observed-adverse-effect
                                                                         levels;   NOEC,    no-observed-effect       concentration;   PCEs,   polychro-
Certain sectors of the scientific and nonscientific coni-
                                                                         matic erythrocytes; POEA, polyethoxylated tallow amine; SCE, sis-
munities have commented on the safety and benefits of                    ter chromatid exchange assay; SSB, single-strand breaks; TMDI,
pesticide use. With this in mind, parts of this assess-                  theoretical maximum daily intake; UDS, unscheduled DNA synthe-
ment address specific concerns that have been raised                     sis.




                                                                                                                             MONGLY00581972
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formed for regulatory purposes and, thus, comply with         fects observed in the laboratory. At this stage, the assess-
accepted protocols and Good Laboratory Practices              ment examines quantitative relationships between expo-
(GLP), according to standards of study conduct in effect      sure (or the dosage) and effects in the studies used to
at the time. Published research reports available in the      identify and define effects of concern.
general scientific literature range in quality from well-        The exposure assessment addresses the known prin-
conducted investigations to those containing serious          cipal paths, patterns, and magnitudes of human expo-
scientific deficiencies. Other sources of information;        sure and numbers of persons who may be exposed to
primarily reviews from regulatory agencies and inter-         the chemical in question. This step examines a wide
national organizations, have also been used to develop        range of exposure parameters including the scenarios
this risk assessment. In this effort, the authors have        involving human exposure in the natural environment.
had the cooperation of Monsanto Company that has              Monitoring studies of chemical concentrations in envi-
provided complete access to its database of studies and       ronmental media, food, and other materials offer key
other documentation. Glyphosatembased products are            information for developing accurate measures of expo-
currently manufactured by a variety of companies              sure. In addition, modeling of environmental fate and
worldwide. Some sources of information, including             transport of contaminants as well as information on
studies produced by manufacturers of glyphosate-              different activity patterns of different population sub-
based products other than Monsanto, are not generally,        groups can produce more realistic estimates for poten-
available and as such were not. considered for this risk      tial exposures. Values and input parameters used for
assessment. Data for such products are proprietary,           exposure scenarios should be defensible and based on
and not readily available and therefore were not. eval-       data. Any assumptions should be qualified as to source
uated for inclusion in this risk assessment:.                 and general logic used in their development (e.g., pro-
                                                              gram guidance. analogy. and professional judgment).
   PRINCIP L ES OF T IIE RISK ASSESSMENT PROCESS              The assessment should also address factors (e.g.. con-
                                                              centration, body uptake, du ration;Trequency of expo-
   The risk assessment: process involves the character-       sure) most likely to account for the greatest uncer-
ization of toxicities and estimation of possible adverse      tainty in the exposure estimate, due either to
outcomes from specific chemical exposures (CCME,              sensitivity or to lack of data.
1996; Environment Canada, 1997; NRC, 1983, U.S.                  A fundamental requirement for risk characterization
EPA, 1995, 1997a). The NRC (1983) and U.S. EPA                for humans is the need to address variability. Popula-
Draft Cancer Risk Assessment Guidelines (1996) de-            tions are heterogeneous; so heterogeneity of response
fine risk characterization as the step in the risk assess-    to similar exposures must also be considered. Assess-
ment process that integrates hazard identification,           ments should discuss the dosage received by members
dose-response assessment, and exposure assessment,            of the target population, but should retain a link to the
using a combination of qualitative and quantitative           general population, since individual exposure, dosage,
information. Risk assessment can provide a compre-            and risk can vary widely in a large population.
hensive estimate of the potential effect in specific, well-      In addition to variability, uncertainty arises from a
defined, and described circumstances.                         lack of knowledge about factors that drive the events
   Hazard identification assesses the capacity of an en-      responsible for adverse effects. Risk analysis is char-
vironmental agent to cause adverse effects in experi-         acterized by several categories of uncertainty including
      tal systems or humans. This is a qualitative de-        measurement uncertainty, uncertainties associated
scription based on several factors such as availability       with modeled values, and uncertainties that arise from
of human data, data from laboratory animals, and any          a simple lack of knowledge or data gaps. Measurement
ancillary in formation (e.g., structure activity analysis,    uncertainty refers to the usual error that accompanies
genetic toxicity ; pharmacokinetics) from other studies.      scientific measurements as expected from statistical
Finally , a weight-of-evidence is prepared based on data      analysis of environmental sampling and monitoring.
accumulated from many sources, where a mode of ac-            The assumptions of scientific models for dose-response
tion is suggested . responses in experimental animals         or models of environmental fate and transport also
are evaluated, and the relevance of these to human            have some uncertainty. Finally, in the absence of data,
outcomes is discussed (U.S. EPA, 1995).                       the risk assessor should include a statement. of confi-
   The determination of hazard is often dependent on          dence that estimates or assumptions made in model
whether a dose-response relationship is available (U.S.       development: adequately fill the data gap.
EPA, 1991). Hazard identification for developmental tox-
icity and other noncancer health effects is usually done in   Chemical Characterization and Technical Aspects of Roundup
conjunction with an evaluation of dose-response relation-               Formulations Addressed in This Review
ships. The dose -response assessment evaluates what is
known about: the biological mode of action of a chemical        Glyphosate is an amphoteric compound with several
and assesses the dose-response relationships on any of        pK, values. The high polarity of the glyphosate mole-




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                                                          GLYPHOSATE                                                121


cute makes it practically insoluble in organic solvents.     may vary in absolute amounts. In cases where these
Glyphosate is formulated in Roundup as its isopro-           differences could lead to substantially different effects,
pylamine (IPA) salt. Roundup is supplied as both dry         these instances will be identified in the context of a
and aqueous formulations at various concentrations; it       comparison among different individual formulations
is commonly formulated with water at 2.13 M (356 giL         and ingredients. Wherever possible; this document has
free acid or 480 g/l, IPA salt) with a surfactant added to   converted measures to metric units of weight, volume,
aid in penetration of plant surfaces, thereby improving      and area. Some reports of field studies have expressed
its effectiveness.                                           concentrations in pounds, gallons. or acres, using units
   Technical-grade glyphosate acid manufactured by           of acid equivalents or IPA salt active ingredient. The
Monsanto Company averages 96°% purity on a dry               conversions have been made to simplify direct conrpar-
weight basis. The remaining components are by-prod-          ison of exposure and/or fate data whenever applicable.
ucts of synthesis, whose individual concentrations are
below loo. This impurity profile has been identified and                       Organization of Assessment
quantified during the development ofthe detailed man-
                                                                This assessment. initially examines the metabolism
ufacturing process. This information has been provided
                                                             and pharmacokinetic studies conducted with glypho-
to and evaluated by a number of government authori-
ties as part of the information supporting regulatory        sate and AMPA. This includes a review of studies con-
approval of Monsanto-produced glyphosate. All manu-          ducted using oral and dermal routes of administration,
                                                             as these are the predominant pathways of exposure to
facturers of glyphosate-containing herbicides must
meet similar regulatory requirements. This technical-        herbicides like Roundup. In the second section, the
grade glyphosate was used as the test material in the        results of toxicology studies in animals are presented
extensive toxicological testing discussed in this assess-    for glyphosate and AMPA followed by those conducted
                                                             with Roundup and POEA. Consideration is then given
ment. The identity of the impurities in technical-grade
glyphosate has remained relatively unchanged over            to specific organ toxicity and other potential effects
                                                             including endocrine disruption. neurotoxicity, and syn-
the course of the toxicological testing of the product
                                                             ergistic effects. In the next section, the effects of expo-
described in the reports reviewed here. The findings of
those studies, therefore, include any effects that could     sures to humans are discussed: both controlled studies
result from the impurities and are therefore embodied        and reports of occupational and other exposures are
in the resulting hazard characterization and risk as-        examined. This is followed by a detailed, worst-case
sessinent.                                                   exposure analysis for both children and adults. Finally,
                                                             the results of the toxicological and exposure investiga-
   Glyphosate acid is usually formulated with the or-
ganic base IPA to yield a more water-soluble salt. This      tions are compared to provide an assessment of safety
salt, combined with water and a surfactant to improve        for humans. An outline of information presented in this
performance in the field, comprise the principal             assessment is shown below.
glyphosate formulations sold worldwide under the
Roundup family of brand names. The predominant sur-                   METABOLISM AND PHARMACOKINETICS
factant used in Roundup products worldwide is a                        GLYPHOSATE, AMPA, AND ROUNDUP
POEA, which is a mixture of polyethoxylated long-
chain alkylamines synthesized from animal-derived                       Glyphosate-Oral Dosage Studies in Rats
fatty acids. This is the only surfactant considered in       In t,'odu ction
any detail in this review. Language considerations and
differing business needs have resulted in the market-           Three studies were conducted to investigate the
ing of this formulation in some countries using a vari-      pharniacokinetics of glyphosate following a single oral
ety of other brand names (such as Sting. Alphee,             dose. In the first of two studies with Sprague---Fawley
Azural, faena, etc.). Roundup products are sometimes         rats, glyphosate was administered at dose levels of 10
formulated with various amounts of surfactant. possi-        or 1000 mg/1g (Ridley and Mirley, 1988; Howe et al.,
bly containing additional surfactant components as           1988). The second study was performed primarily to
substitutes for, or blends will), POEA. Most often. the      assess the distribution and nature of glyphosate-de-
concentration of glyphosate, on an acid basis, in these      rived radioactivity in tissues following a 10 mg/kg dose
formulations is 360 g/l,. This, however, is not always       (Brewster et a/., 1991). A third metabolism study was
the case, and for certain markets where smaller quan-        conducted by the National Toxicology Program (NTT?')
tities are needed, the base formulation is diluted with            2) in the Fischer 344 strain of rat at dose levels of
water to create more dilute products (e.g., 240, 160,        5.6 and 56 mg/kg.
120, or 9 gIL).                                                 'T'wo studies have been conducted to evaluate phar-
   For the purpose of this review, the term "Roundup"'       macokinet:ic parameters in rats following repetitive
will be used to refer to this entire family of formula-      oral exposure. In the first study, glyphosate was fed to
tions, whose ingredients are qualitatively the same but      Wistar rats at dietary concentrations of 1, 10, or 100




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                          METABOLISM AND PHARMACOKINETICS                 EVALUATION OF POTENTIAL SPECIFIC
                          GLYPHOSATE , AMPA, AND ROUNDUP                  ORGAN/SYSTEM EFFECTS
                          Glyphosate Oral Dosage Studies in Rats          Salivary Gland Changes
                            Absorption                                       tential for Endocrine Modulation
                            Tissue Distribution                              tential for Neurotoxicity
                            Biotransformation/Excretion                      tential for Synergistic Interactions
                          AMPA Single Oral Dose Study in Rats
                          Glyphosate/AMPA Oral Studies in Non- rodents    HUMAN EXPERIENCE
                          Glyphosaterand ROUNDUP--Dermal Penetration      Irritation Studies
                                                                          Occupational Exposure
                          TOXICOLOGY STUDIES WITH                         Ingestion
                          GLYPHOSATE AND AMPA
                          Acute Toxicity and Irritation Studies           EXPOSURE ASSESSMENT
                          Subchronic Toxicity Studies                     Dietary exposure to Residues in Food
                          Chronic Toxicity/Oncogenicity Studies           Occupational Dermal and Inhalation Exposure
                          Reproduction/Developmental Toxicology Studies           During Application
                                                                          Non-occupational Exposure During Application
                          TOXICOLOGY STUDIES WITH POEA                    Consumption of Water
                          AND ROUNDUP                                     Reentry of Treated Areas
                          Acute Toxicity and Irritation Studies           Bystander Exposure During Application
                          Subchronic Toxicity Studies                     Possible Inadvertent Exposures Derived froi
                          Reproduction/Developmental Toxicology Studies           Specific Activities
                                                                               egate Exposure Estimates
                          GENETIC TOXICOLOGY STUDIES
                          Review of Studies with Glyphosate,              RISK CHARACTERIZATION
                          Formulations , and AMPA                         Identification ofNOAELs
                          Evaluating Genotoxicity Data                    Estimation of Risks to Humans from Acute
                          Weight-of-Evidence Narrative                             Chronic Exposure
                                                                          Overall Conclusion and Summary Statement




ppm for 14 days followed by a 10-day period during                        Tissue Distribution
which there was no exposure to glyphosate (Colvin and
Miller, 1973a). The second repetitive dosing study was                       The tissue distribution of glyphosate was investim
conducted to determine if repeated administration al-                     gated in Sprague --Fawley rats at 2, 6.3, 28e 96, and
ters the metabolic fate of glyphosate. In this study,                     168 h after the administration of a single 10 n)g;`kg oral
pharmacokinetic parameters were evaluated in groups                       dose (Brewster et al., 1991). Tissue retention times
of Spraue-Dawley     rats given glyphosate by oral ga-                    were relatively short, and the vast majority of the body
        t:,
                                                                          burden was unmetabolized parent glyphosate. Signifi-
      at a dose level of lt) mg;'hg for either 1 or 15
                                                                          cant radioactivity (>I% of administered dosage) was
consecutive days (Ridley and Mirley, 1988; Howe et al.,
                                                                          detected in the small intestine, colon, kidney, and bone.
1988).
                                                                          Maximum concentrations in the small intestine (asso-
                                                                          ciated primarily with cells rather than contents) and
.4 b scarp ti ©n                                                          blood were observed 2 h after oral glyphosate admin-
                                                                          istration, while peak levels in other organs occurred
  The absorption of orally administered glyphosate
                                                                          6.3 h after dosing. Levels of radiolabeled material in
was shown to be incomplete. Following the administra-
                                                                          the small intestine, colon, and kidney declined rapidly.
tion or a single dose of glyphosate at 10 mg/kg, approx-                  Radioactivity in bone steadily decreased over tilne, al-
imately 30 to 364bc (males and females, respectively) of                  beit at a slower rate than that observed in blood and
the dose was absorbed. This has been determined from                      other tissues. It was suggested that the slower elimi-
measurements of the area under the curve (AUC) for                        nation of glyphosate from bone may be due to revers-
whole blood (compared to the AUC for rats dosed in-                       ible binding of the phosphonic acid moiety to calcium
travenously) and the urinary excretion of radioactivity.                  ions in the bone matrix; this type of binding has been
These results were confirmed in the NTP study (1992),                     shown to occur with glyphosate in soil (Sprankle et al.,
which showed that 30% of the administered 5.6 mg/kg                       1975). Regardless of the mechanism involved, there
dose was absorbed as determined by urinary excretion                      has been no histological or hematological evidence of
data. At the high dose of 1000 mglkg, absorption ap-                      toxicity to bone in any of the toxicology studies con-
peared to be lower (approximately 19 to 23°o) based on                    ducted. Metabolite analysis showed that a minor me-
the percentage of material excreted in urine at 10 and                    tabolite was present in the gut content or color) tissue
1000 mg/kg/day. In the 14 day repeated dose study                         of a few animals. Analysis indicated that this metabo-
conducted at dietary concentrations up to 100 ppm, it,                    lite was AMPA, but the small amount and transient
was estimated that 1500 of the administered material                      nature of the material precluded further characteriza-
was absorbed.                                                             tion. Essentially 100`.'c of the radioactivity in all other




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tissues/samples was shown to be parent glyphosate           absorbed, while 74°o of the administered dose was ex-
(Howe et al., 1988).                                        creted in the feces over the 5-day period of experimen-
   When glyphosate was fed to Wistar rats in the diet       tal observation. The absorbed AIvIPA was not biotransn
for 14 days, steady-state tissue levels were reached        formed and was excreted rapidly in the urine:
within approximately 6 days of dosing (Colvin and           approximately 65`c of the absorbed dose was elirnin
Miller, 1973a). The highest glyphosate concentration        nated in the urine within 12 h, and essentially 100%
was found in the kidneys (0.85 mIg/kg tissue dry wt at      was excreted between 24 and 120 he Only trace resi-
the 100 ppm dosage level) followed in decreasing naagn      dues (3 to 6 ppb) were detected in the liver, kidney, and
nitude by spleen, fate and liver. Tissue residues de-       skeletal muscle 5 days after dosing.
clined markedly after dosing was terminated. Ten days
after dosing was discontinued, tissue levels ranged              Glyphosate and AMPA-Oral Studiem in Nonrodentm
from only 0.067 to 0.12 tng/kg at the highest dosage
                                                              Other studies have been conducted in which glypho-
tested. Data from the second multiple dosage study, in
                                                            sate or a glyphosate/AMPA mixture was administered
Sprague•...Dawley rats; showed that repetitive dosing at
                                                            to nonrodent species. Data from these investigations
10 mg/kg body cwt/day had no significant effect on the
                                                            using rabbits, goats, and chickens have shown that the
tissue distribution of glyphosate (Ridley and 141irly,
                                                            absorption, and resulting tissue levels, were low.
1988).
                                                               When a single oral dose of glyphosate (6 to 9 mg/kg)
                                                            was administered to New Zealand while rabbits, more
Biotr^ansfor/a al/onExcr^elzon
                                                            than 80`%E of the material appeared in the feces, indi-
   Orally administered glyphosate is poorly biotransn       cating poor oral absorption (Colvin and Miller, 1973b).
formed in animals. It was shown to be rapidly excreted      Tissue levels were less than 0.1 ppm by the fifth day,
unchanged in the urine and feces of rats. For example,      after dosing.
in the single dose study performed by NTP, it was             Lactating goats were fed a diet containing 120 ppm
reported that more than 90° of the radioactivity was        of a 9:1 mixture of glyphosate and AMPA for 5 days
eliminated in 72 h. The whole body elimination kinet-       (Bodden, 1988a). In a similar study, the same 9:1
ics were evaluated for rats given the single 10 or 1000     glyphosate/A ,lPA mixture was fed to hens at dietary
mg/kg body wi was found to bebiphasic. The half-life of     levels of 120 and 400 ppm for 7 days (Bolden, 1988b).
the n phase was approximately 6 h at both dose levels.      The results from both studies indicated that 30% or
The f3 phase half-lives ranged from 79 to 106 and 181 to    less of the test material was absorbed. The concentra-
337 h for animals given the 10 or 1000 mg/kg doses,         tions of test material in goat milk ranged from 0.019 to
respectively. The feces was the major route of glypho-      0.086 ppm at the end of the dosing period and declined
sale elimination at all dose levels tested; approxi-        to 0.006 ppm 5 days after the last dose.
mately 62 to 69% of the administered dose was ex-              When glyphosate was included in the diet of chickens
creted in the feces. Less than 0.3°c of an administered     at 120 ppm, residues in eggs obtained at the end of the
dose was recovered as CO. in expired air. In rats given     dosing period ranged from 0.002 to 0.24 ppm and from
glhphosate at 10 or 1000 mg/kg, the vast majority           0.010 to 0.753 ppm at the 400 ppm dose level. When
(97.5%i%) of the administered dose was excreted as un-      eggs were obtained 10 days after the last dose (120
changed parent material.                                    ppm), residue levels ranged from nondetectable to
   In the first multiple dosage study (I to 100 mg/kg       0.019 ppm.
body wt/day for 14 days), urinary excretion accounted
for less than 10%i% of the dosage, while 80 to 90% of the          Olyphosate and Roundup-Dermal Penetration
administered material was excreted in feces. The ex-
                                                               The dermal penetration of glyphosate is very low
creted material was shown to be essentially all unme-
                                                            based on results from studies in rhesus monkeys and in
tabolized glyphosate. Upon withdrawal of glyphosate,
                                                            vitro studies with human skin samples. Maibach
the amount in excreta dropped sharply, but plateaued
                                                            (1983) studied the in vivo dermal absorption of glyphom
temporarily after 4 days. This plateau was attributed
                                                            sate when undiluted Roundup herbicide was applied to
to redistribution of mobilized tissue residues. Evalua-
                                                            the skin of monkeys. Penetration was slow, as only 0.4
tion of the data from the second repeat dosage study
                                                            and 1.8% of the applied dose was absorbed over 24 h
conducted at 10 mg/kg body wt/day also showed that
                                                            and 7 days. respectively. A second study in rhesus
repetitive dosing (15 days) had no significant effect on
                                                            monkeys investigated the absorption of diluted glyphom
the elimination of glyphosate as compared to single
                                                            sate (1:29) to simulate a spray solution (Wester et al.,
dosing.
                                                            1991). Dermal penetration was found to be 0.8 and
                                                            2.2% at low and high dose (500 or 5400 pa_/cm 2, respec-
          A1ar1PA- Single Oral Dose Study in Rats
                                                            tively). Wester et al. (1991) also reported that the in
  A:4PA was administered via garage at a dose of 6.7        vitro percutaneous absorption of glyphosate through
mg/kg (Colvin et al., 1973). Only 20°o of the AMPA was      human skin was no more than 2° when applied for up




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to 16 h either as concentrated Roundup or as a diluted      free acid) was severely irritating to eyes but produced
spray solution. In another in vitro study, glyphosate       only mild skin irritation (WHO. 199 4a). However, the
absorption through human skin was measured during           IPA salt of glyphosate, which is the predominant form
a 24-h exposure period and for up to I day afterward.       of glyphosate used in formulations worldwide, was
When glyphosate was applied as formulated Roundup,          nonirritating to rabbit eyes and skin (Branch, 1981).
a spray dilution of Roundup, or another concentrated        Glyphosate did not produce dermal sensitization in
glyphosate formulation (Franz, 1983), dermal penetra-       guinea pigs (Auletta, 1983a).
tion rates ranged from 0.028 to 0.152% for the three
materials tested.                                                          Subchronic Toxicity Studies

                          Summary                           Glyph osate
  The pharmacokinetics of glyphosate and AMPAhave              Abuse studies. Glyphosate was administered to
been thoroughly evaluated in several studies. Both of       B6C31,1 mice in the diet at concentrations of 0, 3125,
these materials have phosphonic acid moieties with          6250, 12,500, 25,000, or 50,000 ppm (NTP, 1992). De-
low plus and therefore exist as charged molecules at        creased body weight gain was observed at the two
the physiologic plIs found in the intestinal lumen. Only    highest dietary levels in both males and females. At
15 to 36%i% of orally administered material given repeat-   necropsy, the only significant finding was a dark sali-
edly, or as a single dose, was absorbed. thereby deina      vary gland in one high-dose male. Alteration of parotid
onstrating that glyphosate and l ,IPA are poorly ab-        salivary glands was noted microscopically at and above
sorbed despite the prevailing acidic conditions. As         the 6250 ppm dosage level. This histologic alteration
expected for substances that are not well absorbed          consisted of microscopic basophilic of acinar cells and
from the alimentary tract, the feces was the major          in more severely affected glands, cells, and acini ap-
route of elimination. The relatively small amounts of       peared enlarged with an associated relative reduction
absorbed glyphosate and A11IMPA were rapidly excreted       in the number of ducts. The nature of this salivary
in urine almost exclusively as unchanged parent ma-         gland change is further discussed in a later section.
terial. This was confirmed by the determination that        The sublingual and submandibular salivary glands
levels of glyphosate and AMPA in peripheral tissues         were not affected. No treatment-related changes were
were low. Results from the multiple dose studies deina      observed in other organs, including the accessory sex
onstrated that repeated oral dosing had no significant      organs.
effect on elimination (compared to a single dose) and          There were several reasons to conclude that the sal-
that glyphosate does not bioaccumulate. The dermal          ivary gland change observed is of doubtful toxicological
studies using glyphosate show low rates (less than 2%)      significance. The complete discussion of the siguif -
of penetration with rhesus monkeys in vivo and human        cauce of changes observed in the salivary glands is
skin in vitro. Therefore, it is concluded that the poten-   presented in a later section ("Evaluation of Potential
tial for systemic exposure is limited by the combination    Specific Organ/System Effects"). Because these sali-
of poor absorption and rapid excretion of glyphosate or     vary gland changes are considered not to be relevant to
AMPA after oral and/or dermal contact,                      humans, the no-observed-adverse-effect level (NOAEL)
                                                            for glyphosate exposure in mice was based on the sup-
      TOXICOLOGY STUDIES WITH GLYPHOSATE                    pression of body weight gain and was set at 12,500 ppm
                  AND AMPA                                  (2490 mg/kg body wt/day, males and females com-
                                                            bined).
            Acute Toxicity and Irritation Studies              In a separate study, glyphosate was fed to CD-1 mice
                                                            for 13 weeks at dietary concentrations of 0, 5000,
   The acute toxicity ofglyphosate and AMPA has been
                                                            10,000, or 50,000 pprn. The only treatment-related ef-
studied in laboratory animals. Oral and dermal L,D,,,
                                                            fect was decreased cumulative body weight gain in
values for glyphosate in rats are greater than 5001)
                                                            males and females (27 and 25°'cbelow controls, respec-
mg/kg body wt (WHO, 1994a). The oral LD0 for ANIPA
                                                            tively) at the highest dosage tested (Tierney, 1979),
in rats is 8300 mg/kg body vvt (Birch, 1973). Using the
                                                            When the submandibular salivary gland change was
acute toxicity classification system employed by the
                                                            examined in this study, no changes similar to those
U.S. EPA; both glyphosate and AMPA are classified in
                                                            described above for the parotid gland were observed.
the least toxic category (IV). These results show that
                                                            The NOAEL was 10,000 ppm (2310 mg/kg body wt/
the acute toxicity of glyphosate and AMPA is very low.
                                                            day).
   The potential for eye and skin irritation as well as
dermal sensitization in response to glyphosate as the         Rat studies. Glyphosate was administered in the
free acid has been evaluated in studies with rabbits        diet to F344 rats at levels of 0, 3125, 6250, 12,500,
and as the IPA salt in guinea pigs. In standard eye and     25,000, or 50,000 ppm for 13 weeks (N P, 1992), The
skin irritation studies in rabbits, glyphosate (as the      mean body weights of males were reduced in the 25,000




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                                                          GLYPHOSATE                                             125

and 50,000 ppm groups (6 and 18%i%, respectively, below     part, to decreased food intake resulting from dilution of
control); in females, there was only a marginal effect on   the caloric content of the diet (which contained 2.5 to
body weight, as the mean weight of high-dose animals        500 glyphosate) and/or reduced diet palatability. An
was approximately 500 below the control value. Small        alteration in the submandibular and/or parotid sali-
increases in one or more red blood cell parameters were     vary glands (acinar cell hypertrophy and basophilic
reported in males at dosages of 12,500 ppm and above.       change) was observed in some ofthe rodent studies; the
Increased serum alkaline phophatase and alanine ami-        sublingual salivary gland was not affected in any
notransferase values were noted at and above dietary        study. For reasons discussed in a later section, this
levels of 6250 ppm (males) and 12,500 ppm (females).        finding is not considered to be toxicologically signifi-
These increases were relatively small, not clearly re-      cant or adverse. No salivary gland changes occurred in
lated to dosage, and not associated with any histolog-      dogs. In summary, there were no treatment-related
ical changes of toxicological significance. At necropsy,    adverse effects in rats, mice, or dogs following glypho-
no gross lesions related to glyphosate administration       sate administration at extremely high levels for sev-
were observed. Other analyses in reproductive tissues       eral weeks. Overall, it can be concluded that glyphoa
are discussed in a later section. The parotid gland         sate when administered at daily dosages of up to
changes seen in 116C3F 1 mice were also noted in the        20,000 mg/kg body wt was well tolerated.
parotid and, to a lesser degree, submandibular glands
of rats. The sublingual salivary gland was not affected     AMPA
at. any dosage level. Salivary gland alteration was           Rat study. AMPA was administered in the diet to
noted at the lowest dosage tested (209 mg/kg body           groups of Sprague-Dawley rats at dosage levels of 0,
wt/day for males and females combined), but for rea-        400, 1200, or 4800 mg/kg body wt/day for 90 days
sons described below, this effect can be ignored for        (Estes, 1979). Changes that were noted included de-
purposes of evaluating safety in humans. The low dos-       creased serum glucose and elevated aspartate amino-
age (3125 ppm or 209 mg/kg body wt/day), therefore, is      transferase, but only at the highest dosage tested. An
considered to be a NOAEL based on changes in serum          increase in calcium oxalate crystals was observed mi-
enzymes,                                                    croscopically in the urine of high-dose animals, and
   In another subchronic rat study, Sprague Dawley          urinary tract irritation was noted at the mid- and
rats were fed diets containing glyphosate at concentra-     high-dose levels. Gross and microscopic pathology= ex-
tions of 0, 1000, 5000, or 20,000 ppm for 90 days (Stout    aminations did not reveal effects in any other organ.
and Johnson , 1987). Submaxillary salivary glands           The NOAEL was 400 mg/kg body wt/day based on
were microscopically evaluated in this study and did        urinary tract irritation.
not show the changes noted in the parotid and submanm
dibular glands in the NTP study. No toxicologically           Doe study. AMPA was given to Beagle dogs via oral
                                                            capsule at dosages of 0, 9, 26, 88, or 263 mg/kg body
significant: effects were noted at. any dosage level.
                                                            wt/day for 3 months (Tompkins, 1991). There was no
Therefore, the NOAEL was set at the highest dietary
                                                            treatment-related effect at any dosage level. Therefore,
exposure or 20,000 ppm (1445 mgkg body wt/day,
                                                            the NOAEL was =263 mg/kg body wt/day.
males and females combined).
                                                               Sumnrnary. The subchronic toxicity of AMPA has
  Dog study. Glyphosate was administered by cap-
                                                            been investigated in rags and dogs. Treatincril -related
sule to beagle dogs at dosages of (1, 20, 100, or 500
                                                            effects were observed only at very high dosage levels.
mg/kg body wt/day for 1 year (Reyna and Ituecker,
                                                            The NOAEL for rats was 400 mg/kg body wt/day, while
1985). There were no treatment-related effects in any
                                                            no effects occurred in dogs even at the highest dosage
of the parameters evaluated: clinical signs, body
                                                            tested (263 mg/kg body wt/day). Based on these results,
weight, food consumption, ophthalmoscopy, hematol-
                                                            it is concluded that the subchronic toxicity of AMPA,
ogy, clinical chemistry, urinalysis, gross pathology,
                                                            like that of parent glyphosate, is low.
and histopathology. Therefore, the NOAEL was 500
iug/kg body wt/day. the highest level tested.
                                                                       Chronic Toxicity/ Oncogenicity Studies
  Summary. Glyphosate has been evaluated in sev-
                                                            Glyph osate
eral subchronic toxicity studies in mice. rats, and dogs.
The dosage levels used in these studies were very high,        .I1oruse study. CD -1 mice were administered glyph om
reaching dietary levels of 20,000 to 50,000 mg/kg body      sate in the diet at concentrations of 0, 1000, 5000, or
wt in rodent feeding studies and a dosage of 500 mg/kg      30,000 ppm for a period of 24 months (Knezevich,
body wt/day in a dog study. The primary finding was a       1983). Total body weight: gain in males was reduced at
decreased body weight gain in the rodent studies at the     the end of the study (-261/'0 below control) at the high-
highest dietary concentrations tested (=25,000 mg/kg        est: dosage tested. Also in males, increased incidences
body wt). This effect may have been due, at least in        of liver hypertrophy and necrosis were observed micro-




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scopically at the high-dose level. An apparent increase      and the frequency of this lesion fell within the histor-
in the occurrence of epithelial hyperplasia (slight-to-      ical control range. At the end of the study, usually a
mild) of the urinary bladder in mid- and high-dose               e when the occurrence of such lesions is greatest,
males was not considered treatment related because           there was a very low incidence of inflammation in
the incidence and severity of this lesion, common to the     treated animals examined. Considering all these fac-
strain of animals used, showed no correlation with           tors, it is doubtful that the inflammation is treatment
dosage. The NOAEI, for chronic toxicity effects was          related. Small numbers of benign thyroid and pancre-
5000 ppm (885 mg/kg body wt/day) based on the effects        atic tumors were found in control and treated groups.
on body weight and liver histology. In males, a small        The occurrence of thyroid and pancreatic tumors was
number of benign renal tubular adenomas were                 judged to be sporadic and therefore unrelated to treat-
present in control and treated groups, but the inci-         ment for the following reasons: (1) the tumors observed
dences in treated groups were not significantly differ-      were within the historical control range; (2) they did
ent by pairwise comparison to concurrent controls or by      not occur in a dose-related manner: (3) they were not
a trend test. and were within the historical control         statistically significant in pairwise comparisons and/or
range. Also, no related preneoplastic lesions were ob-       trend tests; and (4) there were no increases in preneo-
served. Based on a weight mofmevidence evaluation, no        plastic changes. Accordingly, glyphosate is concluded
treat inentmrelated adenomas occurred. This conclusion       to be noncarcinogenic in the rat.
was also reached by the U.S. EPA and an independent             Based on these responses to prolonged exposure of
group of pathologists and biometricians under the aus-       glyphosate in rats, the 8000 ppin dosage level (409
pices of U.S. EPA's Scientific Advisory- Panel (SAP)         mg/kg body wt/day, males and females combined) is
(U.S. EPA, 1992a). The WHO (1994a) has also con-             concluded to be the NOAEL for chronic toxicity. 'This
cluded that glyphosate did not produce an oncogenic          dosage was also determined to be the NOEL by the
response in this study. Accordingly, glyphosate is con-      U.S. EPA (1993) and was considered to be the NOAEL
cluded to be noncarein ogenic in the mouse.                  by the WHO (1994a),

  Rat studies. When glyphosate was fed to Sprague-              Summary. The chronic toxicity and oncogenic po-
Dawlcy rats at dietary concentrations of 0, 60, 200, or      tential of glyphosate have been evaluated in one study
600 ppni for 26 months, no treatment-related chronic         with mice and two studies with rats. Few chronic ef-
effects were observed (Lankas, 1981). However, the           fects occurred, and those were limited to the highest
incidence of interstitial cell tumors in the testes of       dietary levels tested (20,000 ppm in rats or 30,000 ppni
high-dose males (6/50 or l2°o) was above concurrent          in mice). Glyphosate was not oncogenic to either spe-
controls. This imbalance was not considered to be            cies. The studies and their results have been evaluated
treat inentmrelated because-. (1) it was not accompanied     by a number of regulatory agencies and by interna-
by an increase in Leydig cell hyperplasia (an expected       tional scientific organizations. Each of these groups
preneoplastic effect); (2) the incidence was within the      has concluded that glyphosate is not carcinogenic. For
historical control range; and (3) no increase was ob-        example, the weight of evidence for carcinogenic haz-
served in the subsequent study conducted at higher           ard potential has been expressed by U.S. EPA using
dose levels (see below). Therefore, this study is con-       summary rankings for human and animal cancer stud-
eluded to reveal no oncogenic effect.                        ies. These summary rankings place the overall evi-
   In a second study with the same strain of rat, glypho-    dence in classification groups A through E, Group A
sate was administered at dietary concentrations of 0,        being associated with the greatest probability of hu-
2000° 8000, or 20,000 ppiii for two years (Stout and         man carcinogenicity and Group E with evidence of
Ruecker, 1990). Treatment-related effects occurred           noncarcinogenicity in humans. The U.S. EPA classified
only at the high-dose level and consisted of decreased       glyphosate in Category E. "Evidence of Non-carcinoge-
                                                             nicity in Humans" (U.S. EPA, 1992a).
body weight gain (23°o below control at 20 months, the
time of maximal depression) in females and degenera-
                                                             14111:18
tive ocular lens changes in males, as well as increased
         ights and elevated urine pH/specific gravity in        Although lifetime studies were not conducted specif-
males. There was a statistically significant increase in     ically with AMPA, its chronic toxicity and oncogenicity
the incidence (9/60 or 15°%) of inflammation in the          can be assessed by examining results from the second
gastric squamous mucosa ofiniddose females that was          2-yeas rat study with glyphosate (Stout and Ruecker,
slightly outside of the historical control range (0 to       1990). Analysis of the test. material used in that study
13.3°%). Nevertheless, there was no dose-related trend       showed it contained 0.68°i® AMPA (Lorenz, 1994). On
across all groups of treated females, as inflammation        this basis, it can be concluded that. AMPA was present
was found in only 6 of 59 (10.21/0 high-dose females. In     at dietary levels of 13,6, 54.4, or 136 ppin at the 2000,
males, there was no statistically significant. increase in   8000, or 20,000 ppm target concentrations for glypho-
stomach inflammation in any group of treated animals,        sate, respectively. These dietary levels corresponded to




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dosage levels of 0.69, 2.8, or 7.2 mg MI PA/kg/day. In       greater than any exposure ever likely to be experienced
that study, there were no chronic effects at the middose     by humans (see Table 9 and discussion below). As no
level and no treatment-related tumors at any dosage          changes in sperm counts or estrous cycling were ob-
tested. Therefore, it can be concluded that AM^A is not      served in i-nice treated at the sai-ne extremely high
oncogenic at dosage levels up to i.2 mg/kg body wt/day,      dosage levels, it is concluded that glyphosate does not
and the NOAEL for chronic effects is at least 2.8 mg/kg      adversely affect sperm concentration or estrous cyclic-
body wt/day.                                                 ity at any relevant dosage.
                                                                You sef et al. (1995) reported that subchronic glyphon
    Reproduction and Developmental T oxicology Studies       sate exposure produced effects on semen characteris-
                                                             tics in New Zealand white rabbits; the effects included
t_ilyph osale
                                                             reduced ejaculate volume. sperm concentration, initial
   Reproductive toxicity. In the first of two mnultigenm     fructose levels, and semen osinolality. The study also
.ration reproductive toxicity studies, glyphosate was        reported evidence for increased abnormal and dead
administered to rats in the diet over three successive       sperm. There were a number of serious deficiencies in
generations at dosage levels of 0, 3, 10, or 30 mg/kg        the design, conduct, and reporting of this study which
body wi/day (Schroeder, 1981). An equivocal increase         make the results uninterpretable. Only four rabbits
in unilateral renal tubule dilation was judged to be         per treatment: group were used, suggesting question-
unrelated to treatment: since a more extensive evalua-       able statistical validity for this study. The rabbits used
tion in the subsequent reproduction study conducted al.      in this study were small for their age (32 weeks at start
much higher dose levels did nol. show such change.           of the treatment schedule, 50 weeks at termination of
There were no treatment-related effects on mating,           the experiment). Animals of similar age to those de-
fertility, or reproductive parameters. The second            scribed in Yousef et al. (1995) are supplied by a number
study, also in rats, was conducted at dietary levels of 0,   of commercial breeders. Normal adult. New Zealand
2000, 10,000, or 30,000 ppm for two generations              white rabbits 32 weeks of age (Harlan Sprague-Daw-
(Reyna, 1990). Decreased body weight gains were seen         ley, Indianapolis, IN) average 3.9 kg-, with male rabbits
in parental animals at 30,000 ppm. Other effects al. the     occupying the lower portion of the weight range of 3.5
high-dose level were reduced body weight gain in pups        to 4.3 kg. Similar animals described by Yousef et al.
during the later part of lactation and an equivocal          (1995) had weights that were 0.5 to 0.9 kg (16-2510)
decrease in the average litter size. The NOAELs for          below historical norms. Weight deficiencies bring into
systemic and reproductive toxicity were 10,000 ppm           question the health status and reproductive maturity
(--694 mg/kg body wt/day) and 30,000 ppm (-2132              of test animals used. Furthermore, the investigators
mg/kg body wt/day), respectively.                            did not actually quantify the two dosage levels used
   In the subchronic toxicity study conducted in rats by     (referred to only as 1/10th and 1/100th of the 1.D51), the
NTP (1992), reduced epididymal sperm concentrations          purity of glyphosate, or the composition of the glypho-
(--20°o below control) were reported in F344 rats at         sate formulation employed. Finally, Yousef et ale (1995)
both the 25,000 and the 50,000 ppm levels. Neverthe-         failed to state clearly the frequency of dosage applied to
less, all values were well within the normal range of        the animals in the protocol. With no accurate descrip-
sperm concentration values reported by the NTP in an         tion of the method of delivery or quantity of chemical
analysis of their historical control data for these ro-      administered, a meaningful assessment of these stud-
dents (Morrissey et al., 1988). As the apparent reduc-       ies cannot be made. Moreover a critical issue; espe-
tions were not related to dosage nor accompanied by          cially in view of the auth ors' conclusions , is that the
decreases in epididyi-nal weights or testicular sperm        proper method of semen collection was not used.
numbers/weight, the relationship to treati-nent is           thereby invalidating any meaningful assessment of
doubtful. Moreover, male fertility was not reduced in        sperm viability, activity. and/or motility. Multiple ejac-
the reproduction study even at the highest dietary           ulates were not pooled to decrease the inter- and intram
level tested (30,000 ppm).                                   animal variability in sperm number and concentration.
   An increase in estrous cycle length from 4.9 to 5.4       Unfortunately, it was also unclear whether control an-
days was reported in the high-dose female F344 rats          imals were subjected to sham handling and dosing
(50,000 ppin) (NTP; 1992). F344 rats. however, are           procedures. raising serious questions of indirect non-
known to exhibit highly variable estrous cycle lengths       treatment-related effects given the known sensitivity
(4 to 6 days) leading Morrissey et all. (1988) to conclude   of rabbits to stress. Additional points that seriously
that. "stages of the estrous cycle are so variable in        compromise this study include a lack of data for food
F344 rats] that they may not be useful in assessing          consumption in control or treated animals, and failure
potential toxicity'Even if the estrous cycle length data     to report variability in measurements for control and
were valid, they are of doubtful significance because        treated animals, preventing adequate statistical anal-
the extremely high dosage associated with its occur-         ysis to support conclusions of Yousef et al. (1995). De-
rence. This dosage was several orders of magnitude           spite the l0-fold difference between the low- and high-




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dose groups, dose-dependent responses were not              insufficient number of litters available for examination
observed. Sperm concentration data from both treated        in the 350 mg/kg body wt/day dosage group.
and control rabbits were well within the normal range
                                                               Summnary. Results from several studies have es-
of sperm concentration values previously reported for
                                                            tablished that glyphosate is not a reproductive or de-
mature New Zealand rabbits (Desjardins et al., 1968;
                                                            velopmentaltoxicant. Glyphosate was evaluated in two
Williams et al., 1990). Based on these limitations as
                                                            multigeneration rat reproduction studies and in devel-
well as the other considerations. the data from this
                                                            opmental toxicity studies in rats and rabbits. There
study cannot be used to support any meaningful con-
                                                            were no effects on fertility or reproductive parameters,
clusions.
                                                            and glyphosate did not produce birth defects. Based on
   L3evelopm ental toxicity studies. Glyphosate was ad-     the lack of reproductive toxicity in two Inultigenera-
ministered by garage to Sprague-Dawley rats at dos-         tional studies conducted over a very wide range of
age levels of0, 300, 1000, or 3500 mg/kg body wt/day on     dosages (--3 to 2132 mg/kg body wt/day), there is no
gestation days 6 to 19 (Tasker. 1980a)° Severe mater-       evidence of low-dose effects. The NOAELs for develop-
nal toxicity, including decreased weight gain and inorm     mental toxicity are equal to or greater than the
tality (6 of 25 dams), occurred at the excessive dosage     NOAELs for maternal effects, and the NOAEL for re-
of 3300 mg/kg body wt/day and was accompanied by            productive toxicity is greater than that for systemic
reduced fetal weights and viability and ossification of     toxicity. Therefore, there is no unique sensitivity from
sternebrae. The NOAEL for maternal and developmen-          prenatal exposure (U.S. EPA, 19971 al, 1998x), Apparent
tal toxicity was 1000 mg/kg body wt/day.                    changes in sperm concentrations and estrous cycle
   Glyphosate was tested for developmental toxicity in      length were reported in the NTP (1992) subchronic rat
rabbits following administration by oral gavage at dos-     study at dosages of 1684 mg/kg body wt/day (sperm
age levels of 0, 75. 175, or 350 mg/kg body wt/day from     only) and 3393 mg/kg body wt/day (sperm and estrous
gestation days 6 through 27 (Tasker, 1980b). Frequent       cycle). Since these changes are not related to dosage,
diarrhea was noted in several high-dose animals.            their magnitude falls well within the normal historical
Deaths occurred in 1, 2, and 10 dams from the low-,         control range, and no such changes were observed in
mid-, and high-dose groups, respectively. Non-treat-        mice even at higher dosages, these findings are suspect
Inent-related causes of death (pneumonia, respiratory       and therefore difficult. to assess. The reported findings
disease, enteritis, and gastroenteritis) were deter-        in rats are considered biologically irrelevant: because
mined for the low-dose dam as well as I mid- and 3          the dosages at which changes were reported are sev-
high-dose animals. In the pilot teratology study con-       eral orders of magnitude higher than any possible hu-
ducted immediately prior to the definitive study, there     man exposure (see ``Human Exposure"). The U.S. EPA
was no mortality at dosages of 125 and 250 mg/kg body.      has recently evaluated tolerance petitions under the
wt/day, while mortality occurred in 80°c of the animals     Food Quality Protection Act. of 1996 (FQPA) (Public
from the 500 mg/kg body wt/day group. When these            Law 104-170) which includes special provisions to pro-
pilot data are included in the overall analysis, and        tect infants and children. The U.S. EPA concluded that
when mortality in the definitive study is refined to        there is "reasonable certainty" that no harm will occur
eliminate non-treatment -related deaths, the overall        from aggregate exposure to glyphosate (U.S. EPA,
mortality frequencies are 0, 0, 6, 0, 44, and 80°0 at 75,   1997a, 1998a), The lowest NOAEL for any reproduc-
125, 175. 250. 350. or 500 mg/kg body wt/day, respec-       tive study is 175 mg/kg body wt/day in the rabbit
tively. This indicates an absence of a dose response for    developmental study.
treatment-related mortality below the 350 ing/kg body
                                                            A L7PA
wt/day dosage. The death of the single middose (175
mg/kg body wt/day) dam cannot be considered a treat-             Reproduction and deve/opmenial toxicity studies.
ment-related effect given the known vulnerability of        The potential for reproductive toxicity of:AMPA_ can be
rabbits to nonspecific stressors and the fact: ghat. no     assessed by examining the results from the two-
deaths occurred at. a dosage of 250 mg/kg body wt/day       gener-ation rat reproduction study with glyphosate (Reyna.
in the pilot study. 'Therefore, the NOAEL for maternal      1990). In this study, the glyphosate test material con-
toxicity must be represented by the 175 mg/1g body          tamed 0.61 /0 AMPA (Lorenz, 1994), allowing calcula-
wt/day dosage, based on increased mortality and vari-       tion of dietary concentrations ofAMPAat 0, 12.2, 61, or
ous clinical signs of toxicity at the next higher dosage    183 ppm. Given that no effects were seen at the mid-
tested. The 175 mg/kg body wt/day dosage level was          dose level of this study, the overall NOAEL for AMPA
also concluded to be the NOAEL by the WFIO (1994a),         is considered to be at least 61 ppm ( -4.2 mg/kg body
while the U.S. EPA (1993) considers this level to be the    wt/day, males and females combined) based on sys-
NOEL. Although there were no effects in fetuses at any      temic (not reproductive) toxicity. In a developmental
dosage level, the NOAEL for developmental toxicity          toxicity study, AMPA was administered by oral gavage
was considered to be 175 mg/kg body wt/day due to the       to pregnant rats at. dosage levels of 0, 150, 400, or 1000




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                                                              CLYPITOSATE                                                                  129

                                                        TA.B1:,E I
                      Acute Toxicity and Irritation of Roundup Herbicides and POEA Surfactant

                            Oral LD,o             Dermal I_:D,,,,           Inhalation
 'l'est material             (ing/kg)               (nig/kg)                  (ing/L)             Eye irritation              Skin irritation

Roundup                       >5000                   >5000                    3.18                   Severe                       Slight
  (41 ' IPAG)"                 (IV)'                   (I1%)                   (TV)                      (1)                        (1t%)
POEA                            1200                  >1260                                          Corrosive                    Severe
Roundup T/O                   >5000                   >5000                   >5.7                   Moderate                Essentially none
(18°o) IPAG)                   (IV)                    (IV)                   (IV)                      (III)                       (IV)
Roundup L & C                 >5000                   >5000                   >8.9                     Slight                Essentially none
Ready-to-)Jse
  (10 0 I P AG)                (11)                    (I V)                   (11)                     (I V)                      (I V)

    IPAG, isopropylamine salt of glyphosate.
    Roman numerals in parentheses denote EPA categories, cohere IV is the least toxic or irritating and I is the most toxic or irritating.
  Rejsrsr<ces. Roundup, oral and dermal ID,,,          1994a); inhalation (Velasquez, 1983a); eye irritation (Blaszcak, 1990); skin irritation
(Blaszcak_, 1988). POEA, all studies (Birch, 1977). Roundup T/O, oral, dermal, eye, and skin (Auletta, 1985a-d); inhalation (Bechtel, 1987).
Roundup L&G Ready-to-Use, oral, dermal, eye, and skin (Blaszcak, 1987a, b, c d, e); inhalation (Dudek, 1987).




mg/kg body wt/day on gestation days 6 through 15                        of vitamin A (1960 mg/kg) and greater than that of
(Holson, 1991). Slight decreases in maternal body                       aspirin (200 mg/kg) (N-110S1-1, 1987). The oral LID,, for
weight gain and fetal body weights were noted at 1000                   POEA would place it in U.S. EPA's second-least-toxic
mg/kg body wt/day. Therefore, the NOAEL for mater-                      category (III). Based on these considerations, POEA is
nal and developmental toxicity is 400 mg/kg body wt/                    considered to be only "slightly" toxic and does not rep-
day.                                                                    resent an acute toxicity hazard.
  Summary. AMPA has been evaluated for potential                           POEA was reported to be severely irritating to the
adverse effects in reproductive and developmental                       skin and corrosive to the eyes when tested in rabbits
studies with rats. In addition, the previously discussed                (Birch, 1977). The irritation potential of POEA is con-
reproductive tissues from the 3-month dog and rat                       sistent with the surface-active properties of surfac-
toxicity studies with glyphosate, which contains AMPA                   tants in general. Surfactants with these properties are
(Estes, 1979; Tompkins, 1991), were examined for or-                    intentionally used in consumer products such as soaps,
gan weight, macroscopic, and microscopic effects. No                    shampoos, laundry detergents, and various other
adverse effects have been observed in any of these                      cleaners. By virtue of their intended physicocheanical
evaluations. Therefore, it is concluded that the break-                 properties. POEA and the other surfactants in con-
down product, like the parent glyphosate, is not a re-                  sumer products interact with and solubilize lipid com-
productive or developmental toxicant.                                   ponents characteristic of skin and mucous membranes.
                                                                           Surfactants used in consumer products are effective
 TOXICOLOGY STUDIES WITH POEA AND ROUNDUP                               at dilute concentration. POE A is not used in concen-
                                                                        trated form but rather is formulated at lower concen-
               Acute Toxicity and Irritation Studies                    trations into an end-use product (Roundup) and later
                                                                        diluted to very low levels, rendering it. significantly less
   The acute toxicity of Roundup herbicide in rats, like
that of glyphosate, is very low. The acute oral and                     irritating. In standard studies with rabbits, concen-
dermal LD,o values (Table 1) are greater than 5000                      trated Roundup herbicide was shown to be strongly
mg,,1kg body wt (WHO, 1994x). The 44h inhalation LE                     irritating to eyes (Blaszcak, 1990) and only slightly
value in rats is 3.18 mg/l, (Velasquez, 1983a). Based on                irritating to skin (Blaszcak, 1988). When diluted to a
these values, Roundup is placed in U.S. EPA's least                     concentration commonly used for most spraying appli-
toxic category (TV) for acute oral, dermal, and inhala-                 cations (-1%), Roundup was shown to be only aninim
tion toxicity. Thus, the Roundup formulation is consid-                 orally irritating to eyes and essentially nonirritating to
ered to be practically nontoxic by all these routes of                  skin (Table 1) (Blaszcak, 1987a.b). Standard dermal
exposure.                                                               sensitization studies in guinea pigs were negative for
   The acute toxicity of the surfactant:, POEA, is some-                both concentrated (Auletta, 1983b) and diluted (Blasz-
what higher than for Roundup formulation. Oral (rats)                   cake I987c)Roundup formulations..As willbe discussed
and dermal (rabbits) LD,, values ('Table 1) have been                   in a later section, controlled studies and other data
reported to be '-1200 and >1260 mg/kg, respectively                     from humans confirm that Roundup herbicide does not
(Birch, 1977). To put the acute toxicity in perspective,                pose a significant eye or skin irritation hazard to hu-
the oral L13.,, value for POEA in rats is similar to that               inans.




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                Subchro nic Toxicity Studies                rabbits was examined at dosage levels of 76 and 114
                                                            mg/kg body wt/day for 21 days (Killeen, 1915). Dermal
ROE11
                                                            irritation was observed at the application site, but
  Rat study. POEA was administered to Sprague--             there was no indication of systemic toxicity at either
Dawley rats in the diet for 1 month at concentrations of    dosage tested.
0, 800, 2000, or 5000 pprrn (Ogrowsky, 1989). Body             A subchronic study with Brahman-cross heifers was
weight gains were reduced in males at the 2000 ppm          carried out by administration of Roundup via nasogas-
level and in both sexes al. the high-dose level. Prorni-    tric tube at dosages of 0, 400, 500, 630. or 190 mg/kg
nent:/enlarged lymphoid aggregates in the colon of          body wt/day for 7 days. after which animals were ob-
high-dose females were associated with direct irrita-       served for an additional 14 or 15 day's (Rowe, 1987).
tion/inflammatory effect. of the test material. In a sub-   One cow died at the high dose level. a death believed to
sequent 3-month study with rats, POEA was adminis-          result from gastric irritation and vomiting, followed by
tered in the diet at concentrations of 0, 500, 1500, and    aspiration pneumonia. Diarrhea and body weight loss
4500 ppm (Stout, 1990). Among the animals from the          were observed at dosages of 630 and 790 rang/'kg body
high-dose group, effects noted included intestinal irri-    wt/day, which was reduced to soft feces at the 500
tation, decreased food consumption and body weight          mg/kg body wt/day dosage level. The NOAEL was 400
gain, and some alterations in serum hematology/clini.       mg/kg body wt/day. It was estimated that the cows
cal chemistry parameters. Intestinal irritation was         received dosages of Roundup herbicide on the order of
also observed in some animals from the 1500 ppm             30 to 100 times greater than the dose typically applied
dosage level. Therefore, the NOAEL was 500 ppm in           to foliage for agricultural weed control purposes.
the diet (--36 mg/kg body wt/day, males and females         Clearly, such exposures would never be achieved under
combined).                                                  normal agricultural use of glyphosal.e or Roundup.
                                                            'T`hus, exposure to forage sprayed at recommended use
   Dogstudy.    The POEA surfactant: was administered
                                                            should present. no hazard to ruminant animals.
in gelatin capsules to beagle dogs for 14 weeks (Fil-
more, 1973). Because gastrointestinal intolerance (as
                                                            Suinrnary
evidenced by emesis and diarrhea) was observed al. a
preliminary stage, dosages were increased during the           The subchronic toxicity of POEA has been assessed
first 4 weeks of the study and then maintained at 0, 30,    in 1- and 3-rnnonth studies with rats and in a 14-week
60, or 90 rng/kg body wt/day for the final 10 weeks of      study with dogs. Roundup herbicide has been evalu-
the study. Body weights were reduced in high-dose           ated for possible subchronic effects in an inhalation
animals; slight decreases in low- and middose females       study with rats, a dermal study in rabbits, and an oral
were not always dose related and, thus, were of ques-       study with cattle. It was anticipated most observed
tionable significance. The biological significance of       effects would be related to the surface-active properties
slight reductions in serum calcium and protein in mid-      and associated irritation potential of surfaclarnts.
and/or high-dose dogs is also uncertain. While a defin-     'T'hese studies confirm that irritation at the site of
itive NOAEL was not established, the single signifi-        contact. was the primary finding with the test material.
cant finding in this study was the inability of dogs to     In the oral studies with POE A and Roundup, some
tolerate surfactant ingestion on a daily basis due to       secondary effects were noted in addition to the gastro-
gastrointestinal irritation.                                intestinal irritation. These included decreased food in-
                                                            take and body weight gain in rats and dogs and diar-
Roundup                                                     rhea and an associated slight body weight loss in
   Sprague---Dawlcy rats were exposed to Roundup her-       cattle. There was no systemic toxicity in the inhalation
bicide by inhalation using aerosol concentrations of        and dermal studies with Roundup. No indication of
0.05. 0.16, or 0.36 mg/I, for 6 h/day, 5 days/"week for I   specific target organ toxicity was observed in any of
month (22 total exposure days) (Velasquez, 1983b). The      these studies. Therefore, it is concluded that the only
only change observed was evidence of respiratory tract      changes produced were nonspecific effects that might
irritation in high-dose females. This was considered to     normally be expected from repeated daily high-dose
be a direct irritant response rather than a systemic        exposure to any material with significant surface-ac-
effect. Therefore, the systemic no-observed-effect con-     tive properties.
centration (NOEC) was the highest dose or 0.36 mg/L.
To put this value in perspective, the highest. Roundup          Reproduction and Developmental Toxicology Studies
concentration measured in air during an applicator          Developin en tal Study
exposure study (Kramer, 1978) was 8,7 X 10         nng/L;
this is approximately 40,000 times less than the NOEC         POEA was administered by gavage to pregnant
from the inhalation study in rats,                          Sprague-Dawley rats on gestation days 6 through 15
   The effect. ofdermal administration of Roundup to        at dosages of 0, 15, 100, and 300 rng/kg body wt/day




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                                                            GLYPHOSATE                                           131


(Holson, 1990). Significant maternal toxicity was noted      priate, and then evaluates these results in a weight-of-
at the highest dosage tested, while minimal effects          evidence narrative that takes into account all the data
(decreased food consumption and mild clinical signs)         available.
occurred at the middose level. There were no effects in
fetuses at any dosage. The NOAFI_,s for maternal and                         Glyphosate and Roundup
developmental toxicity were shown to be 15 and 300
                                                               Glyphosate was negative in standard, validated inure
mg/kg=body wt/day. respectively. The POEA surfactant
                                                             tagenicity assays conducted according to international
is not a teratogen or a developmental toxin in rats.
                                                             guidelines and in GLP-compliant facilities. The data-
                                                             base is, as is often the case. not entirely without some
Sum in ary
                                                             positive results. and these will be addressed below.
  The developmental toxicity of POEA has been eval-          Data related to endpoints for genotoxicity will be dis-
uated in rats. Subchronic toxicity studies with the sur-     cussed in the following moaner: first. in vitro and in
factant and/or Roundup herbicide have also been con-         vivo test results will be examined, followed by a dis-
ducted in rats, rabbits, and dogs. In these studies,         cussion of evidence for production of DNA reactive
gross and microscopic pathology examinations were            species.
conducted on several reproductive tissues including
ovaries, uterus, testes, and epididymis. No develop-                           Gene Mutation Studies
mental effects or changes in reproductive tissues were
                                                                Technical glyphosalc has not been found to be mu-
found in any of these evaluations. There is no evidence
                                                             tagenie in several in vitro bacterial mutation assays
that the surfactant or Roundup herbicide adversely
                                                             using Salmonella and E"scherichia coli tester strains.
impacts reproductive function.
                                                             Multiple studies have been conducted in several
                                                             strains of Salmonella typhimurium at concentrations
             GENETIC TOXICOLOG Y STUDIES
                                                             up to and including cytotoxic levels with and without
                                                             an exogenous source of metabolic activation (Li and
                       Introduction
                                                             Long, 1988: Moriya et al., 1983; NTF, 1992; Wildenman
   The consideration of the carcinogenic potential of        and Nazar, 1982). In E. coli, glyphosate did not induce
Roundup, its active constituent ingredient glyphosate,       reversion at the trp locus in strain WP2 (Li and Long,
or any of its other constituent ingredients can be as-       1988; Moriya et al., 1983). These results confirm the
sessed in a number of ways. Short-term tests for mu-         absence of evidence in a sensitive system of mutation
tation, or for other evidence of genotoxic activity, allow   induction by glyphosate, even in the presence of vari-
identification of alterations in the genome. A primary       ous activating systems.
purpose of such tests is to provide information on the          In mammalian cells, glyphosate was nonmutagenic
production of heritable changes (mutations) that could       at the HGPRT locus in Chinese hamster ovary cells
lead to further adverse biological consequences. An          treated in vitro with or without microsomal activation
initial and prominent question that tests for genotox-       systems, even at doses that were toxic (Li and Long,
icity is designed to answer is whether the chemical (or      1988).
any derivative) interacts directly with and mutates             Several studies have tested herbicide formulations
DNA (Williams, 1989). Such interactions are known to         including Roundup, Rodeo, and Direct for mutation
bring about changes in gene expression or to affect          induction in bacteria. Four studies were negative
other key biological processes. However, there is clear      et al., 1997: Magi and Gopalan, 1980), but one gave
evidence that some short-term tests demonstrate ef-          equivocal results (Rank et al., 1993). The difference
fects of toxicity that may or may not support direct         between herbicide formulations such as Roundup and
interaction with DNA. Finally, some chemical expo-           glyphosate (usually as the IPA salt) used in genotoxic-
sures show no effect at low dosages and can be shown         ity assays is generally limited to the inclusion of a
to be dependent on a threshold of exposure to produce        surfactant. Such surfactants include POEA and a sim-
an effect. The production of such indirect effects is        ilar; longer-chain tallow amine surfactant. Addition of
often limited to conditions of high dose, which may be       surfactants generally increased the toxicity of the form
irrelevant to health risk assessment. The analysis that      mnulation compared to glyphosate alone in the Salmo-
follows examines the most relevant endpoints to con-         nella strains because these tester strains are particu-
sider in evaluating evidence and any possible genotoxic      larly sensitive to substances that affect membrane
action of Roundup in general and glyphosate in partic-       surface tension. Toxicity of the formulations was ob-
ular in terms of '-direct DNA effects" or "indirect" geno-   served al. concentrations al. which glyphosate content
t:oxic effects. The database of results from tests related   was only 0.5 mg/plate without S9 activation and 1.5
to effects on genetic material and the production of         mg/plate when S9 was added. POEA is inactive in S.
mutational events is presented in Table 2. The follow-       typhimurium strains TA98, TA100, TA1535, and
ing discussion details individual results, where appro-      TA1537 and concentrations of up to 1.0 nag POEA/




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                                                               TAB 1, E 2
      Summary of Results on the Genotoxicity of Glyphosate , Roun dup, and Other Glyphosate Formu lations

                                                                                                          Evaluation'

                                                      Compound              Dose LED     Without
      Test organism              Endpoint              (purity)               I-JID°        S9     With S9              Reference

                                                             Gene mutation

S, tyl himurium TA98,     Reverse mutation        Glyphosate (not       0.025 mg/plate                           Wildeman and Nazar
   TAI00                                            specified)                                                     (1982)
                                                                                                   S9 plant
S. typ hinruriunn TA98,   Reverse mutation        Glyphosate (not       5 mg/plate                               Mariva at a        83)
   TAI00, IA1535.                                   specified)
   TA1537, TA1538
    tvphirnuriurn TA98,   Reverse mutation        Glyphosate (98%)      5 mg/plate                               Li and Long (1988)
   TA100, TA1535,
   I'A1537, TA1538
S. typhinruriunr TA97.    Reverse mutation        Glyphosate (99%)      10 mg/plate                              NTP (1992)
   TA98, TA100,
   TA1535
S. typhinruriunr TA98,    Reverse mutation        Roundup               5 it                                     Njagi and Gopalan
   1'AI00, TA1535,                                  (glyphosate as                                                 (1980)
   TA1537, TA1538,                                  isopropylanaine
   TAI 978                                          salt, 30%)
    tvphirnuriurn TA98    Reverse mutation        Roundup               1.44 mg/plate                            Rank at at. (1993)
                                                    (glyphosate
                                                    48%; POEA)
S. typhinruriunr          Reverse mutation        Roundup               0.72 mg/plate                            Rank at at. (1993)
   TAI 00                                           (glyph os a t e
                                                    48%; POEA)
S. typhinruriunr TA98,    Reverse mutation        Roundup               0.5 mg/plate                             Kier at at. (1997)
   I'AI00, A1535,                                   (glyph os ate
   JAI 537                                          30.4%; 15%
                                                    POE A)
S. typhinruriunr TA98.    Reverse mutation        Rodeo (glyphosate     5 mg/plate                               Kier et at. (1997)
   TA100, A1535,                                    as
   I'A1537                                          isopropylamine
                                                    salt, 54%)
S. typ                    Reverse mutation        Direct (glyphosate    0.5 mg/plate                             Kier at at. (1997)
   TA100, A1535,                                    as aana;onium
   TA1537                                           salt 72%;
                                                    surfactant)
 ''. coli WP2 hcr         Rove              ion   Glyphosate (not       5 mg/plate                               Moriya at at. (1983)
                                                    specified)
E. cali WP2 her           Reverse mutation        Glyphosate (981,'0)   5 mg/plate                               Li and Long (1988)
                                                                          with S9, 1
                                                                          mg/plate
                                                                          without S9
  HO cells (HGPRT)         everse mutation         lyphosate (98%)      22.5 nag/ml,                  -           i and Long (1988)
D. in elanopaster         Sex-linked recessive    Roundup               I mg/L (1                     0          Kale at at. (1995)
                            lethals                 (glyphosate           ppm)
                                                    41%; POEA)
                                                    (chronic to
                                                    pupation)
  . nnelanopaster          ex-linked recessive    Roundup (not                              -         0           opalan and Njagi
                            lethals                 specified)                                                    (1981)


                                                        Chromosomal aberration

Alltunn cepa (onion       Chromosomal             Glyphosate            2.88 mg/I,                    0          Rank at al. (1993)
       tip)                 aberrations             (is opropylamine
                                                    salt)
A_lliunr cepa (onion      Chromosomal             Roundup               1.44 mg/L           -F-       0          Rank at at. (1993)
  root tip)                 aberrations             (glyphosate
                                                    48%; POEA)




                                                                                                              MONGLY00581985
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                                                              GLYPHOSATE                                                                    133

                                                         TA B LE 2-C.'onlini4ed

                                                                                                            Evaluation'

                                                        Compound            Dose LED/        Witho
     Test organism                 Endpoint               (purity              111D°           S9    With S9                    Reference

  ripheral                  Chromosomal             (Eyphosate            0.56 mg/m1,                                 n de VJaart (1995)
  lymphocytes                 aberrations             (>98%)                with S9,
  (human) in vitro                                                          0.33 mg/m1,
                                                                            without S9
Peripheral                  Chromosomal             (llyphosate
                                                      ( }8')              1.4 in,-,/L                   0          Lioi et al. (1998a)
  lymphocytes                 aberrations
  (human) in vitro
Peripheral                  Chromosomal             (/lyphosate           2.9 rng / L                   0          Lioi et al . ( 1998b)
  lymphocytes                 aberrations             (>98°c)
  (bovine) in vitro
Rat bone marrow (in         Chromosomal             (Eyphosate (98°c)     1.0 g / kg                    0          Li and Long (1988)
  vivo) i3. 12, 24 It         aberration
Peripheral blood            SCE                     Roundup (not          2.5 mg / mi                   0          Vigfusson and Vyse
  (human) in vitro                                    specified)                                                     (1980)
Peripheral blood            SCE                     Crlypliosate          1.0 ing/mL                    0          Bolognesl et ,il
  (human) in vitro                                    (99.9°S;)                                                      (199-1,
Peripheral blood            SCE                     Roundup               0,1 mg/mL                     0          Bolognesi et al.
  (human) in vitro                                    (glyphosate                                                    (1997)
                                                      30.4°,'°; 15°c
                                                      surfactant)
Peripheral blood            S CE                    Calyphosate           1.4 mg/L                                 t,ioi   in        998a
  (human) in vitro                                    (>98%)
Peripheral                  SCE                     (Ylyphosate           2.9 rng/L                     0          Licit et al. (1998b
  lyrnphocyttes                                       (>98°c)
  (bovine) Zn vitro
T'. faba (root tips)        M i c ronu cleus test   Salado                1.4 nig,/g soil                          De Marco et
                                                      (glyphosate                                                    (1992)
                                                      21°%)
Mouse bone                  Micronucleus test       Gyyphosate (99%)      11,379 mg,/kg,,'              0          NTP (1992)
  (in vivo), dietary for                                                    day
  13 weeks
Mouse bone narrow           Micronucleus test       Glyphosate (not       200 mg/kg                     0          Rank et al. ( 1993)
  (in vivo) ip injection,                             specified)
  24 It, 48 It
Mouse bone marrow           Micronucleus test       Roundup               200 mg/kg                     0          Rank et al. (1993)
  on vivo) ip injection,                              (glyphosate
  24 h                                                48`;0; PLEA)
Mouse bone marrow           Micronucleus test       (Ylyphosate           300 mg/kg                     0          Bolognesl et al
  (in vivo) ip injection                              (99.9%)                                                        (1997)
Mouse bone marrow           Micronucleus tea        Roundup               135 mg/kg                     0          Bolognesl et al
  (in vivo) ip injection                              (glyphosate                                                    (1997)
                                                      30.4% 15°r,
                                                      surfactant)
     se bone marrow         Micronucleus test       Roundup               555       /kg                 0          Kier et al . (1997)
      vivo) ip injection                              (glyphosate
                                                      30.4"o; 15%
                                                      P0EA)
Mouse bone marrow           Micronucleus test       Rodeo (glyphosate     3400 mg/kg                    0          Kier et al. (1997)
  (in vivo) ip injection                              IPA 54°°"°;
                                                      water)
Mouse bone marrow           Micronucleus test       Direct (glyphosate    36 5 mg/kg                    0          Kier et al. (19971)
  (in vivo) ip injection                              72`14 as N114
                                                      salt; surfactant)
Mou s e in vivo)            Dominant lethal         (slyphosate           2000 in                       0          Wrenn (1980)
  gavage                                              (98.7°io)


                                                           DNA damage/reactivity

B. iiibtilis 1117, rec--;   rec-assay               (Eyphosate (98°i°)    2 m.g/disk                               Li and Long (1988)
  M45, rec-
Rat hepatocytes             IJDS                    Glyphosate (98°0)     0.125 mg/nil,                            Li and Long (1988)
  (exposed in vitro)




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                                                               TA B LE 2---C.'onlinited

                                                                                                                         ion`'


                                                             Compound            Dose LED        Without
      Test organism                Endpoint                   (purity)              IIID            S9       with S9             Reference

:'louse ip exposure (in      DNA adducts                 Glyphosate            270 m.g/kg                       0       Peluso et all. (1998)
   vivo)                                                   (isopropylamine
                                                           salt)
Mouse ip exposure (in        DNA adducts                 Roundup (30.4%        400 mg/kg            *-          0       Peluso et al. (1998)
  vivo)                                                    glyp h os at e
                                                           isopropylamine
                                                           salt. 15%
                                                           surfactant)
  ouse ip exposure (in         NA single - strand        Glyphosate             (10 mg/kg            -F-        0       Bolognesi et
  vivo) alkaline               breaks                      (99.9 °io)                                                     (1997)
  elution of extracted
  DNA
Mouse ip exposure (in        DNA single - strand         Roundup               270 mg/kg                        0       Bolognesi or al.
  vivo) alkaline              breaks                       (glyphosate                                                    (1997)
  elution of extracted                                     30.4°o, 15%
  DNA                                                      surfactant)
R. catesbeiana               DNA single-strand           Roundup               6.75 mg/I_.          *                   Clements or al.
  (tadpole)                   breaks ; Comet               (glyphosate                                                    (1997)
                              assay                        30.4°o. 15°.u
                                                           POEA)
:'louse ip exposure (in      8-OIfdG                     Glyphosate            300 mg/kg                        0       Bolognesi et
  vivo)                                                    (99.9%)                                                        (1997)

  " Lowest effective dos        est ineffective dose..
        positive: -, negative; 0, not tested.



plate, both with and without metabolic activation                            cally in this and other genotoxicity tests (Brusick et al.,
(`Itegeman and Li, 1990).                                                    1998).
   Thus, the report ofRank el al. (1993) that glyphosate                        Other endpoints that detect mutation have been
produced an equivocal result for i-nutagenicity in one                       used with Roundup formulations. Differing results
bacterial assay is not supported by the other data as                        were reported for the effect of Roundup in the domi-
shown in Table 2. In the report of Rank et ale (1993) the                    nant lethal assay of Drosophila ni elanogaster. One as-
preponderance of the data shows clear evidence of tox-                       say carried out using exposure conditions routinely
icity but no dose response. A single dose exceeded the                       used for this type of study showed no effect of Roundup
spontaneous frequency by twofold (without microsoamtl                        (Gopalan and Njagi, 1981). A second nonstandard ex-
activation) in T A98, In T 4100, a strain that detects                       posure scheme that required chronic exposure (up to 4
base substitution mutations, a single dose also showed                       days) of larvae until pupation did show a significant
                                                                             elevation of the frequency of sex-linked lethals in sper-
a mutational response, but only with 59. Data were
                                                                             matocytes (Kale et ale, 1995). This was a nonstandard
pooled from two separate assays, but neither set taken
                                                                             variation of the Drosophila sex-linked lethal assay in
alone satisfied the widely accepted criteria ofa positive
                                                                             which every chemical tested was evaluated as positive.
response (i.e., two consecutive doses to exceed twice the
                                                                             Some methodological concerns associated with this re-
spontaneous frequency). In contrast, the Ames tests
                                                                             port include the authors' lack of experience with the
completed by Kier et all. (1997) at Monsanto using
                                                                             assay, absence of negative controls, and high exposures
Roundup, Rodeo, and Direct formulations at doses in
                                                                             that included treatment with chemical concentrations
excess of those reported by Rank et al. (1993) were                          that were lethal to half the test population (LC,.,,). No
uniformly negative. The studies of Kier et al. (1997)                        firm conclusions can be made for possible mutagenic
were conducted with complete protocols to satisfy in-                        effects from Roundup exposure on the basis of these
ternational regulatory guidelines for these assays. Ac-                      two studies that applied different methodologies.
cordingly, the findings of Rank et al. (1993) must be
contrasted with the clear negative responses found by
                                                                                             Chromo somal A berration Studies
several other investigators. Whether their results were
due to the effects of toxicity is uncertain, but the                           Evaluating the potential for a chemical to cause
weight of evidence indicates their results represent a                       structural chromosome aberrations provides relevant
false positive result, which is known to occur sporadi-                      information for purposes of health risk assessment




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                                                          GLYPHOSATE                                             135


since there is a clear association between chromosome       three different chemicals, atrazine, vinclozolin, and
rearrangements and cancer (Tucker and Preston,              glyphosate. produced nearly identical responses over
1996). Virtually all tumors contain structural (and/or      exactly the same dose ranges also in human lympho-
numerical) rearrangements (Rabbitts, 1994; Solomon          cytes. This is even more remarkable in view of the
et al., 1991). although these most probably arise late in   findings from other laboratories (Hrelia et al., 1996,
tumor development. Nevertheless. clear evidence for         van de Waart, 1995) that observed no effects in either
the production of chromosome abnormalities that are         glyphosate or vinclozolin at dose levels in excess of 70
heritable at the cellular level is an important considm     times those employed by Lioi et al. (1998a).
eratiou for cancer hazard assessment. As discussed             Glyphosate alone was not active for chromosomal
above, results of chronic exposure studies in rats and      damage (De Marco or ai.. 1992; Rank or ai., 1993).
mice demonstrate that there is no evidence of tumorim       Another study has reported that Roundup can produce
genicity for glyphosate, an important fact that should      chromosomal aberrations in onion root tip cells (Rank
be taken into consideration when evaluating all of          et al., 1993). These investigators postulated that the
chromosomal aberration studies described below.             toxic effect of the surfactant in Roundup could be re-
   Glyphosate was negative in an in vitro mammalian         sponsible for the effects on the plant cell chromosomes.
cytogenetic assay using human lymphocytes with or           Goltenboth (1977) found that glyphosate had an effect
without microsomal activation al. concentrations up to      on water hyacinth root tips and concluded that the
0,56 nnghnL and at exposures up to 48 h (van de Waart,      dose dependent effect on the formation of mitotic fig-
1995). These tests were performed according to OECD         ures at prolonged exposure times was due to an effect
and EEC guidelines.                                         on the spindle apparatus, leading to disorganized chro-
   Lioi et al. (1998a,b), in contrast, have recently re-    mosomes at anaphase. Given the herbicidal activity of
ported that glyphosate produced an increased fre-           glyphosate. these results are considered secondary to
quency of chromatid breaks as well as other chromo-         plant toxicity and not relevant to human health.
somal aberrations in both cultured human and bovine            Of greater relevance than in vitro effects is evidence
lymphocytes. There is reason to question these positive     of in vivo effects. In this regard, administration of
results on several grounds. Lioi or al. (1998a) reported    glyphosate to rats did not produce an increase in fre-
evidence of chromosomal damage at doses three orders        quency of chromosomal aberrations (Li and Long,
of magnitude lower than the van de Waart (1995) study       1988). No effects were observed in rat borne marrow at
cited above. Although Lioi et al. (1998a) also found that   several time periods posttreatment following intraperi-
under similar conditions, the fungicide vinclozolin pro-    toneal administration of 1.0 g;'kg glyphosate.
duced similar types and frequencies of chromosomal
damage across the same dose range as they reported                        The in Viv o Micronucleus Assay
for glyphosate, vinclozolin is known to produce toxicity
by nongenotoxic mechanism(s). In other experiments             A number of studies have used the mouse borne mar-
reported previously by Flrelia et ale (1996), the fungi-    row micronucleus assay to examine the effects ofexpo-
cide failed to produce chromosomal aberrations at 70        sures to glyphosate and Roundup on dividing red blood
times the dose applied by Lioi et al. (1998a) and failed    cells (Table 2). The micronucleus assay targets the
to show other evidence of direct DNA damage in a            most actively dividing cell population of the bone mar-
number of tests. The treatment protocol of72 h used by      row, the polychromatic erythrocytes (PCEs). PCEs rep-
Lioi et al. (1998a) was also unusual compared with          resent immature cells in the progression ofhernatopoim
recognized methodologies. Chemicals that reliably pro-      esis to normochromatic erythrocytes (NCEs) found in
duce chromosomal aberrations in stimulated lympho-          peripheral blood. The toxic effect of a chemical expo-
cytes can do so after a 4-h exposure and often after 20 h   sure to bone marrow can be assessed by the ratio of
of exposure, the usual test intervals. The observation      PCE/NCE. Different mechanisms may be involved in
that glyphosate exposures resulted in a reduced             the evolution of micronuclei. including chromosome
growth rate (thus affecting time to first mitosis) is an    breakage (clastogenesis) or effects on spindle organiza-
indication of a toxic effect, and this can have clear       tion (aneuploidogenesis). Almost all the results for ei-
implications for the evaluation of any chromosomal          ther glyphosate or Roundup expressed as micronuclem
aberration data. For an accurate assessment of in-          ated PCE (MNPCE) per 1000 PCE fall within the range
duced aberration frequency, the cytogenetic evalua-         of control (vehicle) values. The frequency of spontauem
tions must be conducted in a period of time shortly         ously (vehicle) produced micronuclei in newly produced
after exposure (Tucker and Preston, 1996). The results      polychromatic erythrocytes was within the historical
with bovine and human lymphocytes were not consis-          range for the CD-1 strain of mouse (Salamone and
tent. Lioi et al. (1998a) found chromosome type breaks      Mavournin, 1994).
in human cells, but few if any with bovine cells (Lioi et      All but one of the published or unpublished proce-
al., 1998b), without apparent explanation. Finally, the     dures that have examined the effect of glyphosate or
authors do not explain why under their test conditions      Roundup on the bone marrow have used intraperito-




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neal (ip) injection as the route of exposure. While less     tested up to 365 mg/kg (single dose, ip) failed to pro-
relevant for purposes of assessing risks for human           duce any increase in the number of NINPCE per 1000
exposure, ip injection assures high distribution of          PCE in bone marrow of exposed mice when compared
chemical into the circulatory system of the test species     to control mice that received saline.
and exposure of target cells in bone marrow with nraxm          Bolognesi et al. (1997) reported that glyphosate and
imam potential for observation of genotoxic events. In       Roundup were weakly positive in the bone marrow
the only study done using the more relevant oral route       micronucleus assay in Swiss/CD.-1 mice (Table 2).
of exposure (NTP, 1992), glyphosate did not produce          Roundup (ip) reduced the frequency of PCEs in male
micronuclei following 13 weeks of dietary administra-        mice compared to controls, suggesting some evidence of
tion to B6C3F I at dosage levels up to 50, 000 ppm           systemic toxicity. The results ofBolognesi et al, (1991)
(11°379 rng/kg body wt/day).                                 contrast with those of Kier et al. (1991) that reported
   Three studies (Kier et al., 1997) examined the differ-    no increased micronucleus formation (even at much
ent herbicide formulations containing glyphosate. Ro-        higher doses than Bolognesi et al. tested). Kier et al.
deo herbicide contains only glyphosate as the IPA salt,      (1991) did note a change in total PCEITCE ratio among
while Roundup and Direct are formulations that also          females, but only al. the highest dose (3400 mg/kg)
contain surfactant systems. These bone marrow micro-         when the IPA salt of glyphosate (Rodeo) was used. The
nucleus studies were performed according to accepted         protocol used by Bolognesi et al. (1997), however, var-
EC/OECD guidelines, using ip injection as the route of       ied from the standard acute bone marrow micronucleus
exposure in CD-1 mice, OECD (1998) guidelines re-            assay and only three or four animals per dose group
quire exposed and control animals (five per sex at each      were used. Two ip injections, each representing half
dosage and for each time period of exposure) for dos-        the final dose, were administered 24 h apart. Animals
ages examined. At least 1000 PCEs per animal were            were sacrificed at either 6 or 24 h after the final dose
scored for the incidence of MNPC'Es. In each case, Kier      (approximately 48 h after initial exposure). The results
et a%. (1997) found no evidence of clastogenic effect of     reported by Bolognesi et al. (1997) are at direct vari-
the herbicide formulation as measured by an increase         ance with those observed in much larger studies car-
in the frequency of PCE-containing micronuclei,              ried out under conditions of accepted GLP. First, they
   Since Rodeo contains no surfactant, it is therefore       report a significant toxic effect on the bone marrow
less acutely toxic and could be tested at higher dose        from exposure to glyphosate compared to controls. The
levels than the other two formulations containing sur-       number of PCE usually decrease with toxicity. The
factants. The LD_ for ip exposures to Rodeo was cal-         ratio of PCEs to NCEs was 73°o in controls, but was
culated to be 4239 mg/kg in CD-1 mice during range-          reduced to 501,10 with glyphosate and 30° with
frnding experiments. Rodeo exposures for bone marrow         Roundup. This frequency of PC:E production in control
micronucleus assays included doses of 3400, 1700, or         animals is unusual for the Swiss CD-1 mouse (Crebelli
850 mg/kg. There was no evidence of micronucleus             et al., 1999) and could be indicative of an elevated level
induction in either males or females at any dose or time     of spontaneous micronucleus production. Kier et al.
point tested, including up to 72 h posttreatment (Kier       (1997) found that approximate ratios for PCE/NCE
et al.. 1997).                                               were similar for control and treated animals, and this
   For Roundup, ip exposures in CD-1 mice were up to         is the general experience for results of a well-conducted
86% of the LD, (643 mg/kg). and bone marrow samples          test (OECD, 1998). Bolognesi et al. (1997) compensated
were prepared at 24, 48, and 72 b posttreatment were         for the use of fewer animals by increasing the total
negative for micronucleus induction (Kier et al., 1997).     number of cells examined per animal. Thus, Bologuesi
Roundup exposures at all doses tested up to 555 rng/kg       et al. (1997) relied on counts from 3000 PCE examined
(single dose, ip) failed to produce a significant in-        per animal in fewer animals to calculate the frequency
creased number of MNPCE per 1000 PC;E in bone                of micronuclei per 1000 PCEs in pooled data. This may
marrow of exposed mice.                                      have skewed results, for example, because one outlier
   A_third herbicide formulation using glyphosate and a      animal would be disproportionately represented. The
surfactant was tested in the bone marrow microuir-           accepted methodology includes counting PCEs for five
clews assay using CD-1 mice (data not shown in Table         animals and requiring increases in at least two. Be-
2). The herbicide Direct contains tallow amine surfac-       lognesi et al, (1997) did not provide micronucleus data
tant with a longer carbon chain length than POEA, the        for individual animals. contrary to customary practice.
surfactant used in Roundup. Male and female CD-1             and presented only summary totals, pooled for all an-
mice were given single ip injections of Direct: at three     imals.
doses: the highest exceeded 80% of the LD, (436 mg-/            Rank et al. (1993) observed no evidence of significant
kg). The doses were 365, 183, and 91 mg/kg of formu-         induction of chromosomal effects in Nlv1RI-Born mice
lation. Bone marrow samples evaluated at 24, 48, and         exposed to either glypbosate or Roundup using ip in-
72 h postexposure were negative for micronucleus in-         jection. These two materials were administered to male
duction (Kier et al., 1997). Direct exposures at all doses   and female mice (five per sex at each dose) at dose




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                                                          GLYPHOSATE                                                137


levels up to 200 mg/kg body wt. Bone marrow was             the frequency of SCE in human lymphocyte cultures
examined 24 and 48 h after exposure, and cells were         exposed to Roundup. The authors acknowledged that
scored for NCEs and PCEs as well as for the frequency       cytotoxicity was a confounding factor for their results.
of MNPCEs. The weighted mean for spontaneous MN/            They observed very minor changes in SCE in lympho-
1000 PCE in this strain is 2.06 (range 0.4 to 7.0)          cytes from two donors. but only two doses were re-
(Salarnone and Mavourin; 1994). For glyphosate, there       ported because the highest dose was toxic and no cell
was no evidence of increased frequency of rnicronuclei      growth occurred. Cells from one donor appeared to
in the bone marrow and no change in the relative            show a moderate response, but the other did not.
frequency ofPCE/NCE. This result is in general agree-       Therefore, the results are not internally consistent.
ment with Kier et al. (19911).                              Because of this lack of dose response, it is not possible
   In summary. there are a large number of in vivo bone     to apply statistical analysis to determine whether or
marrow micronucleus tests that depend on ip exposure        not an observable effect could be described.
to (1) the herbicide Roundup: (2) its active ingredient        Bolognesi et al, (1997) reported SCE in cultured hu-
glyphosate; or (3) the more soluble forinn of glyphosate    man lymphocytes after exposure to glyphosate (1.0 to
as the IPA salt. These exposures range up to 80°oofthe      6,0 nighnL) or Roundup (0.1 mg/mL). Glyphosate as
LD, in mice, but have failed to show significant genom      the free acid is soluble in this range and has a pH of
toxic effects on replicating bone marrow cells. The bone    15, The investigators provided no indication of any
marrow micronucleus assay is a simple yet reliable          precautions taken to ensure against the strong acidity
method capable of providing evidence for in vivo genom      of glyphosate in solution. Glyphosate produced a weak
toxicity resulting from different mechanisms (Crebelli      response of about three SCE per cell (estimated from
et al., 1999). The conclusion that nnrrst be made from      the figure presented) after a 48-h exposure. These re-
this information is that there are no genotoxic events      sults were produced from two donors whose data were
that occur in vivo in the absence of overt bone marrow      pooled (50 metaphases per exposure concentration).
toxicity. This fact is important in the evaluation of the   Normally, protocols for analysis of cytogenetic data
results of other in vivo and in vitro results.              would not permit pooling of data from different indi-
                                                            viduals or from different experiments. Confidence in
            In t'itro Sister Chromatid Exchange             results and statistical analysis are only valid when
                                                            expressed on the basis of the variation of response
   Analysis of sister chromatid exchange (SCE) fre-         among the individuals tested. Bolognesi et al. (1997)
quency can be an unreliable indicator of genotoxic ef-      failed to provide the tabulated SCE values for individ-
fect. The frequency of SCE can fluctuate based on os-       uals or experiments, so it is quite possible that the
motic balance. Sodium and potassium chloride                variation within the data set explains the apparent
concentrations have been implicated in SCE produc-          increase. According to Bolognesi et al. (1997) Roundup
tion (Galloway et al.. 1987). While somewhat more           was more toxic to lymphocytes, and only doses approx-
sensitive than assays ofclastogenic activity or chromo-     imately 10-fold below those tolerated for glyphosate
somal aberrations. the SCE assay does not indicate a        could be tested. Once again, the responses described by
mutagenic effect. Therefore, it is not appropriate to       these authors are well within the spontaneous SCE
suggest that increases in SCE could be indicative of        frequencies in the human population (see discussion
cancer risk; primarily because of the lack of an associ-    above).
ated cellular outcome (Tucker and P reston, 1996). The         Lioi et al. (1998b) reported increases in SCE per cell
utility of the in vitro SCE assay is questionable. be-      for bovine lymphocytes exposed to several low doses of
cause hazard can be more readily assessed using any         glyphosate (up to 29 mg;L). However, changes were not
number of in vitro assays specific for mutation. The        related to exposure over a greater than 1 0-fold range of
SCE assay monitors direct exchange between sister           dose. Similarly, Lioi et al. (1998a) failed to detect a dose
chromatids that suggest recombination. SCE are a cya        response for SCE production in human lymphocytes
togenetic manifestation of interchanges between DNA         after exposure to glyphosate. In addition, all of the SCE
replication products at apparently homologous loci.         data reported by Lioi et al. (1998a) using either human
The exact nature of these exchanges and their rele-         or bovine lymphocytes were characterized by an ex-
vance to toxic or genetic endpoints are matters of some     tremely low frequency of spontaneous (background)
debate (Tennant et al., 1987: Zeiger et al., 1990). The     events (e.g., ranging between 1.9 and 2.2 in the human
mechanism of SCE formation has not been established,        lymphocyte study). More normal values for base SCE
but it has been suggested that they may involve events      frequencies in human lymphocytes range around six
closely associated with replication ('t'ucker and Pres-     per cell. Various values based on data from larger
ton, 1996). Several studies have examined the effects of    populations have been recorded by Anderson et al.
glyphosate and Roundup on the frequency of SCE in           (1991) (6.6/cell), Bender et al. (1989) (8,0/cell), and the
cultured human or animal lymphocytes ('t'able 2).           Nordic Study Group (1990) (5-I4/cell). 'This suggests
   Vigfusson and Vyse (1980) were the first to report. on   that Lioi et al. (1998a,b) could have performed the test




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without sufficient scoring experience or that they saw      is so low that it is well within the range reported for
no statistically significant change at any dose.            normal endogenous adducts (Gupta and Spencer-
                                                            Beache 1996). In addition, it was not determined if the
                      In Vivo Mutation                      adducts were derived from the formulation ingredii
                                                            cuts. There is no evidence that direct DNA reactive
  In vivo, gyphosale has been shown to be devoic            intermediates are produced by the surfactants coin-
genot:oxic activity in a dominant lethal assay in mice      monly utilized in field formulations of Roundup. The
(Wrenn, 1980). This result confirms that. there is no       solvent system used to resolve the potential adducts
reason to suspect ghat. glyphosat:e could act to effect     was suitable for the characterization of large. bulky
genetic changes in actively dividing reproductive tis-      nonpolar poly-'cyclic aromatic hydrocarbon-type nucleo-
sues.                                                       tide adducts (Rauderath et al., 1984), which are unlike
                                                            adducts that would be generated from molecules like
                Mutation Stud ies with AMPA                 glyphosate or the surfactant. The poorly resolved ad-
   The available data on AMPA indicate it to be non-        duct "spots" of the type reported by Peluso ei al. (1998)
genotoxic and nonnrutagenic. No nrutagenic activity         are commonly observed in tissues from animals ex-
was observed in a S. ivphimurinin mutation test per-        posed to complex environmental mixtures. In general,
formed on AMPA at concentrations of up to 5000 [kg/
                                                            exposures to a limited number of chemical components
plate, both with and without an exogenous source of         (as might. be expected in Roundup) produce well-de-
metabolic activation (Shirasu ei al., 1980). Similarly,     fined radioactive products on chromatography, unlike
no genotoxic effects were observed in an in vitro un-       the diffuse zones reported. All these considerations
scheduled DNA synthesis repair in rat hepatocytes           suggest that the chromatographic alterations may
exposed to AMPA at concentrations of up to 5000
                                                            have been derived from sources other than the formu-
fcg/lnI, (Bakke, 1991). In vivo, no evidence of rnicronua   lation ingredients (i.e.. naturally occurring molecules
clei induction or other chrornosonral effects was found     or endogenous metabolites). Indeed, Peluso et a
in the boric marrow of CD-1 mice treated with ANIPA         (1998) were unable to provide any chemical character-
by ip injection at. doses of 100 to 1000 mg/kg body wt      ization ofthe product(s) that they identified as adducts,
(Kier and Stegeman, 1993). The results support the          and it should be concluded that the observations of
weight:-of-evidence conclusion that:AMP 4 is nongeno-       Peluso et al. (1998) are not supportive of a biologically
t:oxic.                                                     relevant response.
                                                               Others have reported that ip injection of Swiss CD-1
                                                            mice with glyphosate and Roundup could result in an
      ]DNAlleacthe Species from Glyphosate or Roundup
                                                            increased incidence of alkali labile sites in DNA in
  Glyphosate is not a DNA-reactive chemical. Experi-        kidney and liver (Bolognesi et ale, 1997). Alkali labile
ments in vivo were carried out in which Swiss CD-1          sites are generally produced at abasic sites in DNA and
mice treated by ip administration of glyphosate as the      may be revealed under conditions that denature DNA
isopropyl ammonium salt at perilethal doses of 130 and      secondary structure. The type of assay used by Bo-
270 mg/kg (Peluso et al., 1998). Glyphosate adminis-        lognesi et al. (1997) could not differentiate between
tered ip is considerably more toxic than either dermal      true abasic sites such as are generated by DNA lyase
exposure or by ingestion, and the doses utilized by         enzymes, sites produced by excision repair, or natural
Peluso et al. (1998) should be considered extraordinary.    interruptions in DNA found at points of arrested DNA
No evidence of DNA adducts was found on examination         replication. The effects reported by Bolognesi et al.
of kidney and liver from these mice as measured by the      (1997) were observed at 300 rng/kg glyphosate or 900
32P postlabeling procedure. The route of administration     rng;kg Roundup (this corresponds to 270 rrrl=/kg glyplrom
should be considered unusual, since ip injection is a       sate), which are doses close to or in excess of the ip I,114,
route of exposure of little relevance for humans. In        for mice (WHO, 1994a). DNA breaks could be detected
mice, the LD51 values are 134 to 545 rng/kg body wt         at a brief time after initial exposure; but at 24 h of
(WHO, 1994a).                                               exposure, there was no evidence of an excess number of
   When CD-1 mice were exposed ip with a formulation        alkali labile sites. There are several reasons to ques-
identified as Roundup (600 rngrkg of a 30.4°c IPA salt      tion the interpretation of the results from this assay.
or a dose equivalent to 182 rng/kg body wt) which           These include the interpretation of evidence for an
contained a surfactant, Peluso el, al. (1998) reported      increase in single strand or alkali labile sites. Such
what they described as evidence for DNA adducts by          breaks might: indicate, but could not differentiate be-
the "2P postlabeling procedure in tissues isolated after    tween, events due to the increased number of cells
exposure. 'There are a number of problems with the          arrested in S phase rather than an increase in the
procedure that led to this conclusion. First, there is no   number of excision sites. Cytotoxic effects can also be
evidence for a dose response over the narrow range of       responsible for introduction of single-strand breaks.
doses examined. Second, the level of adducts reported          Bolognesi et al. (1997) reported a dramatic increase




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in the number of oxidized guanine , 8-hydroxylguanine         not undergoing necrosis or autodigestion of DNA, cy-
(S-Ol-ldG), residues in DNA of liver cells from mice          totoxicity may have been unavoidable at the doses uti-
treated with glyphosate, but not Roundup. Opposite            lized in the assay.
results were found for exposures to kidney cells that            Rat primary hepatocyte cultures showed no evidence
appeared to accumulate oxidative damage after treat-          of an increase in unscheduled DNA synthesis (I_JDS)
nrent with Roundup, but not glyphosate. Products of           after a wide range of exposures to glyphosate in vitro.
reactive oxygen species, including 8 OIldO, are stable        Doses examined ranged over 3 orders of magnitude but
and tend to form adducts with protein and crosslink           failed to produce evidence of DNA repair (I-,i and Long,
DNA at lower frequency (Randerath el al., I997a.b).           1988). These observations in a well-characterized and
The findings in the reports of Bolognesi et al. (1997) or     sensitive system indicate an absence of DNA reactiv-
Peluso et al. (1998) are not consistent with a specific       ity. either direct or following hepatocellular biotrans-
-rode of action. Increased levels of 8OIldO residues is       formation (Williams et al., 1989).
not by definition an indicator of chemicalDNA inter-
action. These products result from secondary effects           Evaluating G e.not oxicity Data: Weig ht-of.Evidencc Approach
associated with chemical induction or inhibition of re-
pair of spontaneous lesions due to toxicity. The solvent        When evaluating data for genotoxicity, a primary
system utilized by Peluso el al. (1998) could not detect.     goal is to determine (a) the likelihood of occurrence of a
oxidation products in DNA (Randerath et al., 1997a),          key event; and (b) whether that event might lead to
Metabolism studies in rodents have shown that glypho-         heritable changes associated any adverse effect in vivo,
sale is poorly metabolized ; therefore, it is unlikely that   including cancer. The basis upon which a weight-of
products of oxidation could be produced directly in the       evidence evaluation can be constructed include the to]-
tissues identified as a result of glyphosate exposure as      lowing:
suggested by Bolognesi el al. (1997). It could be that             Any statistically significant observations should be
toxicity produces reduced repair of spontaneous               reproducible and biologically significant.
8-OHdG that would then lead to an accumulation of                  A doseresponse relationship should exist for of
oxidation products. Finally, the lack of increased            feets.
8-OIIdG in the same organs with both glyphosate and              • The effects should be permanent and progressive.
Roundup containing the equivalent amount of glypho-           as opposed to reversing upon cessation of chemical
sate suggests that glyphosate is not causing the change       dosing.
observed.                                                        • The nature of DNA effects should be characterized.
   Other assays have been used to indirectly demon-              • The database should be consistent or inconsisten-
strate the possibility of formation of DNA-reactive spe-      cies adequately explained.
cies from exposure to Roundup. Direct reaction with              • The effects produced in the assay should be rele-
purine or pyrimidine nucleotides could lead to elimina-       vant to humans.
tion of an altered base on exposure to alkali. Alkali-
sensitive sites resulting from depurination or                   A central objective of the weight-of-evidence is to
depyrimidation events can be detected in the Comet            avoid a situation that could permit one experimental
assay, a methodology to demonstrate DNA strand                test result to be accorded greater weight over others.
breaks. Clements et al. (1997) used the Comet assay to        A conceptual approach to the relative weighting of
examine DNA in erythrocytes from tadpoles exposed to          genotoxicity testing data in the final assessment of
various herbicides including Roundup. Clements et al.         nrutageuic or carcinogenic potential is shown in Fig.
(19911) reported evidence of a treatmeutmrelated in-          3. This model is based on the National Research
crease in DNA breaks as measured by migration of              Council guidance to evaluating sources of data for
DNA from the bulk of nuclear material in an electro-          risk evaluation (NRC, 1983) and is similar to proce-
phoretic field. Tadpole erythrocytes were unaffected at       dures recommended by several regulatory agencies
the lowest concentration of Roundup diluted in water          (e.g.. U.S. EPA. 1996b, "Proposed Guidelines for Car-
(1.7 rng/rnL), but at greater concentrations (6.75 or 27      cinogen Risk Assessment") for mutagenicity risk as-
mg/ml,) did produce evidence of singlemstraud breaks          sessment.
(SSB) in alkaline Comet assays. The dose of Roundup              The key features of the weight -ofevidencc scheme
formulation used in these assays was considerably             described in Fig. 3 are its ability to accommodate rem
greater than would be expected at. environmental con-         stilts from multiple testing protocols and its require-
centrations, 'T'adpoles were bathed in the exposure con-      ment to place a premium on consistency and coherence
centrations for a period of24 It prior to testing. Other      ofresults. Greater weight: is given to results from lab-
tests have clearly shown that glyphosate does not in-         oratories using accepted, well-validated protocols em-
teract with DNA directly, so the effects observed may         ploying GLP procedures. The scheme can also function
be from secondary effects of cytotoxicity. Although of        as a tool for analysis of a specific protocol, evaluating
forts were taken (trypan blue exclusion) to select cells      internal consistency ofresults from testing for similar




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  Guidance for preparing a Weight-of-Evidence analysis for                    but this is not the case for glyphosate. Sporadic posi-
             mutagenicity data for a chemical.                                tive responses (i.e., nonreproducing) are inherent
                                                                              within assays used to detect mutagenicity or genetic
                          Elements of Analysis                                alterations, particularly in vitro tests (Brusick et. al.,
                                                                              1998: Kirkland and Dean, 1994). Scientific objectivity
            IAW WEIGHTING                 HIGH WEIGHTING
                                                                              precludes emphasis on a few of positive responses
                        Assay System Validation                               rather than the overall response pattern and trend of
                                                                              the results.
                     Weak           --i      Strong                              Many testing schemes for mutagenicity and other
                                                                              short-term assays are conducted using acute exposure
               Reproduciblity /Consistency ofData
                                                                              protocols designed for purposes of cancer hazard iden-
                 Variable             ^     Consistent                        tification. Ir)_ the case of glyphosate, there are no tu-
                                                                              morigenic endpoints in rodents, or other animals that
                          Endpoint measured                                   have been tested, and hence there is no cancer hazard
                                                                              to attribute to any genotoxicity finding.
    Indirect/DNA damage                            Heritable Mutation
                                                                                 The information in Table 2 clearly shows that in
                          Species/metabolism                                  diverse test. systems, glyphosate alone, or as a formu-
                                                                              lation in Roundup fails to produce any evidence for
   In vitro/eucaryote                            101    In vivo mammal
                                                                              mutation induction. Effects of glyphosate on chromo-
                 Magnitude ofEffect/Dose Level
                                                                              somal organization in vivo have been almost wholly
                                                                              negative. The micronucleus data (Table 2) and those
   Weak/Toxic dose                                     Strong/Nontoxic dose   for chromosomal effects in bone marrow (Li and Long,
                                                                              1988) are consistently negative except. for the micronu-
  FIG. 3. Weight-of-evidence data hierarchy organization for eval-
uation and preparation of a statement ofthe potential for mutagenic           cleus data from Bolognesi et it. (1997), which must be
activity of a compound.                                                       viewed with reservation until a more complete descrip-
                                                                              tion of the data is available. The remainder of animal
                                                                              studies carried out in vivo show no effect of either
endpoints. On the other hand, a result from a novel                           glyphosate or Roundup. On the other hand, the results
procedure might be acceptable because it is deemed to                         of in vitro chromosomal aberration tests are more
provide important evidence of a chemical mode of ac-                          mixed. For reasons described above, it is difficult to
tion.                                                                         give equal weight to the studies based on the quality of
   The weight-of-evidence analysis is also significantly                      the study data presented. In particular, the two studies
affected by the relevance of the data available. Short-                       on bovine and human lymphocytes presented by Lioi et
term assays disclose evidence of genotoxic events in                          al. (1998a,b) are inadequate and, as described, have
vitro or in vivo that can be compared to more compre-                         many problems relating to the internal consistency of
hensive examinations of animals such as by the 2-year                         the data for other pesticides tested. Accordingly, these
rodent cancer bioassay. For purposes of human hazard                          studies are not weighted equally with the assay carried
assessment, greater confidence should be placed irl_                          out under GLP conditions (van de Waart, 1995).
those test systems that examine possible genetic ef-                             There is evidence for the production of effects such as
fects from chemical exposure of animals than in tests                         single-strand breaks in DNA, but none of these have
that rely on selected homogeneous cell populations                            been linked to the presence of identifiable adducts and
raised and tested in vitro. Chemical exposures of bio-                        are therefore most likely due to secondary effects of
logical systems carried out in vitro are much less real-                      toxicity. Metabolic studies in rodents plainly show that
istic, and results of such tests can be determined by the                     greater than 99% of glyphosate is rapidly excreted
effects of toxicity. Such toxicity can occur at unusually                     unchanged. and there is very little evidence that chem-
high exposure concentrations and/or be dependent on                           ical residues are associated with any tissue. llologn_esi
Metabolic and detoxification capabilities. Finally: a                         et al. (1997) have reported evidence of accumulation of
weight-of-evidence evaluation seeks to establish a                            8-OHdG adducts in livers of mice treated with glypho-
dose-response relationship. Greater attention should                          sate ip, but this cannot be reconciled with the fact that
be given wherever there is a clear association between                        glyphosate is not metabolized. There has been abso-
increased exposure and a genetic effect.                                      lutely no evidence produced to date that shows glypho-
                                                                              sate or Roundup is directly responsible for these
                                                                              events. It may be that. the injection of such a large
                   Weight-ref-Evidence Narrative
                                                                              quantity of glyphosate (2 X 150 rag) creates stress-
  The database for genetic effects of glyphosate and                          related events that. lead to accumulation of these oxi-
Roundup is both large and heterogeneous. Such exten-                          dative adducts, which do occur spontaneously. Sitni-
sive data sets are sometimes problematic to interpret,                        larly, the apparent production of single-strand breaks




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in liver or renal tissue DNA (Bolognesi et al., 1997;         assays. No genotoxic activity was observed in standard
Peluso et al.. 1998) after alkaline elution experiments       assays conducted according to international guidelines.
could also be indicative of events of cytotoxicity that       These assays include the S. tYphimuriurn (Ames assay)
reduces or retards rates of DN A replication, giving the      and E. coli WPn2 reversion assays, recombination (recn
appearance of breakage events. The fact that these            assay) with Bacillus suhtilis, Chinese hamster ovary, cell
events were transitory, being no longer evident 24 h          gene mutation assay, hepatocyte primary culture/DNA
after exposure also suggests an indirect effect of expo-      repair assay. and in vivo mouse bone marrow micronu-
sure. Also, the negative LJDS assay in hepatocytes (Li        cleus and rat bone marrow cytogenetics assays. Recently,
and Long. 1988) would tend to confirm that the SSB of         investigators have reported evidence of genotoxic effects
Bolognesi et al. (1997) likely, occur in S phase. Finally.    in a limited number of studies. However, these assays
Clements et al. (1997) also appear to have found a weak       used toxic dose levels, irrelevant endpoints/test systems,
effect of Roundup on integrity of tadpole erythrocyte         and/or deficient testing methodology. In view of the clear
DNA in the Cornet assay. Once again, the nature of the        negative responses in relevant, well-validated assays
exposure conditions and the concentrations used were          conducted under accepted conditions; it is concluded that
considerably greater than might be expected from en-          glyphosate is neither mutagenic nor clast:ogenic. On the
vironmental exposures. Peluso et al. (1998) could de-         basis of this evaluation, glyphosate does not pose a risk
tect no evidence of DNA adducts or covalently bound           for production of heritable or somatic mutations in hu-
residues in DNA from tissues of mice exposed to               mans.
glyphosate alone. The weak production of SSB shown               The mutagenic potential of Roundup herbicide and the
by alkaline elution and by the alkaline Comet assay.          POE A surfactant has been evaluated in several bacterial
(Clements et al., 1991; Bolognesi et al.. 1991; Peluso et     mut:agenicity assays. While a marginal response was re-
al., 1998) are all suggestive of secondary effects of         ported in one limited investigation, results from other
glyphosate exposure and probably arise from cytotoxm          complete, replicated studies conducted according to inter-
icity rather than any direct effect of exposure.              national guidelines and Good Laboratory Practices show
   The data relating to SCE production presented by           that these materials are not mutagenic. Glyphosate her-
Lioi et al. (1998a,b) and Bolognesi et al. (1997) are         bicide formulations and the POEA surfactant have been
questionable on both methodological and scientific            evaluated for the ability to produce chromosomal aberra-
grounds. The spontaneous frequency of SCE in un-              tions in several mouse micronucleus assays as well as
treated cells was extremely low compared with the             investigations with onion root tip cells and Drosophila. It
norm for human lymphocytes, the number of individ-            is concluded that these materials were not mutagenic in
uals whose lymphocytes were examined does not meet            mice. Results from the nonmammalian assay=s were con-
any standard for determining statistical significance,        founded by various factors and provided no biologically
and the size of the increases observed was variable and       relevant evidence of genotoxicity. DNA interaction stud-
not always dose related. Finally, the levels observed         ies with Roundup herbicide have been reported in the
were well within the accepted variation for the inci-         literature. While some of these studies reported positive
dence of SCE in the human population.                         effects, methodological limitations render the data scien-
   It is concluded that on a weigh t-crf-evidencc analysis    tifically- uninterpretable and unacceptable for safety as-
of the data for glyphosate and for Roundup that they          sessment. For example, the positive "effects" were ob-
are neither mutagenic nor genotoxic as a consequence          served only at cytotoxic concentrations in vitro and at
of a direct chemical reaction with DNA. The assay             perilethal doses in vivo administered by an irrelevant
systems used in short-term genotoxicity tests are ex-         route of exposure (i.e.; ip injections). Thus, the changes
tremely sensitive, but no single test is sufficient to form   occurred only under extreme conditions of exposure in
the basis for conclusive proof for evidence ofa genotoxic     assay's that do not directly assess mutagcnicity and are
effect. In the case of these compounds, there is evidence     known to produce effects that are secondary to toxicity. It
that in circumstances that lead to cytotoxicity (i.e.,        is believed that the high, unrealistic dose levels used in
high-dose experimental conditions), as would be pre-          these studies were sufficiently toxic to produce secondary
dicted for any chemical that undergoes such testing,          effects rather than direct genotoxicity. In view of all this
some effect may be observed such as the production of         information, Roundup is not considered to be mutagenic
single-strand breaks. The balance of the credible data        under conditions that are relevant to animals or humans.
from in vitro and in vivo test results confirms the safety
of glyphosate and Roundup as nongenotoxic and con-                    EVALUATION OF POTENTI A L SPECIFIC
forms to the fact that glyphosate is noncarcinogenic.
                                                                           ORGAN/ SYSTE M EFFECTS

                         Summary                                                 Salivary Gland Changes

  The potential genoi:oxicity of glyphosate has been            When salivary gland alterations were observed in
tested in a wide variety of in vitro and in vivo              rats and mice following subchronic glyphosate admin-




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istration, additional research was undertaken to inves-      materials; (2) absent in the sublingual gland that re-
tigate the mechanism by which this change occurred           leases mucous fluid in response to other stimuli; and
(NTP, 1992). It was hypothesized that glyphosate pro-        (3) observed to an intermediate degree in the submau-
duced the alterations via weak f3-adrenergic activity.       dibular gland that contains a mixture of mucous and
However, careful examination of the data and consid-         serous secreting cells. This pattern of observations is
eratiou of other factors do not support this hypothesis.     consistent with the hypothesis that the salivary gland
   In a follow-up study conducted by NTP (1992), male        change observed are a biological response to the acidic
rats were fed glyphosate for 14 days at a dietary level      nature of glyphosate.
of 50,000 ppm, which was the high-dose level from the           Regardless of the mechanism involved, there are sev-
subchronic study, while other rats were given isopro-        eral reasons to conclude that the salivary gland change
tereuol (a f3-adrenergic agonist). Both compounds pro-       observed is of doubtful toxicological significance. The
duced increased salivary gland weights. When isopro-         change occurred in the absence of other significant
terenol was given with proprauolol, a 0-blocker, there       adverse effects, indicating that the health of the ani-
was no increase in salivary gland weight. In contrast,       mals was not adversely impacted. Furthermore, the
salivary gland weights remained elevated when pro-           salivary gland alteration was not associated with any
pranolol was administered along with glyphosate, al-         adverse clinical or pathological effect. even in chronic
though the elevation was not as high as that seen when       studies. Stich alteration cannot. be considered prenco-
glyphosat:e was administered alone. The inability of a       plastic because the tumor rate was not increased in
13-blacker to significantly inhibit the effects of glypho-   chronic bioassays. These salivary gland changes are
sale indicates that it does not act as a /3-agonist.         not known to represent any pathologic condition and
   Other factors were considered to help resolve ques-       have no relevance to humans. Therefore, the finding is
tions of salivary gland effects and causality. First, if     not considered to be either toxicologically significant or
glyphosat:e was a /3-agonist material, its effect would be   adverse.
to stimulate 13-receptors in other effector organs and
produce a characteristic set of cardiocirculat:ory effects               Potential for Endocrine Modulation
such as increased heart rate and cardiac output as well
                                                                The U.S. Environmental Protection Agency has de-
as decreased blood pressure and peripheral resistance.
                                                             veloped a two-tiered screening and testing strategy for
None of these effects were noted in two pharmacology
                                                             evaluating the endocrine modulating potential of envi-
studies in which glyphosate was administered intrave-
                                                             ronmental substances. Tier I screening assays include
nously to dogs and rabbits (Tai et al., 1990; Takahashi,
                                                             both in vitro and short-term in vivo assays designed to
1992). Similarly, it is known that isoproterenol and
                                                             detect substances with the ability to interact with the
other f3-agonists cause myocardial necrosis (Lockett,
                                                             endocrine system. Tier 11 tests include long-term in
1965) and enlargement of heart ventricles (Schneyer,
                                                             vivo multigeneration reproductive toxicity tests that
1962) following prolonged treatment. Glyphosate did
                                                             more definitively determine and characterize any en-
not produce any effects in heart tissue, even after
                                                             docrine modulating effects for subsequent risk assess-
chronic exposure at very high doses, providing addi-
                                                             anent. In addition to efforts within the United States.
tional support to the argument that glyphosate does
                                                             other countries, led primarily by Japan and the OECD
not act as a /3-agonist. Furthermore, glyphosate is not
                                                             (Office of Economic and Development) member coun-
structurally related to known f3-agonists. It is con-
                                                             tries, are developing similar in vitro and in vivo ap-
eluded that glyphosate has no significant /3nadrenergic
                                                             proaches to assess chemicals for endocrine activity.
activity and therefore could not produce salivary gland
changes via /3nagonist activity.
                                                             In Vitro I ssavs
   Indeed, there are a number of other potential mech-
anisms of salivary gland alteration, including                 A number of in vitro assays have been developed to
nonchemical modes of action. For example; salivary           assess potential endocrine modulating effects of a
gland secretion has been shown to be affected by the         chemical. The primary use of these in vitro assays in
texture and moistness of feed (Jackson and Blackwell,        hazard identification is to screen large numbers of
1988), and salivary gland enlargement has been               chemicals and to determine which ones should be fur-
caused by malnutrition. Glyphosate could be acting by        ther studied in more definitive in vivo testing. As with
such a uonchernical mechanism. Because glyphosate is         any screening strategy, these assays are generally de-
a strong organic acid. dietary administration at rela-       signed such that any errors are likely to be false posi-
tively high levels may cause mild oral irritation leading    tives rather than false negatives. When a positive re-
to increased salivary gland size and flow. In the chronic    sult is reported in these assays, in vivo work is
exposure studies of glyphosate there were several sal-       indicated to confirm, characterize, and quantify the
ivary gland changes. These changes were: (1) most            true nature of the endocrine-modulating properties of
pronounced in the parotid gland, responsible for secre-      the chemical. The recent concern over endocrine mod-
tion of serous fluid in response to such stimuli as acidic   ulation and the availability of inexpensive screens is




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leading to the testing of chemicals in these in vitro             tissues from animals in a chronic and a two-gen-
assays regardless of the size and reliability of the more   eration toxicity study are presented in Tables 3 and 4
definitive in vivo database.                                to illustrate the magnitude and comprehensive nature
  Petit et al. (1997) tested glyphosate and 48 other        of these assessments. The data clearly indicate that
chemicals in two complementary assays: one measur-          glyphosate exposure had no adverse histological conse-
ing activation of the estrogen receptor from rainbow        quence on any reproductive or endocrine tissue from
trout in a yeast system and the other evaluating vitel-     either male or female rats even at exaggerated dosage
logenin production in a trout liver cell culture system.    levels. Negative results also were obtained in a domi-
Glyphosate had no estrogenic activity in either assay.      nant lethal study conducted at very high doses. While
                                                            this latter test is typically used to assess genetic tox-
In Vivo Studies                                             icity, substances that affect male reproductive function
                                                            through endocrine modulating mechanisms can also
   The repeat dose in vivo toxicology studies required      produce effects in this type of study. To summarize, no
by the U.S. EPA and other worldwide regulatory agen-        effects were observed in two independent. multigen-
cies detect modulation of endocrine system activity.        eration reproduction studies conducted at several
(Carney et al., 1997; Stevens et al., 1997, 1998). These    doses ranging from low levels to those that exceed
studies are more predictive than in vitro screening         human glyphosate exposure by several orders of mag-
assays as they assess a variety of endocrine-sensitive      nitude. Thus, a sufficient: battery of studies has been
endpoints in animals that are capable of metabolic          conducted to evaluate the potential for endocrine mod-
activation and/or detoxification. These studies also use    ulation. Taken together, results from all studies dern-
extended exposure periods encompassing various              onstrate that glyphosate and AMPA are not reproduc-
stages of endocrine development. Endocrine-active           tive toxicants and do not: perturb the endocrine system.
substances affecting a single or multiple endocrine tar-    The U.S. EPA (1998a) reviewed these studies and also
get sites invariably initiate direct or compensatory bio-   concluded that there was no evidence to suggest that
chemical, cellular, and/or hist:opat:hological processes    glyphosate produces endocrine-modulating effects.
which will be detected in standard toxicology studies          The results of subcbronic and developmental toxicity
required for pesticide registration in Canada, Europe,      tests on POE A also showed no evidence of endocrine
Japan, and the United States. A comprehensive his-          modulation. In addition, the metabolism of POEA
topathological assessment of endocrine tissues com-         would be expected to produce short-chain carboxylic
bined with gross organ pathology and organ weight           acids and similar derivatives. which are not considered
data allows detection of all adverse endocrinopathies.      to be endocrine modulators. The lack of any indications
   The standard toxicology studies that provide valu-       of hormonal activity in subchronic toxicity studies with
able information on potential endocrine-modulating ef-      Roundup herbicide supports the conclusion that POEA
fects include subchronic, chronic, developmental, and       does not possess endocrine modulating activity.
reproduction studies. The multigeneration rat repro-
duction study is the most definitive study for evaluat-     Suininary
ing the potential of substances to produce endocrine-
                                                               The endocrine-modulating potential of glyphosate
modulating effects in humans and other mammals
                                                            has been evaluated in a variety of studies including in
(U.S. EPA, 1998b). This study evaluates effects on go-
                                                            vitro assays and standard in vivo toxicology studies.
nadal development/function, estrous cycles, mating be-
                                                            The in vivo studies comprehensively assess endocrine
havior, fertilization, implantation, in ulero develop-
                                                            functions that are required for reproduction, develop-
ment. parturition, lactation, and the offsprings' ability
                                                            ment , and chronic health. Glyphosate produced no ef-
to survive, develop, and successfully reproduce. A coma
                                                            fects in in vitro assays, and there was no indication of
prehensive histopathological assessment of all major
                                                            changes in endocrine function in any of the in vivo
organ systems also is a prominent feature of these
                                                            studies. Results from standard studies with AMPA.
studies. Developmental toxicity studies evaluate ef-
                                                            Roundup herbicide, and the POEA surfactant also
fects on many of these same processes, while sub-
                                                            failed to show any effects indicative of endocrine nod-
chronic and chronic studies incorporate numerous di-
                                                            ulation. Therefore, it is concluded that the use of
rect and indirect evaluations of endocrine and
                                                            Roundup herbicide has no potential to produce adverse
reproductive tissues such as target organ weights and
                                                            effects on endocrine systems in humans nor in other
a comprehensive assessment of endocrine organ pa-
                                                            inainmals.
thology.
   There were no definitive findings in the subchronic,
                                                                            Potential for Neurotoxicity
chronic, developmental, or reproductive toxicity stud-
ies indicating that glyphosate or AMPA produced any           As discussed above, glyphosate, AMPA, POEA, and
endocrine-modulating effects (see Tables 3 and 4). His-     Roundup herbicide have been tested in numerous sub-
t:opat:hological observations of endocrine and reproduc-    chronic, chronic, and reproductive toxicity studies. In




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                                                         TAB 1, E 3
                    Summary Incidence of Microscopic Findings in Reproductive and Endocrine Organs
                                        in a 2-Year Rat Study with Olyphosate"

                     Dose levels ppni)                         0          2000           8000           20,000

Epididyrnis(-ides)
  Decrease/absence of sperm                                  12 (60)6     14 (60)         17 (60)         19 (60)
  Granuloma, sperm                                            1 (60)       0 (60)          1 (60)          0 (60)
  Atrophy                                                     1 (60)       0 (60)          0 (60)          0 (60)
  Hyperplasia, ductal epithelium                              0 ((30)      0 (60)          1 (60)          1 (60)
Testis(-es)
  Degeneration/atropy, seminiferous tubules, bilateral       14 (60)      16 (60)         14 (60)         22 (60)
  Arteritis/periarteritis                                    17 (60)      12 (60)         18 (60)         21 (60)
  flyperplasia, interstitial cells                            1 (60)       1 (60)          0 (60)          1 (60)
  Spermatocoele                                               1 ((30)      0 (60)          0 (60)          0 (60)
  Interstitial cell tumor                                     2 (60)       0 (60)          3 (60)          2(60 )
  Granuloma, spermatic                                        0 (60)       1 (60)          0 (60)          1 (60)
  Degeneration/atrophy, seminiferous tubules                  6 (60)       8 (60)          8 (60)          8 (60)
Ovaries
  Cyst(s), follicular                                        13 (60)        7 (60)         8 (60)          9 (59)
  Cyst(s), paraovarian bursa                                  0 (60)        1 (60)         1 (60)          1 (59)
  Granuloa cell tumor                                         0 (60)        2 (60)         1 (60)          0 (59)
  Lymphoma infiltrate                                         0 (60)        0 (60)         0 (60)          1 (59)
  Theca cell tumor                                            1 (60)        0 (60)         0 (60)          0 (59)
  Arteritis/periarteritis                                     0 ((30)       0 (60)         1 (60)          0 (59)
  Metastatic cortical carcinoma, adrenal                      0 (60)        0 (60)         0 (60)          1 (59)
Uterus
  Dilatation, endometrial glands                              7 (60)        6 (60)         5 (60)          3 (59)
  Squamous metaplasia, endometrial glands                     6 (60)        2 (60)         1 (60)          2 (59)
  Inflammation, endometreum                                   0 ((30)       1 (60)         2 (60)          2 (59)
  Dilation ofuterine lumen (hydrometra)                       7 (60)        9 (60)        16 (60)          8 (59)
  flyperplasia, endometrial glands                            0 (60)        0 (60)         2 (60)          3 (59)
  Hypertrophy/hyperplasia, endometrial stroma                 1 (60)        0 (60)         0 (60)          1 (59)
Prostate
  Infiltrate. mononuclear/lytnphocytic. interstitial          3 (60)       0 (60)          1 (60)          1 (60)
  Inflammation                                               11 (60)      14 (60)         16 (60)         16 (60)
  flyperplasia, acinar epithelium                             2 (60)       4 (60)          1 (60)          4 (60)
  Adenocareinoma                                              1 (60)       0 (60)          0 (60)          0(60 )
  Atrophy                                                     1 (60)       2 (60)          0 (60)          2 (60)
  Mucoid epithelial metaplasia                                0 ((30)      1 (60)          1 (60)          1 (60)
  Cyst                                                        0 (60)       0 (60)          1 (60)          0 (60)
Seminal vesicle(s)
  Inflammation                                                2 (60)        3 (60)         3 (60)          3 (60)
  Atrophy                                                    11 (60)        5 (60)        12 (60)         13 (60)
  Distended with secretion                                    2 (60)        0 (60)         0 (60)          0 (60)
  Inflammation, coagulation gland                             1 (60)        5 (60)         1 (60)          2 (60)
  Secretion decreased                                         0 (60)        2 (60)         0 (60)          1 (60)
  Hyperplasia, epithelium                                     0 (60)        1 (60)         1 (60)          0 (60)
Pituitary
  Adenoma, pars distalis                                  34 m (60)     32 in (58)     34 m (58)       31 m (59)
                                                           45 f(60)      48 f'(60)      46 f (60)       34 f(59)
  flyperplasia, pars distalis                             10 m (60)     10 m (58)       9 in (58)      10 m (59)
                                                            6f(60)        7f(60)          7f(60)          8f(59)
  Vacuolation, pituicytes                                  0m(60)        0m(58)         0 m (58)        1m(59)
                                                            0 f (60)      0 f (60)       2 f (60)         1 1'(59)
Mammary gland
 Adenoma/adenofibromaifibroma                              0m(43)        1m(31)         1m(41)          1m(37)
                                                           25 1'(58 )    24 f (54)      27 f (59)       28 1-(57 )
  Galactocele(s )                                          3m(43)        3m(31)         2m(41)          2m(37)
                                                             8 1'(58)    14f(54)         4 f (59)        9 f (57)
  Prom    ent secretory act                                6 in (43)     8m(31)        11m(41)          5tn(37)
                                                           29 f(58)      26 1' (54)     28 t ' (59)     28 f(57)
  Hyperplasia                                              0 in (43)     2 in (31)      2 m (41)        0 in (3 7)
                                                           16 f (58)     19 f(54)       13 f (59)       22 f(57)
  Carcinoma/adenomacarcinoma                               Im(43)        0m(31)         0m(41)          0m(37)
                                                           13 f (58)     10 f'(5 4)     14 1'(59)        9 f(57)




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                                                             GLYPHOSATE                                                              145

                                                           TABLE 3-<'on tinued

                     Dose levels (ppm)                                0                  2000               8000               20,000

  Adenoacanthorna                                                 0 m (43)             0 m (31)           O in (41)            1 m (37)
  Inflammation, granulomatous                                      0 f(58)               1 f(54)           0 f(59)               I f (57)
  Inflammation, chronic                                           I in (43)            O m (31)           O m (41)             O m (37)
                                                                   0 f(58)               1f(54)            Of(59)               0f(57)
  Fibrosis                                                         0 f(S8)               1 f(5 4)          0 059)               0 f(57)
  Carcinosarcoma                                                    I f(58)             O f (54)           O f(59)               1 f(57)
Thyroid
  Ilyperplasia/cystic hyperplasia, follicular epithelium          4 in (60)            2 m (58)           1 m (58)             2 m (60)
                                                                    1 f (60 )            1 f (60 )         O f (60 )            3 f(60 )
  C cell adenoma                                                  2 in (60)            4m(58)             8m(58)               7rn(60)
                                                                   2 f(60)              2 f(60)            6 f (60)              6 f(60)
  C cell hyperplasia                                              S m (60)             I in (58)          6 m (58)             5 in (60)
                                                                  10 f (60)              Sf(60)            9f(i0)                5f(60)
  Follicular cyst(s)                                              2 m (60)             1-(58)             3-(58)               3-(60)
                                                                   2 f(60)               1 f(6 0)          0 f (60)              1 f(60)
  C cell carcinoma                                                0 m (60)             2 m (58)           0 in (58)            1 m (60)
                                                                   0 f(60 1)            0 f (60)            1 f(60)              01-(60),

  Vote. in, males; f. temales.
    Data from Stout and Ruecker (1990).
  ° All deaths reported. Incidence (total number of animals examined).




another study, the 1PA salt of glyphosate was adluin-                             The Potential for Synergistic Interactions
ist:ered to dogs for 6 months (Reyna and Thake, 1983),
The design of all these studies included a number of                        Herbicides are often applied in combination with
parameters that evaluate the potential of these mate-                    other active ingredients and/or surfactants. This has
rials to produce neurotoxicity. Histopathologic exami-                   raised the question of possible synergistic interactions
nations were routinely conducted on brain, spinal cord,                  (i.e., more than additive response) between these ma-
and peripheral nervous tissue such as the sciatic nerve.                 terials. It is noteworthy that studies published in the
In addition, the animals in these studies were regu-                     scientific literature. including a comprehensive study
larly observed for unusual clinical signs of toxicity that               of more than 400 combinations of pesticides, have
would indicate any functional effect on the nervous                      shown that synergism is rare (Carpenter et al., 1961;
system. The developmental toxicity studies conducted                     Keplinger and Deichmann, 1967; Federation of Ger-
with glyphosate, AMP 4, and POEA included examina-                       man Research Societies, 1975; Groten et al., 1997). The
tions to determine if there were adverse effects in the                  toxicity of glyphosate has been evaluated in cornbina-
developing nervous system. There was no evidence of                      lion with several surfactants and/or other herbicides in
neurotoxicity in any of these studies.                                   acute studies with rats and aquatic species. Based on
   Roundup was administered to beagle dogs as a single                   the results of these studies, it is concluded that the
oral dose at levels of 59 and 366 rng/kg (Naylor, 1988).                 simultaneous exposure of glyphosate and other inate-
Animals were continuously observed for 2 to 3 h after                    rials does not produce a synergistic response.
dosing for clinical signs of toxicity. A detailed neuro-                    Data that fail to demonstrate evidence for synergism
logical examination consisting of 121 different measure-                 between weakly estrogenic chemicals by the absence of
ments of spinal, postural. supporting, and consensual                    the production of greater response to mixtures have
reflexes was performed before treatment, during the                      been presented by various investigators. In a study
post administration observation period. and again on                     conducted by Baba et al. (1989). oral LD,,s were deter-
the following day. Reflexes appeared normal, and there                   mined in rats for each component of Roundup herbi-
were no clinical signs indicative of neuromuscular ab-                   cide. The interactions were evaluated by the graphic
normalities.                                                             method of Shirasu et al, (1978), and ratios were calcu-
   11. is concluded that there was no evidence of ncuro-                 lated using Finney 's equation. It was concluded that
toxicity in any of the toxicology studies even at very                   the interaction between glyphosat:e and the POEA sur-
high doses. The U.S. EPA has evaluated all the data                      factant was antagonistic rather than synergistic. Hey-
with glyphosat:e and also reached this conclusion (U.S.                  dens and Farmer (1997) used the harmonic mean for-
EPA, 1998a), It was also noted by the Agency that no                     mula of Finney to compare the "expected" and
neuropathy or alterations were seen in the fetal ner-                    "observed" LD55 and LC55 values for rats and aquatic
vous system in the developmental and reproductive                        species exposed to several combinations of glyphosate
toxicology studies.                                                      with other herbicides and/or surfactants. None of the




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                                                       AND MUNRO


                                                          'TAB 1, E 4
                   Summary of Reproductive and Microscopic Findings in a TwoGeneration Rat
                                     Reproduction Study with Glyphosate'

                      Dose levels (ppm):                         0                                     30,000

                             Generation:        FO        FIA           F1A-remate        FO          F1A       FIA-remate

Total paired females                       30        30                 30           30          30               30
Females with confirmed copulation/total
  paired                                   96,7%     100.0%             83,3°,/0     100,0°,/0   96.7%            86,7%
Pregnant/total paired                      80.0%     933%               53.3%        93.3%       86.7%            83.3%
Pregnant/confirmed copulation              82.8%     93.3%              64.0%        933%        89.7%            96.2%
Males with confirmed copulation/total
  paired                                   86.7%     93.3%              70.00/0      90.00/0     83.3°/a          80.0%
Males impregnating feniales/total paired   70%       90.0%              46.7%4,      83,3%4,     80.0%            76.7%
Males impregnating females/confirmed
  copulation                               80.8%     96.4%              66.7%        92.6%       96.0%            95.8%
Precoital length for pregnant animals
  (days)                                   3.6       2.8                3.7          3.7         3.2              2.5
Gestational length (days)                  223       22.4               22.4         223         22.6             22.5
Litter size
  Female                                   6.7       6.6                6.0          5.7         5.5              5.6
  Male                                     6.6       5.4                5.9          5.8         5.3              5.2
  Combined                                 13.3      12.0               11.9         11.5        10.8             10.7
Terminal body weight (g)
  Males                                    549.6     625,0                           503.5*      543,4*
  Females                                  296.3     316.2                           265.9*      284.8*
Organ weights (g)
  Ovary(-ies)                              0.1343    O.1579                          0.1269      0.1587
  testis(-es)                              5.9959    6.6090                          5.7905      6.3857
Histopathology oftissue/organs
  Fpididyrnis(-ides)
     Vacuolation, duct epithelium          1 (30
     Inflammation, mononuclear,
       interstitial                                  1 (30)                          5 (30)
     Chronic inflammation, fibrosis                                                              1    (29)
     Periepididyrnal adipose tissue,
       inflammation, granulomatous                                                               1 (29)
     Hypospermia, unilateral                                                                     1 (29)
  Testis
     Hypoplasia/atrophy seminiferous
       tubule, bilateral                   2 (30)    1 (30)                          1 (30)
     Degeneration seminiferous tubules,
       unilateral                                    1 (30)                                      1 (29)
     Hemorrhage                                      1 (30)
     Granuloma, spermatic                                                                        1 (29)
  Ovary(-ies)
      cyst(s)                                        3 (30)                          1 (30)      3 (30)
    Inactive                                         1 (30)
  Uterus
    Remnant, implantation site             10 (29)   11    (29)                      7 (29)      13 (29)
    Mesometrium, calcified
      implantation remnant                 1 (29)
    Dilation ofuterine lumen
  (hydrometra)                             5 (29)    5    (29)                       9 (29)      7 (29)
    Pigment deposition                               3    (29)                                   7 (29)
    Mononuclear infiltrate endometrium               1    (29)                                   1 (29)
    Vascular necrosis mesometrium                    1    (29)
  Vagina
    Mononuclear cell infiltrate                                                                  1 (29)
  Prostrate
    Chronic inflammation                   14 (30)   4 (29)                          12 (30)
    Mononuclear cell infiltrate                      1 (29)                                      1 (29)
    Edema                                            2 (29)
  Seminal vesicle
    Mononuclear cell infiltrate                      1    (29)                                   1    (29)




                                                                                                       MONGLY00581999
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                                                          TA B LE 4-Continues

                      Dose levels (ppm):                               0                                           30,000

                             Generation :         F0              FIA            FIA- remate        F0            F1A       FIA-remate

 Pituitary
   Cyst(s)                                                     2in(30)                                         2in(28)
                                                               2 f(30)                                         3 f(23)
   Adenoma. pars distalis                                      I f-(30 1)
 Mammary gland
   Galactocele                                                 I f(28)
  Mononuclear cell, infiltrate                                 I in (25)                                       1f(30)

 Note. Significantly different from control, *P < 0.01. no, males; f. females.
   Data from Reyna (1990).
   Incidence (total number of animals examined).



combinations showed any evidence of synergism, Mar-                                            Occ u pational Exposure
tinez and Brown (1991) studied the interaction be-
tween glyphosate and POEA administered int:ratra-                              One controlled study that investigated the potential
cheally to rats at very high dose levels. Based on the                      effects of Roundup exposure in applicators has been
resulting pulmonary damage and mortality data, the                          reported in the scientific literature. The remaining in-
authors concluded that a synergistic response oc-                           formation involves reports of effects from individuals
curred. However, no supporting mathematical analysis                        following use of the product. 'T'hese include data gath-
or other basis for the conclusion was presented. In a                       ered by the State of California and three published
similar study, Adam el all. (1997) investigated the oral                    studies.
and intratracheal toxicity of POEA, glyphosate, and                            Jauh_iainen         (1991) evaluated the short-terra
Roundup herbicide. In contrast to the conclusions of                        effects of glyphosate exposure in agricultural herbicide
Martinez and Brown, these authors concluded that                            applicators. Data from applicators who sprayed
there appeared to be no synergism with glyphosate and                       Roundup was compared to results obtained from pre-
POEM.. In conclusion. there is no reliable evidence in-                     exposure baseline examinat ions as well as to data from
dicating synergistic interactions between glyphosate                        a group of nonexposed control workers, There were no
and other materials.                                                        effects on hematology, clinical chemistry, ECG, pulmo-
                                                                            nary function, blood pressure, or heart rate I week
                                                                            after application.
                    HUMAN EXPE RIENCE
                                                                               The State of California requires that physicians re-
                                                                            port all cases of known or suspected pesticide expo-
                        Irritation Studies
                                                                            sures presented to them by patients. If a person expe-
   Dermal irritation studies with Roundup herbicide in                      riences some pain/discomfort and merely suspects that
human volunteers have shown, at most, only mild ef-                         they have been exposed to a pesticide, the case will be
fects. In two separate studies, exposure to Roundup at                      included as a "suspected illness" in the State's report.
a normal spray dilution (_-0.9% glyphosate as the IPA                       This liberal reporting procedure with no verification
salt, IPAG) or at a higher concentration (---4.1% IPAG)                     often results in the listing of a pesticide simply because
produced no skin irritation or sensitization when ap-                       the patient recalls rising or being near the material at
plied for 24 h (Shelanskie 19-3). Maibach (1986) eval-                      some point in the past and does not necessarily imply a
uated Roundup and commonly used household prod-                             cause-and-effect relationship. Based on this informa-
ucts (Johnson & Johnson baby shampoo, Ivory                                 tion, Pease et al. (1993) reported that glyphosate-con-
dishwashing detergent. and Pinesol liquid cleaner) for                      taining products were the third most common cause of
acute irritation, cumulative irritation, and photoirritaa                   skin and eye irritation among agricultural workers and
tion, as well as allergic and photoallergic activity. Mild                  ranked fifteenth for systemic and respiratory symp-
irritation was observed in a few individuals as a result                    toms. Relative to the level of product use, however,
of application of concentrated product directly to skin                     glyphosate ranked only 12th for the number of irrita-
for 24 h. however, no dermal sensitization, photoirri-                      tion symptoms reported.
tation, or photosensitization was observed. The au-                            Careful examination of the California data further
thors concluded that Roundup herbicide and the baby                         indicates that the number of cases reported simply
       poo had less irritant potential than either the                      reflects greater use of the product relative to other
cleaner or dishwashing detergent. 'T'here was no differ-                    herbicides and shows that glyphosate has relatively
ence between Roundup and the baby shampoo in terms                          low toxicity among pesticides used in the State. De-
of irritation potential.                                                    spite widespread use in California among pesticide




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applicators and homeowners, there have been very few                                 Ingestion
confirmed illnesses due to glyphosate (California EPA,
                                                               Various studies reported in the literature describe
1996). In 1994, for example, glyphosate exposure was
                                                             the effects observed after accidental and intentional
reported in only 25 cases, of which only 13 were con-
                                                             ingestion of Roundup. Accidental exposure results
sidered "definite or probable." Eleven of the 13 cases       in, at most , only mild effects; no deaths have been
involved only minor and reversible eye irritation; the       reported. However, intentional ingestion of large
other two cases were a headache and an apparent              amounts in suicide attempts has produced severe
misdiagnosis of reaction to hydrocarbon solvent, which       effects including severe hypotension, renal failure,
is not an ingredient in Roundup. The California De-          and, in some instances , death (Sawada et al., 1955;
partment of Pesticide Regulation noted in its 1994           Menkes et al., 1991, Talbot et al., 1991, Tominack et
report that the majority of the people (>80%) affected       al., 1991; Temple and Smith, 1992). In those cases
by glyphosate experienced only irritant effects and, of      that result in mortality, death usually occurs w ithin
the 515 pesticide-related hospitalizations recorded          a few days of ingestion. In one study, it was esti-
over the 13 years on file, none was attributed to glypho-    mated that the amount of concentrated Roundup
sate.                                                        intentionally ingested in fatal cases was 184 mL
   Acquavella et al. (1999) evaluated ocular effects in      (range of 85 to 200), although it was noted that
1513 cases of Roundup herbicide exposure reported to         ingestion of much larger amounts resulted in only
a certified regional center of the American Association      mild to moderate symptoms (Talbot et al., 1991).
of Poison Control Centers (AAPCC) from 1993 through          Sawada et al. (1988) and Tominack et al. (1991)
1997° The large majority of reported exposures were          reported that average ingestion of 104 and 120 mL
judged by specialists at the center to result in either no   were not fatal while mean ingestion of 206 and 263
injury (21°c) or only transient minor symptoms (70°io).      mL did produce death. Based on this information, it
None of the reported exposures resulted in permanent         is concluded that the acute toxicity of Roundup in
change to the structure or function of the eye. Based on     humans is low and is consistent with that predicted
these findings, it is concluded that the potential for       by the results of acute toxicity studies in rats.
                                                                The nature of the clinical symptoms observed in
severe ocular effects in users of Roundup herbicides is
                                                             cases of suicide suggests that hypovolemic shock was
extremely low.
                                                             the cause of death (Sawada et al., 1988; Tominack et
   A limited number of studies have also investigated
                                                             al., 1989). Because similar responses have been ob-
the results of occupational exposure in humans.
                                                             served in cases involving ingestion of other surface-
Temple and Smith (1992) reported that accidental
                                                             active agents, it has been suggested that the acute
exposure to Roundup herbicide can result in eye and
                                                             toxicity of Roundup is likely due to the surfactant. This
skin irritation. These investigators also reported           hypothesis is supported by results from a study in dogs
other symptoms such as tachycardia, elevated blood           that showed that the surfactant (POEA) produced a
pressure, nausea, and vomiting. However, such ef-            hypotensive effect. but glyphosate did not (Tai et al.,
fects probably represent a nonspecific response re-          1990). Based on other data, these investigators con
lated to the pain associated with eye and/or skin            eluded that the hypovolemic shock was due to a cardiac
irritation. Talbot et all. (1991) found that accidental      depressant effect of very high doses of the surfactant.
dermal exposure to six subjects did not result in any        Talbot et al. (1991) reported that the clinical data gen-
symptoms, Jamison et al. (1986) evaluated pulmo-             crated in cases of intentional ingestion did not support
nary function in workers handling flax which was             hypovolemia as the cause of cardiovascular shock.
previously retted (a process which softens and sepa-         Other factors, such as injury to the larynx and aspira-
rates fibers by partial rotting) either by a dew-ret-        tion ofvomitus into the lungs, were linked to mortality
ting process or via the application of Roundup 6             and specific pathological changes observed after intox-
weeks prior to harvest. It was reported that changes         ication with Roundup herbicide (Menkes et al., 1991;
in pulmonary function were greater in the individu-          Chang et al., 1995; Hung et all., 1997),
als exposed to preharvest netted flax compared to
those inhaling the dew-retted vegetation. However,                                   Summa
the levels of glyphosate still present in the flax which       Results from several investigations establish that
was sprayed 6 weeks before harvesting would be               the acute toxicity and irritation potential of Roundup
extremely low, if present at all, and could not be           herbicide in humans is low. Specifically, results from
responsible for the altered pulmonary function ob-           controlled studies with Roundup showed that skin ir-
served. Rather, it is most likely that the two retting       ritation was similar to that of a baby shampoo and
procedures produced dust particles with different            lower than that observed with a dishwashing detergent
physical characteristics and/or resulted in different        and an all-purpose cleaner; no dermal sensitization,
microorganism populations in the retted vegetation.          phol:oirritation, or phol.osensitization reactions were




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                                                          GLYPHOSATE                                              149


observed . Furthermore , the incidence of occupational-     other age groups. Young farm children may also con-
related cases involving Roundup is low given the wide-      tact pesticide residues in their surrounding environ-
spread use of the product. Data from these cases indi-      ment and thus have more opportunity for potential
cated some potential for eye and skin irritation witb       incremental exposure. We therefore selected this age
the concentrated product, but exposure to dilute spray      class as a high-end subgroup for nonoccupational ex-
solutions rarely resulted in any significant adverse        posure among the general population.
effect. Most importantly , no lasting dermal or ocular         Worst-case estimates of exposure to glyphosate,
effects were noted , and significant systemic effects at-   AMPA, and POEA were calculated for aggregated
tributable to contact with Roundup did not occur . S tud-   acute and chronic exposure scenarios. The aggregate
ies of Roundup ingestion showed that death and other        exposure for chronic scenario was based on the inges-
serious effects occurred only when large amounts were       tion of food commodities and drinking water containing
intentionally ingested for the purpose of committing        trace residues in addition to exposures from the spray-
suicide. These data confirmed that the acute oral tox-      ing of Roundup by applicators. The acute scenario in-
icity in humans is low and consistent with that pre-        corporated occasional; inadvertent exposure routes
dicted by the results of laboratory studies in animals.     (spray drifting onto bystanders, reentry into previously
                                                            treated areas). This scenario also included additional
                                                            sources from unintentional exposures that can occur on
                EXPOSURE ASSESSMENT
                                                            a rare basis during specific activities (e.g., consumption
                                                            of wild berries and mushrooms that might be sprayed
                  Overview and Sum m
                                   ary
                                                            inadvertently; the activity of swimming in a pond with
  Exposure assessment is generally conduc                   herbicide residues). The aggregated acute scenario in-
tiered manner, beginning with an assessment. that em-       cluded the chronic exposure sources in addition to ex-
ploys simplifying assumptions to arrive at an upper         posure resulting from these inadvertent exposure
bound estimate. When that upper limit. exposure level       routes.
is found to provide an adequate safety margin over             Though worst-case assumptions were used through-
toxicologic findings of concern, further refinement to      out, the calculated exposures to glyphosat:c, AMPA,
identify- a more accurate realistic exposure level is not   and POEA were shown to be low ('T`able 5). Calculating
generally undertaken. In the majority of instances, the     for glyphosate, acute and chronic exposures to applica-
first tier upper limit assessment overestimates actual      tors were 0.125 and 0.0323 mg/kg body wt/day, respec-
exposure by I to 2 orders of magnitude.                     tively; for young children, the values were 0.097 and
   Exposure of the general population to the compo-         0.052 mg/kg body wt/day. Estimates of exposure to
nents of Roundup herbicide is very low and occurs           AMPA were also very low, ranging from 11.0048 to
almost exclusively from the diet. Two population sub-       0.0104 mg/kg body wt/day. The calculated exposures
groups with maximal opportunity for additional expo-        for POEA ranged from 0.026 mg/kg body wt/day for
sure can be identified for purposes of this exposure        chronic exposure in children to 0.163 mg/kg body wt/
assessment. These include professional pesticide appli-     day for acute applicator exposure.
cators and children age I to 6 years. An upper limit on        Conservative assumptions used in analysis of both
the magnitude of potential exposure to glyphosate,          the acute and the chronic exposure scenarios ensure
1 iPA, and the POEA surfactant was calculated for           that conditions for upper-limit or worst-case exposure
these applicator and child subgroups; based on the sum      estimates were established. For example, estimates of
of highest possible exposures by dietary and other pos-     dietary intake used maximum residue levels (MR.I_,s).
sible exposure routes. Realistic exposure for these sub-    the highest legal residue levels allowed on crops. If
groups and for the general population is expected to be     actual measured residue levels were used in place of
a small fraction of this extreme estimate.                  the MRL values and other factors were considered
   i pplicators are directly involved during herbicide      (e.g.. percentage of crop treated, reduction in residues
spraying operations and can be exposed on a repeated        from washing, processing). dietary exposure estimates
basis. Although this exposure through occupational ac-      would be substantially reduced (10- to 100-fold or
tivities does not necessarily occur each day for a work-    more). Estimates of acute drinking water exposure
ing lifetime, herbicide exposure was treated as chronic     used the highest measured value resulting from 5
to establish an upper bound estimate. To be conservaa       years of drinking water monitoring in the United King-
five, the applicator's body weight. was assumed to be       dom (1.7 ppb). This conservative assumption exagger-
65.4 kg, in order to account for both male and female       ates glyphosate exposure, since 99°'0of the UK data did
workers. This approach was designed to provide a max-       not detect glyphosate above 0.1 pg/L. For applicators,
       i estimate of exposure on a milligrams per kilo      the highest measured value from all monitoring work
grain of body weight per day basis. Children age I to 6     was used to estimate acute exposures. Conservative
years experience the highest dietary exposure because       estimates were included for other sources of exposure
they eat more food per kilogram of body weight than         as well. Exposure estimates rising more realistic as-




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                                      cc
                                           U     sumptions than those described in Table 9 would yield
                                                 substantially lower values than those determined in
                                           cc    this assessment, and thus the worst-case analysis ex-
                                                 posure estimates represent overestimates.

                                                              Dietary Exposure to Residue

                                                 Glyph osate

                                                    In order to obtain approval for the application
                                      M    C
                                                 Roundup onto food or feed crops, it is necessary to
                       r                         measure residues of herbicide and related products
                                      'C
                                           U     that represent the maximum levels of glyphosate and
                                                 AMPA_that hypothetically occur in food using the high-
                                                 est and most frequent herbicide applications. These
                                                 data support legally binding MRLs (called "tolerances;"
                                                 in the United States) that are established in most
                                                 countries worldwide for the resulting food con3modi-
                                                 ties . In addition ; international MRLs continue to be
                                                 established by Codex Committee on Pesticide Residues
                                                 to facilitate international trade of agricultural prod-
                                                 ucts.
                                                    An initial benchmark for assessment of maximum
                                                 dietary exposure can be obtained by making the sim-
                                                 plifying assumption that all food commodities contain
                                                 the highest: legal residue levels (MRLs). This calcula-
                                                 tion relies on the unrealistic assumptions that 10000 of
                                                 crop acreage is treated with Roundup at the highest
                                                 allowed rates and that all resulting food contains the
                                                 greatest permissible residues, which are not reduced
                                                 through processing, washing, or cooking. When glypho-
                                                 sat:e MRLs are multiplied by average daily food con-
                                                 sumption data and summed for all foods that can be
                                                 treated, a theoretical maximum daily intake (TMDI)
                                                 exposure is calculated. Of course, there are differences
                                                 among countries in the magnitude of established MRLs
                                                 and in food consumption estimates. The WHO consid-
                                                 ers five regional diets in the Global Environment Mon-
                                                 itoring System-Food Contamination Monitoring and
                                                 Assessment Programme (GEMS/F ood) when making
                                                 safety assessments for Codex MRLs (WHO, 1997).
                                0,,              Comparison of present MRLs among different coun-
                                                 tries indicates that U.S. MRLs for glyphosate are both
                                                 more numerous and of equal or greater magnitude
                       X                         than in most other countries. The resulting U.S. TMDI
                                                 should therefore represent an upper bound exposure
                                                 compared to other jurisdictions.
                                                    The TAS EXPOSURE-I software ' incorporates food
            0                                    consumption data for all U.S. crop commodities and
                                                 provides a dietary exposure estimate for the U.S. pop-
                                                 ulation as a whole and for more than 20 specific popu-
                                           U 3   lation subgroups . Using the present U.S. MRLs, the
                                                 TAS model provided TNlDl exposure estimates for
                   C

                                                    s
                                                      Technical Assessment Systems, Inc. (TAS). Exposure-1 soflcarc.
                                                 TAS, Inc. The Flour Mill. 1000 Potomac St. NW, Washington, DC
                                                 2(11107. 1-202-337-2625. Calculations completed using 1977-1975
                                                 food consumption data.




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glyphosate residues of 23.8 p:g/kg body wt/day for the     where it is the major residue in glyphosate-tolerant
U.S. population and 51.9 jig/kg body wtiday for chil-      crops that express an enzyme that converts glyphosate
dren age I to 6 years. These values represent maxi-        to AMPA as a mechanism of tolerance.
mum daily dietary exposure for the adult worker and           In order to arrive at a maximum estimate of AMI':A
the child subgroups. respectively, for both the chronic    dietary exposure. it has been assumed that AMPA
and the acute scenarios. These glyphosate exposure         represents 20%%ofthe TMDI glyphosate exposure. This
estimates include contributions from all presently al-     is a compromise between the bulk of the historical data
lowed uses, including all currently approved glyphom       that indicates that AMP A residues are 10% of glypho-
sate-tolerant crops. These dietary exposure estimates      sate levels and the more recent findings that specific
are slightly higher than comparable estimates ob-          glyphosate4tolerant crops have a higher ratio. Based on
tained from the WHO dietary consumption model or           this assumption, AMPA dietary exposure was 4.8
the German intake model (Kidwell et al., 1995) because     p,g/kg body wt/day for the U.S. population and 10.4
of regional differences in food consumption and MRLs.      p,g/kg/day for children age I to 6 years.
Refinement of this maxim um estimate could be
achieved from a consideration of actual measured res-      POE!!
idue levels rather than MRLs, realistic application
                                                              Dietary exposure to POEA surfactant is not signifi-
rates, the fraction of crops actually treated, and the
                                                           cant, since surfactants are not believed to be systernin
effect of processing, washing, cooking, blending, etc.
                                                           calk transported in crop plants in the same manner as
Thus, actual values could be incorporated to arrive al.
                                                           glyphosate and .All'? (Sherrick et al., 1986, Smith and
more realistic exposures. For example, U.S. residue
                                                           Foy, 1966). The assumption inade for purposes of this
data from wheat treated with maximum rates of
                                                           assessment was that residues would occur in propor-
Roundup showed the highest glyphosate residue to be
                                                           tion to glyphosate exposures, based on the relative
2,95 pg/g, with a mean level of 0.69 pg/g, compared to
                                                           amount of each in the formulation (2:1, glyphosate:
a MRL of 5 ug/g (AIlin, 1989). Glyphosate-tolerant
                                                           POEA). Using this ratio, TMDI exposure for POEA
soybeans treated at maximum allowed rates and fre-
                                                           residues are 11.9 and 26 pug/kg body wt/day for the U,S.
quency contained glyphosate residues at the highest
                                                           population and for children age I to 6 years, respec-
level of 5.47 p.g/g, with a mean of 2.36 rgig, compared
                                                           tively.
to the MRL of 20 p.g/g (Steinmetz and Goure, 1994).
Clearly, only a fraction of cropped acres receive a
                                                                   Occupational Dermal and Inhalation Exposure
Roundup treatment, which can be estimated to be in
                                                                                during Application
the range of 10 to 50%. Because the ingredients in
Roundup are water soluble, processing, washing, and           The level of worker exposure to Roundup during
cooking are expected to further reduce residues. There-    herbicide spraying applications has been reported in
fore, considering the combination of factors, it is ex-    both forestry (Centre de Toxicologic du Quebec, 1988;
pected that realistic chronic dietary exposure to          Jauhiainen et ale, 1991; Lavy et al., 1992) and agricul-
glyphosate and the other ingredients in Roundup are        tural (Kramer, 1978) sites. Most studies have used
at least I to 2 orders of magnitude lower than the         passive dosimetry to determine the quantity of herbi-
TMDI estimates used in this assessment. Greater ac-        cide deposited during spraying. Deposition is mea-
curacy in these refinements is not needed at this time     sured from analysis of material from gauze patches
for glyphosate, because even the extremely conserva-       located on workers skin and clothing. These deposition
tive TMDI assessments have shown that dietary expo-        results provide a basis for calculating systemic expo-
sure are acceptable compared to dosages leading to         sure using in vivo data for derinal penetration of
experimental toxicological findings (see Table 9).         glyphosate that shows 2° or less reaches systemic
                                                           circulation (Wester et al., 1991). Inhalation exposure
ff l.l:1^1l                                                was determined by measurement of glyphosate levels
                                                           in air sampled from the workers'breathing zones. This
   AMPA has historically been considered a minor part      allowed calculation of exposure estimates using hourly
of the plant residue derived froiu glyphosate treat-       breathing rates (U.S. EPA, 1997a) and making the
ment. Measured levels ofAMPA in plant residue stud-        further assumption that all inhaled spray mist was
ies have averaged about 10",% of the glyphosate level      bioavailable. Some studies have also utilized urine
(U.S. EPA, 1993) and have been summed with glyphoa         monitoring of exposed workers to quantify excreted
sate to arrive at total residue for MRL setting and risk   glyphosate (Lavy et al., 1992). Workers' body burdens
assessment purposes (U.S. EPA, 1997b). Some jurisdic-      were calculated based on data showing that %95% of
tions have determined that AMPA is not of toxicologi-      glyphosate administered intravenously to rhesus mon-
cal concern (U.S. EPA, 1993) and do not. include it in     keys is excreted via urine (Wester et al., 1991).
MRLs any longer. Canada and the JMPR have pro-                In field studies used to estimate exposure, workers
posed to establish a separate MRL for A:M PA in cases      generally wore protective clothing as directed accord-




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ing to the label, and that was considered normal for        exposure (Kramer, 1978; Lavy et al., 1992) during ap-
their occupation. They performed a variety of duties,       plication was 5.1 p:glkg body wt/day. Average air con-
including mixing and loading spray solutions, back-         centration was difficult to calculate, since many mea-
pack. handgun, and boom spraying, weeding, and              surements were below detection limits (Jauhiainen et
scouting fields. In the studies utilizing passive dosimm    al., 1991). Utilizing an average air concentration of
etry. gauze patches from both outside and inside of         2.87 tig/m3 from Kramer (1918), where the assumption
shirts were analyzed to determine the degree of pro-        was made that the air concentration associated with
tection provided by work clothing.                          each undetectable result was at the detection limit,
   Taken together; these studies show that dermal and       chronic inhalation exposures for the applicator were
inhalation exposure to Roundup during application is        0.46 tkg/kg body wt/day. Summed together, and amor-
very low. Body burden doses of glyphosate resulting              g for a 5-day working week, chronic applicator
from dermal contact during application measured by          exposure to glyphosate was estimated to be 8 . 5 u&,/kg
passive dosirnetry methods ranged from 0.003 to 4.7         body wt/day.
pg/kg body wt/work h. Clothing reduced exposure to
the arms an average of -1 % (Lavy et al., 1992). Glyphom    AMPA
sale levels in applicators' breathing air ranged from
undetectable to 39 jg/rn' of air (Kramer, 1978), with         There is no application -related exposure to AMPA,
the vast majority of quantifiable results being less than   since its presence is dependent on environmental deg-
1.3 pg_/m3 (Jauhiainen et al., 1991). Tank-filling oper-    radation and therefore not present in spray solutions.
ations created the highest dermal exposure (hands),         However, calculations were made for predicting rat
ranging from 4 X 113' to 12 tkg/kg body wt./filling op-     NOAELs based on AP,.'lPA in technical glyphosate.
eration (Kramer, 1978), assuming that each operation
lasted 10 ruin.                                             POE.I
   The results of biological monitoring showed that.          No data were available that directly quantify sys-
most of 350 urine samples analyzed from workers con-        temic exposure to POEA arising from application. Der-
tained no measurable glyphosate, with detection limits      rnal deposition or inhalation of POEA would occur in
ranging from 0.01 to 0.1 Izg/mL. On a few isolated          proportion to glyphosat:e exposures, based on the rela-
occasions, urine levels of 0.025 to 0.095 I.tg/mL were      tive amount. of each in the formulation, as above. It was
found, although urine volume data were not provided         further assumed that dermal penetration of POEA was
to permit accurate estimation of body burden (Centre        10`.'oofthat deposited on skin, which is a conventional
de Toxicologic du Quebec, 1988; Jauhiainen et al..          default assumption for surfactants (Martin, 1990: Lun-
1991). The maximum body burden among workers                dehn et all., 1992). Based on these assumptions, utiliz-
based on urine monitoring data has been estimated at        ing the glyphosate exposure data, peak acute 1-day
8.0 X 102 .g/kg body wt/h worked, assuming that all         systemic exposure to POEA was calculated to be 30
urine without measurable glyphosate contained con-
                                                            Iig/kg body wt (dermal during one mixing and mixing/
centrations of one-half of the method's detection limit     loading operation), 95 p.g/kg body wt (dermal during
(Lavy et al., 1992). The monitoring estimate based on       application), and 3.1 lrg/kg body wt (inhalation).
urine herbicide levels was within the range of passive      Summed, the total acute daily exposure was 128 Izg/kg
dosimetry predictions, thus lending support to the util-    body wt. Chronically, using the same assumptions and
ity of passive monitoring techniques as reasonable          amortizing for a 5-day work week, mixing/loading con-
measures of true exposure.                                  tributed 11.3 jig/kg body wt/day, dermal exposure dur-
   For the present assessment of an adult applicator        ing application contributed 9.1 la.g/kg body wt/day, and
working for 8 h per day, weighing 65.4 kg and breath-       inhalation contributed 0.23 p:g/kg body wt/day.
ing 1.3 11)3 of air/h during moderate outdoor exertion      Summed, chronic application-related exposure to
(U.S. EPA. 1997a), a maximum daily acute exposure to        POEA was estimated to be 20.6 jxg/kg body wt/day.
glyphosate was estimated using the highest of the
above reported measurements. Dermal exposure from           .Vonoccrupational Exposure during Application
one 10.-min mixing and loading operation was 12 ug,"kg
body wt. Dermal exposure was 38 ltg/kg body wt; and           Nonoccupational application-related acute expo-
inhalation exposure was 6.2 lcg,"kg body wt during 8 h      sures to roundup can also occur during residential
of application. Summed together; the adult worker's         applications of roundup to control problem weeds in
peak acute exposure during application was calculated       the home and garden. These applications will be pri-
as 56.2 lrg/kg body wt/day.                                 rnarily spot treatments and edging, utilizing very small
   Chronic applicator exposure was estimated using av-      quantities on a few occasions during a year. Occupa-
erage rather than peak exposure measurements. Aver-         tional exposure data, normalized to a kilogram of
age exposure during a 10-min tank-filling operation         glyphosate applied basis, showed the highest exposure
was 6.3 lag/kg body wt (Kramer, 1978), Average dermal       was 28 jig of glyphosate/kg body wt./kg of glyphosate




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applied (Lavy et al.. 1992). It was acknowledged that           99th percentile exposure to glyphosate via drinking
homeowners may not be well trained in application               water is below 0.1 p.g/L.
techniques nor always utilize appropriate personal                 Irrespective of measured concentrations, U.S. EPA
protective equipment. Therefore, the maximum resi-              has established a maximum contaminant level (MCL)
dential exposure was estimated to be 10-fold greater            of 700 1.xg/l, as a health-based upper legal limit for
than the highest measured for the forestry workers (up          glyphosatc in drinking water (U.S. EPA, 1992b). How-
to 280 pug/kg body wt/kg applied). If a homeowner ap-           ever, using the GENEEC and SC'UUGROW environmen-
plied an entire 10.L container of Ready-To-Use                  tal fate models, U.S. EPA more recently estimated
Roundup spray solution (100 glyphosat.c concentration)          glyphosatc concentration in drinking water for the pur-
and experienced such an exaggerated exposure, the               pose of risk assessment (U.S. EPA. 1998). These fate
summed inhalation and dermal exposure would be 28               models were used by the U.S. EPA as coarse screening
lp,g/kg body wt or about 50°o of the peak acute occupa-         tools to provide an initial sorting of chemicals with
tional exposure. Based on this analysis, the risk assess-       regard to drinking water risk. U.S. EPA concluded
ment for adult occupational application-related expo-           from the models that the average concentrations of
sure is sufficient to cover nonoccupational homeowner           glyphosate that could be expected in surface and
exposures.                                                      ground water, respectively, were 0.063 and 0.0011
                                                                ,ug/L, 4 to 5 orders of magnitude below the MCL that is
                                                                legally considered safe for chronic exposure.
                   Cousumptiou of Water
                                                                   Surface waters can be directly treated with Roundup
Glyph osate                                                     for the purpose ofaquatic weed control, which can lead
                                                                to temporary glyphosate levels in water. However, it is
   Glyphosate has rarely been detected in drinking wa-          believed that all surface waters that would subse-
ter, even though many studies have been done. This is           quently be used for drinking purposes would undergo
expected because it binds tightly to soil and degrades          various purifying treatments, such as standard chlo-
completely into natural substances (U.S. EPA. 1993;             rine or ozone treatments. These treatments are known
WHO, 1994a). The maximum concentration of glyphoa               to be effective at removing glyphosate and AMPA from
sate in well water identified in the scientific literature      the water (Speth, 1993).
was 45 1rgit, which was reported 21 days after the                 It is difficult to identify appropriate upper-limit
second application of Roundup at a very high rate (4.6          glyphosate concentrations that can be used to charac-
kg/ha) to a gravel soil surrounding an electrical sub-          terize acute and chronic exposure from drinking water.
station in Newfoundland (Smith et al., 1996). This was          If regulatory limits are selected, predicted exposure
not a drinking water well, but it serves as an extreme          could vary through many orders of magnitude, depend-
worst-case upper limit for glyphosate measured under            ing on the jurisdictional limits used. Therefore, for this
field conditions. As a result oft:he 0.1 p-g/L limit. for any   assessment, the peak acute exposure was considered to
pesticide in drinking water in the European Union,              be no more than 1.7 jig/L, the highest reported mea-
many thousands of drinking water samples have been              sured value in the UK drinking water program. The
routinely analyzed for glyphosate and other pesticides.         same data indicated that chronic exposure could not
The best available data on glyphosate levels in drink-          exceed 0.1 rg/L, the European Union exposure limit.
ing water was obtained from the United Kingdom                  This value is supported by the U.S. EPA model calcu-
Drinking Water Inspectorate. During the years 1991 to           lations. Based on figures for mean daily water con-
1996, 5290 samples derived from surface and ground              sumption and body weights (U.S. EPA, 1997a) for an
water sources were analyzed (Hydes et al., 1996, 1997).         adult (1.4 L and 65.4 kg) and a preschool child (0.87 L
All but 10 were below the 0.1 lcg/1, limit. Among those         and 13 kg), the acute exposure to glyphosate from
10 reported detections, concentrations ranged from 0.2          drinking water was calculated to be 3..6 X 10      (adult)
to 1.7 la:g/L. The exceedences detected have not been           and 0.11 (child) la:glkg body wt. The chronic exposures.
confirmed by follow-up investigation. and it is possible        calculated in the same manner. were 2.1 X 10-3 (adult)
that some are false positives, since follow-up investi-         and 6.7 X 10-3 (child) pg/kg body wt/day.
gation of other low-level positive water detections have
often not confirmed the initial report. As an example, I        .1,1![P.%)
of the 10 UK detections was a sample from Llanthony,
Wales, that was initially reported to have 0.53 lag               AMPA can also occur in water as a result of glyphom
glyphosate/L. Subsequent investigation of the site and          sate degradation following Roundup treatments, al-
repeated sampling and analysis did not reveal any               though its peak concentration is found later and at
amount of glyphosate in the water supply, nor could             levels that are only 1 to 3°o of peak glyphosate concen-
the source of the initial false finding be identified           trations (Feng et al., 1990; Goldsborough and Beck,
(Palmer and Holman, 1997). Even allowing for the                1989). To be conservative and still consistent with the
assumption that all 10 UK detections are accurate,              glyphosate assessment above, AMPA levels were as-




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sumed to be 0.1 lzg%Z for both the acute and the chronic     old farm child could on occasion enter a recently
exposure levels. Calculations using the body weight          treated field and could remain there either playing or
and consumption parameters described predicted               helping a parent for a significant period of time. Such
acute and chronic adult and child exposures as 2.1 X         activity might occasionally occur for a 5-h period on a
10-3 and 6.7 X 10-3 ug/kg body wt/day. respectively.         particular day, producing a maximum exposure of 26
These water-derived AIvIPA exposures are much less           tg of glyphosate/kg body wt for the child. This route of
than 1`x/0 of those derived from food and are therefore      exposure for a child was considered to be an infrequent,
essentially insignificant, eliminating a need for further    acute event with no calculation necessary to account
refinement of the concentration information. AIvIPA          for chronic exposure.
can also be formed from degradation of phosphonate               The calculations above indicated that maximum fe-
detergents and sequestering agents used in cooling           male adult dermal reentry exposure rate to glyphosate
water treatment (Steber and Wierich, 1987), but pos-         on an hourly basis was 554bo of peak dermal exposures
sible exposures derived from nonglyphosate sources           experienced during application activities, and the
were not considered here.                                    ranges were of similar magnitude. Since acute and
                                                             chronic applicator exposure levels have been estab-
POF;fl                                                       lished for the worker, these values, therefore, also ac-
                                                             count for any reentry exposure a woman may experi-
  No direct analytical data were found from which            ence as part of her other activities. During any work
exposures to POEA via drinking water could be inde-          time period, a woman can be making an application or
pendently estimated. Surfactants are expected to bind        reentering a recently treated field, but not both, since
tightly to soil and sediment particles and dissipate         Roundup's herbicidal effects develop too slowly to jus-
quickly via microbial degradation (Van Ginkel et al.,        tii^, repeated treat:inent after periods of less than 2
1993; Giger et al., 1987). For the present assessment,       weeks.
the level ofPOEA in drinking water was assumed to be
proportionate to glyphosate exposures. based on the          AMPA
relative amount of each in the formulation, as dis-
cussed above. Acute exposure to POEA from drinking             Since reentry exposure involves transfer from
water was calculated to be 1.8 X 10 (adult) and 5.5 X        treated surfaces , no AIv1PA would be present , because
10 (child) lrg/kg body wt. The chronic exposures, cal-       AMPA is produced by metabolic conversion in a plant
culated in the same manner, were 1.1 X 10-3 (adult)          or within soil microbes and would not be found as
and 3.3 X 10-3 (child) lrg/kg body wt/day.                   surface residue.

                   Reentry of Treated Areas                  POE.I

(llvph o,cate                                                   POEA surfactant would be deposited on surfaces in a
                                                             ratio that is proportional to its concentration in the
   Exposure to glyphosate during worker reentry into         formulation and would therefore be available from sur-
agricultural fields 1, 3, and 7 days after Roundup treat-    face contact. Acute exposure was calculated to be 65
ment has been measured using the passive dosimetry           l..g/kg body wt for the child, after adjusting for the
methods (Kramer, 19778). Two fields studied contained        assumed greater (10%) dermal penetration rate. Reen-
a mixed population of U.S in tall grasses and very tall      try exposures to POEA for the adult worker would be
(1.5 in) grassy weeds, while one was composed only of        less than experienced by an applicator and should be
the shorter weeds. As expected; inhalation exposure          covered by the applicator-derived exposure assess-
during reentry was negligible because spray mist had
                                                             in en t.
dissipated and glyphosate is a nonvolatile salt (Franz
et al., 1997). Based on the measured 2% dermal pene-
                                                                       Bystander Exposure during Application
tration rate (Wester et al., 1991) acute exposures de-
rived from these data were 3.9 X 10-' to 2.6 pg/kg body        It is also possible for the farm child bystander to
wt/h for an adult, with a mean value of 0.52 pg/kgbody       experience inadvertent acute dermal and inhalation
wt/h. Exposures were 10-fold greater for reentry into        exposure to Roundup from spray drift during an appli-
tall grass compared to short, and potential for exposure     cation, if he/she is adjacent to the application area.
decreased over time posttreatment, with values on day        Substantial scientific research has been devoted to
7 averaging 3%o of those on day 1. Adjusting for a child's   ineasurenient., estimation , and modeling of off-site
body surface area of 40% that. of an adult (Richardson,      spray drift (Grover, 1991). The expected exposure is a
1997; U.S. EPA, 1997a) and a child's lower body              fraction of the target treatment rate, reduced by a
weight:, exposures of a child reentering the same fields     factor influenced by the separation distance, environ-
were calculated to be 0.01 to 5.2 lrg/kg body wt/h.          mental variables, and application parameters . Aerial
   One scenario to consider assumes that a I- to 6-vear-     applications maximize drift because the droplets are




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released at a higher altitude. For preliminary ecologi-     trations immediately after treatment. These glypho-
cal risk assessment, U.S. EPA has assumed spray drift       sate levels in water dissipate quickly (Goldsborough
exposures could be 5"10 of the aerial application rate      and Beck, 1989), and it is unlikely that such weedy
(U.S. EPA, 1995). Off-target deposition of glyphosate       water bodies would attract swimmers or bathers. How-
has been measured (Feng et al.. 1990), and after aerial     ever, if such an application were made to water 0.25 in
application, less than 0.1%% of the on-site deposition      deep, the immediate resulting glyphosate coucentram
was intercepted 8 in from the spray boundary.               lion could be 1,68 dug/ml., if it were mixed into the water
   For the purpose of retaining maximum conservam           column. It has been estimated that accidental inges-
tism, it was assumed that off-site bystander dermal         tion of water during I h of swimming could be 50 nil-
and inhalation exposures could be 101/o of at) applica-     (U.S. EPA, 1988), so maximal incremental exposure to
tor's on-site peak 8mh acute exposures (calculated          glyphosate was estimated to be 1.28 and 6.5 ^cglkg body
above). Contributions from )nixing and loading opera-
                                                            wt for a swimming adult. and child, respectively. Such
tions were excluded. The summed calculated exposure
                                                            exposures will be very rare and therefore only were
estimate for the child bystander was 4.4 leg of glyphom
                                                            considered as a possible increment to the acute expo-
sate/kg body seat/day. No adjustment was made for the
                                                            sure scenario . AMPA will not be present at significant
child's reduced breathing volume, body weight, or skit)
                                                            concentrations in water shortly after treatment:. POEA
surface area, because this was intended as a simple
                                                            surfactants are not necessarily included in glyphosate
upper bound estimate. No application-related by-
stauder exposure to AMPA will occur, since it is only       formulations intended for aquatic uses. If a surfactant
formed upon environmental degradation. Daily POEA           were to be included in an application to aquatic sys-
acute exposure, based on relative concentrations in the     tems, such a substance would be applied at doses ap-
formulation and calculated as 10",% of peak on-site ap-     proximately half that of glyphosate. We conclude that
plicator exposure, was 9.8 €,g/kg body wt. Such by-         swimming in water from areas recently treated with
stauder exposures would be infrequent, since Roundup        Roundup would produce an incremental POEA oral
is only applied to a given location a few times each        exposure potential of 0.64 and 3.2 lag/kg body wt for a
year, at most, and were considered only for the acute       swimming adult and child, respectively.
risk scenario.                                                Roundup application along roadsides or in forestry
                                                            creates the potential for accidental overspray of wild
          Possible Inadvertent Exposures Derived            foods that could later be collected for consu mption.
                   from Specific Activities                 Consideration of actual use patterns, the percentage
                                                            of forests or roadsides that actually receive treat-
   In the course of this assessment, preliminary esti-      ment, and the resulting phytotoxic effects on the
mates were made to determine whether other possible         sprayed plants suggests that inadvertent exposure
inadvertent environmental contact might contribute          will be extremely unlikely. However, since residue
significantly to incremental glyphosate exposures. Sev-     levels of glyphosate arising from a mock overspray of
eral routes of exposure were considered for glyphosate,     berries has been measured (Roy el al., 1989), the
A.-IMPA, and POEA. These included (1) dermal contact        potential dietary exposure was quantified. Peak
wilh or accidental ingestion of treated soil; (2) inhala-   g-lyphosate residue levels in raspberries were 19.5
tion or ingestion of residential dust derived from
                                                            p:g/g (Roy et al., 1989), and it was estimated that
treated soil; (3) dermal contact with waters or aquatic
                                                            maximal consumption for an individual might be
sediments during swimming or showering; (4) acciden-
                                                            150 g for an adult and 30 g for a 1- to 6-year-old child.
tal ingestion of treated surface waters while swin)-
                                                            These parameters predict an exposure of 45 la,g;`kg
mirage and (5) ingestion of inadvertently sprayed wild
                                                            body wt for both subgroups and relies on the assump-
foods such as berries or mushrooms. Using standard
                                                            tion that the surface residues were not reduced by
exposure parameters (U.S. EPA. 1988, 1992b, 19911a)
                                                            washing before consumption. Exposure al. this level
and conservative assumptions about expected environ-
                                                            is approximately equal to the total TMDI dietary
mental concentrations and frequency of such contact,
only the latter two potential incremental exposure          estimate, suggesting that it could be a significant but
routes were found to contribute possible exposures          rare incremental contributor to acute exposure see-
greater than l leg/kg body wt/day. Infrequent incre                 AMPA residues were also quantified in the
     tad exposures below this level were judged to be       raspberries, but were less than 1% of those for
    ignificant compared to recurring dietary, drinking      glyphosate (Roy et al., 1989) and are therefore insig-
water, and application-related exposure levels.             nificant. POEA surfactant residues were not mea-
   Glyphosat:e formulations can be used to control sur-     sured, but can be assumed to be 50% of those for
face weeds on ponds, lakes, rivers, canals, etc., accord-   glyphosate, based on the relative formulation con-
ing to label rates up to about: 4.2 kg glyphosate           teut. leading to potential incremental oral POEA
hectare, which can result. in significant: water concen-    exposures of 23 tg/kg,




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              Aggregate Exposure Estimates                 ten to allow for interspecies and interindividual (in-
                                                           traspecies) variation (WHO, 1994b).
  The calculated acute and chronic exposure esti-
                                                              The validity and size of safety/uncertainiy factors
mates for each population subgroup for glyphosate.
                                                           and their application across many substances includ-
AMPA, and POEA are summarized in Table 5. For
                                                           ing pesticides have undergone periodic reevaluation
glyphosate, acute exposures to applicators and chil-
                                                           (Renwick and Lazarus, 1998). By and large the alloca-
dren were calculated to be 0.125 and 0.097 mg/kg
                                                           tion of appropriate safety factors is considered on a
body wt/day, respectively; chronic exposures in these
subgroups were 0.0323 and 0.052 mg/kg body wt/day,         case-by-case basis, relying on analysis of the total
respectively. Levels of exposure to AMPA were very         weight of evidence including a consideration of data
low (--0.005-0.010 mg/1g body wt/day). Estimates of        gaps (WHO, 1990), WHO Scientific Groups have con-
exposure to POEA were 0.163 and 0.0911 mg/kg body          firmed a 100-fold safety factor as an adequate and
wt/day for the acute scenarios, while chronic expo-        useful guide, particularly when there are few toxico-
sure estimates were four to five times lower that the      logical data gaps (WHO, 1967, 1994h).
acute values.                                                 The National Research Council Report on Pesticides
                                                           in the Diets of Infants and Children (NRC, 1993) indi-
              RISK CHARACTERIZATION                        cated that the current 10-fold ini:raspecies factor ade-
                                                           quately protects for socioeconomic, nutritional, and
                      Intro duction                        health status factors that influence the vulnerability of
                                                           children to environmental toxicants. The NRC report
   Risk characterization involves a determination of       (NRC, 1993) also indicated the possible requirement
the likelihood thai. an adverse health effect will re-
                                                           for an additional 10-fold uncertainty factor to be ap-
sult from exposure to a given substance. The method
                                                           plied to the ADI for pesticide residues in food to protect
used in this assessment to characterize risk was the
                                                           infants in the absence of specific data on developmen-
margin of exposure (MOE) analysis, in which dose
                                                           tal toxicity. The Environmental Protection Agency
levels from animal toxicity tests were compared to
                                                           sometimes applies a 3- to 10-fold margin of safety for
conservative, upper-limit estimates of human expo-
                                                           infants and children in the case of threshold effects.
sure. To evaluate the risks resulting from chronic
                                                           This additional factor would account for pre and posi.-
exposure, estimates of human exposure were com-
                                                           natal toxicity and is applied when existing data indi-
pared to the lowest dose that produced no adverse
                                                           cate a possible increased sensitivity to infants or to
effects in repeat dose studies with animals. For acute
                                                           children or when the database of effects is incomplete
effects, human exposure estimates were compared to
                                                           (U.S. EPA. 1998a).
oral LD, values in rats. The MOE is the defined as
                                                              Recently the U.S. EPA conducted a review of the
the quotient of the NOAEL divided by the aggregate
human exposure calculated from total daily intake          risks associated with aggregate exposures to glypho-
from all sources.                                          sai:e residues from all sources (U.S. EPA, 1998a). Using
   The introduction of safety factors is a concept that    a margin of exposure analysis, it was concluded that
has had wide acceptance in the scientific and regula-      "reliable data support the use of the standard 100-fold
tory communities around the world. The Joint Euro-         uncertainty factor for glyphosate, and that an addi-
pean Committee on Food Additives (JECFA) proposed          tional tenfold uncertainty factor is not needed to pro-
principles for determining a margin of safety (MOS)        tect the safety of infants and children." There was no
and has developed a methodology to establish an ac-        suggestion of increased severity of effect in infants or
ceptable value for a factor that would directly link       children or of increased potency or unusual toxic prop-
animal toxicological data to human health and safety       erties of glyphosate in infants and children. Therefore,
(FAO/WHO, 1958). For purposes of extrapolation of          in the view of U.S. EPA, there are no concerns regard-
data from animals to man, the figure is based on an        ing the adequacy of the standard MOE/safety factor of
established dosage level that causes no demonstrable       IOOmfold (U.S. EPA. 1998a).
effects in the animals. The MOS allows for any species
differences in susceptibility; the numerical differences                    Identification of NOAEI,s
between th e test animals and the exposed human pop-
ulation, the greater variety of complicating disease         The toxicity of glyphosate and AMPA has been in-
processes in the human population, the difficulty of       vestigated in a comprehensive battery of studies. In
estimating the human intake, and the possibility of        addition, POEA has been tested in acute, subchronic,
synergistic action. JECFA stated that the 100-fold         genetic, and developmental toxicity studies. A sum-
margin of safety applied to the maximum ineffective        mary of the no-effect levels identified in the various
dosage (expressed in mg/kg body wt/day) was believed       studies conducted with these materials is provided be-
to be an adequate factor (FAO/WHO, 1958). The value        low and in Tables 6-8. The no-effect levels selected for
of 100 has been regarded as comprising two factors of      risk characterization are discussed below.




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                                                             GLYPHOSATE                                           157

                                                 TAB 1, E 6
                                Glyphosate NOAELs for Toxicological Endpoints

         Type of study and           NCAEL
           species tested          (rng/kg/day)                 Cornnients                  Study reference

      Subehronic toxicity
        Mouse, 90-day                  2310           Based on decreased b.w.°         Tierney, 1979
        Mouse, 90-day                   630           Based on salivary gland          N'TP, 1992
                                                        lesions
        Rat, 90-day                  >1445            No adverse effects at IIDT'      Stout, 1987
        Rat. 90-day.                   209            Salivary gland changes at the    NTP, 1992
                                                        lowest dose tested not
                                                        considered toxicologically
                                                        significant
          og, 12-month                   500          No adverse effects at IIDT         eyna and Ruecker, 1985
      Chronic toxicity
        Mouse. 24-month                 885           Based on liver effects           Knezevich, 1983
        Rat. 26-month                   >33           No adverse effects at HDT        Lankas, 1981
        Rat. 24-month                   409           Based on decreased b.w, gain     Stout and Ruecker, 1990
                                                        and ocular lesion
      Developmental toxicity
        Rat                             1000          Based on maternal and fetal      Tasker, 1980a
                                                        effects
        Rabbit                           175          Based on maternal toxicity,      Iasker, 1980h
      Reproductive toxici
        Rat                             -30           No adverse effects at IIDT       Schroeder. 1981
        Rat                             694           Based on systemic toxicity, no   Reyna, 1990
                                                        reproductive effect

   b.w,, body weight.
   HDT, highest dose tested.




t/iyphosale                                                 ies, inuli:igeneration reproduction studies a
   The lowest no-effect: level for purposes of risk char-   developmental toxicity study ranged from approxi-
acterization for adults is the NOAEL of 175 rng/kgbody      inately 400 to 1000 mg/kg body sat/day.
wt:/days; this value is based on the occurrence of mater-      Calculation of an MOE based on the endpoint of
nal toxicity at. the highest dosage tested (350 mg/kg       maternal toxicity is biologically irrelevant for the
body wt/days) in the rabbit developmental toxicity          young (1 to 6 years). Nevertheless, such an analysis
study. The NOAELs in the chronic rodent or dog stud-        was conducted by the U.S. EPA and is included here to


                                                 TABLE 7
                                   AMPA NOAELs for Toxic o logical Endpoints

          Type of study and            NOAEL
            species tested          (in g/kg/day)               Comments                   Study reference

       Subchronic toxicity
          Rat, 90-day                  400             Based on urinary tract          Estes, 1979
                                                          infection
         Dog, 90-day                   263             No adverse effects at IIDT      Tompkins, 1991
       Chronic toxicity                 >2.8           AMPA present at                 Stout and Ruecker, 1990
         Rat, 24 month                                 0.68°/o in glyphosate study,
                                                          no effects at middose
       Developmental toxi
         Rat                            00             Based on maternal and fetal     lolson, 1991
                                                         b.w." effects
       Reproductive toxicity
         Rat                                           AMPA present at 0.61% in        Reyna, 1990
                                                        glyphosate study; no
                                                        effects at middose

 ° b.w., body weight.




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                                                 TABLE 8
                                   POEA NOAELs for T o xicolo g ical Endpoints

           Type of study and         NOAEL
             species tested        (rug/kg/day)                         Comments                        Study reference

        Subchronie toxicity
          Rat, 1-month                                 Based on decreased b.w.° gains                   Ogrowskv, 1989
          Rat, 3-month                  36             Based on decreased has, and                      Stout, 1990
                                                         intestinal irritation
           Dog, 14-week                <3I             Based on reduced b.w. and                        Filmore. 1973
                                                            gastrointestinal irritation
       Developmental toxicity
         Rat                             15            Based on slight decrease in food                 Ilolson, 1990
                                                         consumption and mild clinical signs

 °b        body weight.




demonstrate that even use of an unrealistic assunmp                        Estimation of Risks to Humans from Acute
tion provides an acceptable margin of exposure. The                                   or Chronic Exposure
NOAEL of 209 mug/kg body wt/day from the second
                                                                  The potential risks to humans resulting from expo-
subchronic rat st udy (NTP, 1992) was also used to
                                                               sure to glyphosate, AMPA, and POEA_ were determined
calculate the MOE for children because this value was
                                                               for pesticide applicators and farm children age l to 6
the next: higher no -effect level and was based on a more
                                                               years. Applicators were selected because they have the
relevant toxicological endpoint.
                                                               highest potential for exposure among adult subpopulam
                                                               tions. The children were selected because they receive
      PA                                                       the highest dietary intake of all subpopulations on a
                                                               milligram per kilogram of body weight per day basis
   Some regulatory agencies have determined that               and are considered to represent a sensitive subpopula-
AMPA is not of toxicological concern and do not include             . Chronic risks were evaluated using a MOE anal-
it in assessments of risk. Other agencies have summed          Ysis in which MOE values for each of the three sub-
AMMPA with glyphosate to arrive at total exposure for          stances were calculated by dividing the applicable
risk assessment purposes. Nevertheless, a separate             NOAEL by the estimates of maximum chronic human
MOE analysis was conducted here to characterize the            exposure (Table 9). To assess acute risks, oral LD,
risks associated with AMPA exposure. The NOAEL of              values in rats were divided by estimates of maximum
400 mg/kg body wt/day in the subchronic rat study is           acute human exposure. All MOE values were rounded
considered to be the most appropriate value for use in         to three significant figures. Determination of an accept-
this risk assessment . As noted previously, AMPA was           able MOE relies on the judgment of the regulatory
also assessed as a component of the test material used         authority and varies with such factors as nature/sever-
in the glyphosate reproduction and chronic/oncogenic-          ity of the toxicological endpoint observed, completeness
ity studies. The lowest: NOAEL established in these            of the database, and size of the exposed population. For
studies was 2.8 mg/kg body wt/day for chronic effects.         compounds which have a substantial toxicological da-
This value was also used in the MOE analysis to pro-           tabase, MOE values of 1010 or more are generally con-
vide a very conservative estimate of the overall no-           sidered to indicate that the potential for causing ad-
effect level for this material.                                verse health effects is negligible.

                                                               Glyph osafe
POEJI
                                                                  Chronic exposure. In children, the exposure result-
  The lowest NOAEL of 15 mg/kg body wt/day was                 ing from ingestion of glyphosate residues in food and
selected as a reference point for risk assessment pur-         water was calculated to be 0.052 mg/kg body wt/day.
poses; this value was based on maternal toxicity in the        Exposure to professional applicators. which included
rat developmental toxicity study. As noted above with          exposure resulting from the spraying operation along
glyphosate, calculation of an MOE for children based           with dietary intake, was estimated to be 0,0323 mg/kg
on a NOAEL for maternal toxicity is not biologically           body wt/day. Comparison of these values to the
relevant, Therefore, the MOE was also calculated us-           NOAEL of 175 mg/kg body wt/day based on maternal
         NOEL of 36 mg/kg body wt/day from the sub-            toxicity in the rabbit developmental toxicity study pro-
chronic rat study.                                             duced MOEs of 3370 and 5420 in children and adults,




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                                                      TA.B1:,E 9
             Summary of No- Obser ved-Adverse- Effec t Levels (N'OAE+ L), Worst-Case Exposure Estimates,
                       and Margins of Exposure (M OI ) for Olyphosate, AMP A, and POEA.

                                                                             Worst-case chronic
                                                                            exposure (inn/kg/day)         Margin of exposure'
                       NOAL1.
 Chemical            (nig'kg/day)              Basis ofNOAEL              Adults          Children      Adults         Children

Glyphosate              175               Maternal toxicity in                                           5,42©           3370
                                            developmental toxicity
                                            study                         0.0323           0.052
                        209               90-day rat study                                                               4,020

A\IPA                   400               90-day rat and                                                83,300          38,500
                                            developmental toxicity
                                            studies                       0.0048           0.0104
                         >2.8             Based on AMP A content                                         -'583           ,>2o9
                                            in glyphosate used for
                                            chronic rat study

POEA                     15               Maternal toxicity in                                             461             577
                                            developmental toxicity
                                            study                         0.0325           0.026
                         36               90-day rat study                                                                1380

   All Mt3E values rounded to three significant figures.



respectively. Using the more biologically relevant                   NOAEI, of 400 mg/kg body wt/day from the subchronic
NOAEL of 209 mg/kg body wt/clay from the subchronic                  rat study and the lowest estimated NOAEL (>2.8
rat study, the MOE for children was 4020.                            mg/kg body svt/day) derived from long-term studies
                                                                     with glyphosate. The corresponding MOEs are >269 to
  Acute exposure. Total acute exposure for children
                                                                     38.500 for children and >583 to 83,300 for adult appli-
living on a farm was estimated by adding incidental
                                                                     cators.
exposure (e.g.. reentry, bystander, consumption of
sprayed wild foods. swimming in a pond) to that                        .icute exposure. Individuals are not exposed to
resulting from normal dietary intake as described                    AMPA as bystanders or via reentry into sprayed areas,
above. The resulting exposure value was 0.097                        and levels of the metabolite in water are negligible.
body wt/day. For applicators, the corresponding ag-                  Therefore, acute exposure estimates are identical to
gregate acute exposure value was calculated to be                    chronic scenarios and were calculated to be 0.0104
0.125 mg/kg body wt/day. The acute exposure calcu-                   mg/kg body w t/day for children and 0.0048 mg/kg body
lation utilized peak dermal and inhalation ineasurea                 wt./day for adults. Based on the oral LI)51 value of 8300
ments (instead of the mean value used for chronic                    ing/kg, acute MOEs for children and adults are 198,000
exposure calculations) and included significant expo-                and 1,730,000, respectively.
sure from the consumption of sprayed wild foods. The
oral 1,13, of glyphosate is greater than 5000 mg/kkg.
                                                                     POEA
The acute exposure values for both children and
adult. applicators are approximately 40,000 to 50,000                  Chronic exposure. Aggregate exposure was calcu-
times lower than this value, indicating an extremely                 lated to be 0.026 mg/kg body wt/day in children and
low potential for acute toxicity.                                    0,0325 mug/kg body wt/day in adult applicators. The
                                                                     ingestion of food residues accounted for virtually all of
.4V[PA                                                               the exposure in children, while dermal/inhalation ex-
   Chronic exposure. The only significant source of                  posure resulting from the spraying operation was the
A.-IMPA exposure could occur from ingestion of treated               predominant pathway contributing to applicator expo-
crops in which the plant/bacterial metabolite has been               sure. Based on the NOAEL of 15 mg/kg body wt,/day for
formed. Herbicide application does not. result in expo-              maternal toxicity in the rat developmental study,
sure to AMPA, and the metabolite does not occur to an                MOEs were determined to be 571 and 461 in children
appreciable degree in water, The chronic exposure es-                and adults , respectively. When the more biologically
timates for AMPA were calculated to be 0,0104 mg/kg-                 relevant NOAEL of 36 nlg/kg body wt/day from the
body wt/day for children and 0,0048 mng/kg body wt./day              subchronic rat study was used, the resulting MOE for
for adults. MOEs were calculated using the definitive                children was calculated to be 1380,




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  Acute exposure. Estimates of aggregated acute ex-                                                     REFERENCES
posure in adult applicators (0.163 mg/kg body wt/day)
and children (0.0911 mg/kgbody wt/day) were substan-                        Aequavella. J. F., Weber, J. A.. Cullen, M. R., Cruz, 0. A.. -Martens.
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from reentry exposure and, to a lesser degree, the
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ingestion of wild foods. The acute oral I,D,,,0 of POEA is                    The oral and intratracheal toxicities of Roundup and its conapo-
approximately 1200 mg/kg. The estimated acute expo-                           nents to rats . Vet. Huns. Toxicol. 39, 147-151.
sure values are 7360 to 13.200 times lower than this                        Allan. J. C. (1989). Glyp.ho,sate Residues in Wheat Grain and Straw
value.                                                                        after Preharvest'Ireatment with Roundup herbicide. Unpublished
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                                                                              chromatid exchanges (SCE) and mitogen-induced blastogenesis in
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and children (age I to 6 years) because they have the                         pled 8 times over 2 years. Mutat. Res. 250, 4617-476.
highest potential exposures. Estimates of exposure de-                      Auletta, C. S. (1983a). -4 Dermal Sensitization Study in Guinea
scribed for these two subpopulations and used in these                        Pigs     'est florerial.. Glypliosute. Unpublished report, Bio/Dynam-
risk calculations are considered excessive compared to                        ies Inc., East Millstone, NJ.
those likely to result in the general population from the                   Auletta, C. S. (1983b).A DermalSensitization Study in Guinea Pigs.
use of Roundup herbicide. MOE analyses compare the                            Unpublished report, Bio/Dynamics, Inc., East Millstone, NJ.
lowest NOAELs determined from animal studies to                             Auletta, C. S. (1985a). Acute Oral oxicity Study in Rats. Unpub-
worst-case levels of human exposure. MOEs of greater                          lished report, Bio:Dynamics, Inc., East Millstone. NJ.

than 100 are considered by authoritative bodies to                          Auletta, C. S. (1985b). Acute Dermal Toxicity Study in Rabbits.
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would occur (WHO, 1990). The MOEs for worst-case
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chronic exposure to glyphosate ranged from 3370 to                            Millstone, NJ.
3420; the MOEs for AMPA ranged from greater than
                                                                            Auletta, C. S. (1985d). Eyelrritation Studs in Rabbits. Unpublished
269 to 83,300; and for POEA the MOEs ranged 461 to                            report, Bio/Dynamics, Inc., East Millstone, NJ.
1380. Based on these values, it is concluded that these                     Baba, Y., Takeda, M.. Yosrna. K., Sagara. E., Tar, T.. and smash
substances do not. have the potential to produce ad-                          M. (1989). Acute toxicity of the herbicide "Roundup" in the
verse effects in humans. Acute exposures to g-lypho-                          fpn. J. Toxicol. 2, 397-400.
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values, thereby demonstrating that. potential acute ex-                       pair Assay Using the Male P344 Rat. I[npubhshed report, SRI
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posure is not. a health concern. Finally, under the in-
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tended conditions of herbicide use, Roundup risks to
                                                                              tered by lnhoiation to ,tale and Tema e Sprague-Dimly Rats.
subpopulations other than those considered here would
                                                                              Unpublished report, Monsanto Environmental Health Laboratory,
be significantly lower. 11. is concluded that, under                          St. Louis, MO
present and expected conditions of new use, there is no                     Bender, M. A., Preston, R. J., Leonard, R. C., Pyatt, B. F., Gooch,
potential for Roundup herbicide to pose a health risk to                      P. C., and Shelby, M. D. (1989). Chromosomal aberration and
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those who gathered and made available the large amount of informa-
tion used to write the manuscript for this document. Second, we thank       Blaszcak. D. L. (1987a). -Eye Irritation Study in Rabbits. Unpub-
the toxicologists and other scientists at Monsanto who made significant       lished report, Bio/Dynamics, use.. East Millstone, NJ,
contributions tothe development ofexposure assessments and through          Blaszcak_, D. L. (1987b). Primary Dermal irritation Study in Rabbits
many other discussions. The authors were given complete access to             (4-11ourr Exposure'Semi occlusive Covering). Unpublished report,
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phen J, Wratten, and Katherine H. Carr. We also acknowledge the             Blaszcak_, D. L. (1987d). Acute Oral Toxicity Study in Rats. Unpub-
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